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                              EXHIBIT 1
Case 2:15-cv-07697-AB-KS Document 88-3 Filed 11/01/17 Page 2 of 295 Page ID #:1931

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    Samyang Foods, Inc., full of love and happiness                                                                                                                ENG




                                                      BRAND          SAMYANG FAMILY                  INFORMATION                CONTACT US                  COMPAN
                                                                                                        CENTER                                              OVERVIE




                                                            Company Overview
       We introduce Samyang Foods Company’s business activities, which are based on a foundation spirit of honesty and integrity.




                COMPANY Overview                      Samyangfood




    Samyang Food

              Introduction                      CEO MESSAGE                  VISION & MISSION                        CI                           HISTORY




       Making a remarkable history in the domestic food industry with passion and
       a belief in ramen

       Samyang Foods, Inc., established in 1961, has been walking a single path, pursuing
       honesty and trust for over 50 years. Its pioneering entrepreneurial spirit, with the aim of
       bringing an era where the average life expectancy becomes 100 years through food,
       has been the foundation for Samyang Foods to become a trustworthy company to
       customers.
       With the passion and challenge to generate new growth engines, Samyang Foods will
       make every effort to allow everyone to enjoy a more delicious world.


       Produced Korea’s First Ramen in September 1963

       The 1960s was a time when most Koreans had to tighten their belts, because the only
       staples, rice and mixed grains, were scarce. Samyang Foods, Inc.’s efforts to overcome
       the food shortage led to the birth of Korea’s first ramen, Samyang Ramen, in 1963.
       Ramen has become the second staple food in Korea.



                                                                                                      Improvement in Diet

                                                                                                      After the nation was released from hunger through the
                                                                                                      continuous national economic growth and with brighter
                                                                                                      prospects for food self-sufficiency in Korea, Samyang Foods,
                                                                                                      Inc. took a leading role in improving the Korean people’s diet.

                                                                                                      By boosting the forest land livestock industry by making a
                                                                                                      pasture of about 60 million Ӿ in the Daegwallyeong plateau
                                                                                                      area, the company has improved the diet and played a key
                                                                                                      role in improving national health.




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     Establishment of Dagwallyeong Samyang
     Ranch and Belief in Good Ingredients

     Daegwallyeong Samyang Ranch has played the role
     of providing a key ingredient source for Samyang
     Foods, Inc. to produce self-sufficient meat, including
     beef for making ramen soup base, and raise dairy
     cattle in clean air and a vast pasture, leading to the
     smooth supply of milk and dairy products.




     A Comprehensive Food Company

     Samyang Foods, Inc. uses natural ingredients with high quality so as to provide food
     with high quality and differentiated taste along with excellent food with traditional
     Korean flavors.
     Samyang Foods, Inc. has food-related subsidiary companies.
     Natural Samyang Inc. stably supplies a variety of agro-fishery products including the
     ingredients for ramen soup base such as scallions, garlic, sesame, red pepper and
     seafood. Eco Green Campus Inc. provides fresh beef and milk from a vast ranch at an
     altitude of 850m to 1,400m around Daegwallyeong in Gangwon-do.

     Samyang Foods, Inc. has established a thorough quality management system so that
     consumers can trust its products by being certified by qualified international offices
     (KOLAS, ISO22000, HALAL) as well as a domestic one, HACCP.




                                                                                                     Samyang Foods, Inc. leading K-Food

                                                                                                     In particular, Hot Chicken stir-fried noodles has become very popular in
                                                                                                     China, Southeast Asia, etc., becoming the main brand leading K-Food.
                                                                                                     To make Hot Chicken stir-fried noodles continue to grow as a global
                                                                                                     brand, the company is reinforcing local promotion and marketing with
                                                                                                     Samyang Foods, Inc.’s representative character, “Hochi.”


                                                                                                     ɘ Main Export Nations

                                                                                                     * Noodles/Snacks
                                                                                                     - the Americas : United States, Canada, Argentina, Paraguay, and Chile
                                                                                                     - Asia : China, Japan, Singapore, Malaysia, Vietnam, Malaysia, and Hong
                                                                                                     Kong
                                                                                                     - Europe : the U.K., Germany, Spain, Sweden, and the Netherlands.
                                                                                                     - Oceania : Australia, New Zealand, Samoa, and Micronesia
                                                                                                     - Middle East: Saudi Arabia, Bahrain, and United Arab Emirates


                                                                                                     * Dairy Products - Asia : China




                            Company        Contact Us       Directions
                                                                                                                                                Family Site
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    Samyang Foods, Inc., full of love and happiness                                                                                                                         ENG




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                                                              Company Overview
       We introduce Samyang Foods Company’s business activities, which are based on a foundation spirit of honesty and integrity.




                COMPANY Overview                      Samyangfood




    Samyang Food

              Introduction                      CEO MESSAGE                       VISION & MISSION                          CI                             HISTORY




                                                                                   History

                                            From the 2000’s to                   From the 1980’s to the          From the 1960’s to the
                                                      Today                             1990’s                             1970’s




           1978         Oct.   Opened Daehwa Hospital, a Medical Corporation                  1970        Oct.   Started the Construction of Honam Plant Launched Beef Ramen




                               The late Honorary President Chun Joong-yoon was                1970        Sep.   Launched Curry Ramen
           1978         Oct.
                               awarded the Silver Tower Industrial Medal.



                                                                                              1970        May.   Launched Naengmyeon, (Korean) Cold noodles
           1778         Jan.   Established Samyang Oil & Feed Corporation Inc.




                               Samyang Baker Tank Terminal Supplied 7,000 –Ton
                                                                                              1970        Mar.   Launched jajangmyeon, black-bean-sauce noodles
           1976         Feb.
                               Capacity Tank


                                                                                              1970        Jul.   Established Igeon Education Foundation

           1975         Oct.   Launched Samyang Australian Cheese


                                                                                              1969        Oct.   Started the construction of a branch in Yeongnam, Gyeongsang-
                                                                                                                 do
           1975         Sep.   Established Samyang Food Chain Inc.




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        1973   Nov.   Started construction of Daegwallyeong Samyang Ranch                      1969   Jul.   Started the production of kalguksu, (handmade) chopped noodles




        1973   Oct.   Started the Production of Soy and Sesame Oil                                           The late Honorary President Chun Joong-yoon was awarded the
                                                                                               1969   Jul.
                                                                                                             Bronze Tower Industrial Medal



                      The late Honorary President Chun Joong-yoon was
        1973   Mar.   awarded the Order of Industrial Service Merit on the 17th                1969          Korea’s first ramen exports (to Vietnam)
                      Tax Day.


                                                                                               1963   Sep.   Launched Korea’s first ramen brand, Samyang Ramen
                      Launched Korea’s first cup ramen, Samyang Cup Ramen
                      accomplished over $2.5m in ramen exports to Southeast
        1972   Feb.
                      Asia, Europe and America.
                      Established Samyang Livestock Inc.                                       1961   Oct.   Changed company name to Samyang Food Industry Inc.




                      Founded Samyang Dairy Sesame Oil Extraction Plant in
        1971   Nov.                                                                            1961   Aug.   Established Samyang Oil Inc.
                      Samyang Dairy Inc.




        1971   Aug.   Launched Korea’s First Ramen Snack, Popeye




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    Samyang Foods, Inc., full of love and happiness                                                                                                                            ENG




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                                                              Company Overview
       We introduce Samyang Foods Company’s business activities, which are based on a foundation spirit of honesty and integrity.




                COMPANY Overview                      Samyangfood




    Samyang Food

              Introduction                      CEO MESSAGE                        VISION & MISSION                         CI                             HISTORY




                                                                                    History

                                            From the 2000’s to                   From the 1980’s to the          From the 1960’s to the
                                                      Today                                   1990’s                       1970’s




           1998         Sep.   Authorization of Reconciliation                                    1989    Feb.   Started the Construction of Samyang Foods, Inc. Wonju Plant




                               The Korean Supreme Court acquitted Samyang for ramen               1987    Dec.   “Samyang Carnation” Ice Cream Obtained Korea’s First KS
           1997         Aug.
                               beef tallow accident.



                                                                                                                 “Samyang Brewed Soy Sauce” Obtained Korea’s First KS in Soy
           1997         Feb.   Moved Company Building from Jongno to Wolgok                       1987    Mar.
                                                                                                                 Sauce Industry




                               Changed Company Name from Samyang Food Industry                    1986    Sep.   Launched Sattobab, a Corn Snack
           1990         Jun.
                               Inc. to Samyang Foods, Inc.



                                                                                                                 The late honorary president, Chun Joong-yoon, was awarded the
           1990                Samyang Drinking Type Yogurt and Samyang Spoon Type                1985    May.
                                                                                                                 Gold Tower Order of Industrial Service Merit.
                        May.
                               Yogurt obtained Korea’s first KS in fermented milk industry.



                                                                                                  1982    May.




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        1990   Mar.   Started Work of Munmak Printing Plant                                                  Samyang Oil & Feed Corporation and Samyang Gold Cooking Oil
                                                                                                             Obtained KS



        1989   Dec.   Launched Korea’s First Rice Ramen
                                                                                               1981   Jan.   Launched Korea’s First Spoon Type Yogurt, “Yoghurt”



        1989   Nov.   Outbreak of Samyang Ramen Beef Tallow Accident
                                                                                                             Started the Construction of Samyang Dairy Processing Plant
                                                                                               1980   Dec.
                                                                                                             Expanded into Dairy Processing Business


                      Established Qingdao Samyang Food Limited in Qingdao,
        1989   May.
                      Eastern China
                                                                                               1980   Jul.   Established Company Incorporated abroad, Samyang USA




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    Samyang Foods, Inc., full of love and happiness                                                                                                                       ENG




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                                                              Company Overview
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                COMPANY Overview                      Samyangfood




    Samyang Food

              Introduction                       CEO MESSAGE                          VISION & MISSION                         CI                           HISTORY




                                                                                      History

                                             From the 2000’s to                    From the 1980’s to the          From the 1960’s to the
                                                      Today                                 1990’s                            1970’s




           2017         Sep.   Signing an MOU of triangular strategic partnership with          2012        Apr.   Launched Hot Chicken Flavor Ramen
                               Jiangsu Seif Green Food Developmentand JD group, China.

                        Sep.   Obtaining Halal certificate from MUI for the first time in
                               Korea instant noodle industry (6 Products)
                                 Hot Chicken Flavor Ramen, Hot Chicken Flavor Ramen Big
                                                                                                2012        Mar.   Samyang Ranch Certified as Organic Livestock

                                 Bowl, Hot Chicken Flavor Ramen Cup, Hot Chicken Flavor
                                 Ramen Cheese Flavor, Hot Chicken Flavor Ramen Cheese
                                 Flavor Big Bowl, Hot Chicken Flavor Ramen Ice
                                                                                                2011        Nov.   Samyang Ranch Certified as Organic Pasture



           2016         Sep.   55th Anniversary of Samyang Foods, Inc. Founding
                                                                                                2011        Sep.   50th Anniversary of Samyang Foods, Inc. Founding



                               Took over Natural Samyang Inc. and Saeahchim, a
           2015         Sep.
                               Company Specialized in Frozen Food                               2011        Aug.   Took over Jeju Milk Inc.




                               Obtained & Received HALAL (Korea Muslim Federation)              2011        Apr.   Established Samyang THS Inc. (Standard Business as a
           2014         Mar.
                                                                                                                   Subsidiary for the Handicapped)




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                       Certification and HALAL Certification Items (Seven kinds)
                       Samyang Ramen, Kimchi Ramen, Yukgaejang,bSutah Ramen,
                       Hot Chicken Stir-Fried Ramen, Big Cup Hot Chicken Stir-Fried
                                                                                               2010   Aug.   Took over Homyeondang Restaurant Company

                       Ramen, Cup Hot Chicken Stir-Fried Ramen


                                                                                                             The late Honorary President Chun Joong-yoon was awarded the
                                                                                               2010   May.
                                                                                                             Order of Civil Merit, Camellia Medal.
                      Daegwallyeong Samyang Ranch Designated as 2018
        2014   Jan.
                      Pyeongchang Winter Olympics Special Tourist Zone


                                                                                                             The late Chun Joong-yoon was selected as honorary president
                                                                                               2010   Mar.
                                                                                                             and Chun In-jang took office.
        2013   Sep.   Launched Korea’s First Baked Instant Noodles



                                                                                               2009   Oct.   Gangwon-do Wonju Factory Certified by HACCP




                                                                                                             Food Research Institute Certified by International Testing Institute
                                                                                               2008   Feb.
                                                                                                             KOLAS




                                                                                               2005   Mar.   Completion of Reconciliation




                                                                                                             Completed the Construction of Daegwallyeong Organic Fertilizer
                                                                                               2001   Jul.   Plant
                                                                                                             Produced Daegwallyeong Organic Fertilizer




                                                                                                             The late honorary president Chun Joong-yoon was awarded
                                                                                               2000   Nov.
                                                                                                             Walnamjang.




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                          EXHIBIT 2
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                              ARTICLES OF INCOl~PORA'I'ION

                                ~~M.~ANG .~u.s.A~), I ~            JUL 11980
                               A California Corporation
                                                              e~~~!af:-
                                                                 .....,......,
                                                                       ...,
                                                                       ~
                                                                              ~




    1.        Th<.l Name of this. corporation is:

                                SAM YANG (U.S.A.), INC.
    IL        The pu.rpose of this corporation is to en.g age in any lawful
              act of activities for which a corporation may be organized
              under the General Liaw of California, other than the banking
              business, trust company business or the practice of a. pro-
              fession permitted to be .incorporated by the California
              Corporatioll'? Code ..
    III.      The name of the corporation's initial agent for service of
              process is:
                                       Dong Sup Huh

              who may be served at:
\                              1600 West Walnut Parkway
\                              Compton, California 90220
'
\   IV.       The corporation is authorized to issue only one class of
              shares and the tota l number of shares which the corporation
              is authorized to issue is ONE THOUSAND (1.000) SHARES.

              IN WITNESS WHEREOFt the undersigned incorporator executed these
    Articles of Incorporation on June         di! . 1980, Compton, California.




           The undersigned declares that he is the Incorpo.rator who has
    executed the above Articles of Incorporation and hereby declares that
    this instrwnent is the a.ct and deed of the undersigned.



                                             DONG SUP




SAMYANG0003303
Case 2:15-cv-07697-AB-KS Document 88-3 Filed 11/01/17 Page 12 of 295 Page ID
                                  #:1941




                          EXHIBIT 3
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                                  #:1942


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 13   SAM YANG (U.S.A.), INC.; ROYPAC, INC. dba
 14   S.C. CONTINENT CORPORATION; and MUN-KYUNG CHUN

 15                       UNITED STATES DISTRICT COURT
 16                     CENTRAL DISTRICT OF CALIFORNIA
 17   SAMYANG (U.S.A), INC.; ROYP AC, ) Case No. CVl 1-04592 RSWL
 18   INC. dba S.C. CONTINENT         )
      CORPORATION,                    ) PLAINTIFF AND COUNTER-
 19                                   ) DEFENDANT SAM YANG (U.S.A),
                  Plaintiffs,         ) INC.'S OBJECTIONS TO
 20                                   ) PLAINTIFF SAMYANG FOOD
            V.                        ) CO., LTD'S NOTICE OF
 21
                                      ) DEPOSITION UNDER FED. R.
 22   SAMYANG FOODS CO., LTD.; and    ) CIV. P. 30(8)(6)
      Does 1 through 20, inclusive,   )
 23                                         )
                 Defendants.                )
 24                                         )
 25                                         )
                                 )
 26   AND RELATED COUNTER-CLAIMS )
                                             )
 27
 28
                        Objections to Notice of Taking Depositi on
                         Case No. CVl 1-04592 RSWL (AGRx)
Case 2:15-cv-07697-AB-KS Document 88-3 Filed 11/01/17 Page 14 of 295 Page ID
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  1         Plaintiff and Cross-Defendant Sam Yang (U.S.A.), Inc. ("SYUSA") hereby
  2   objects to the Amended Notice of Deposition of Plaintiff Sam Yang (U.S.A.), Inc.
  3   Pursuant to Federal Rule of Civil Procedure 30(b)(6) (the "Notice"), served by
  4   Defendant and Cross-Claimant Samyang Food Co., Ltd. ("Samyang Korea"), on
  5   November 30, 2016, and to each of the proposed subject matters of examination
  6   ("Deposition Topics"), as follows:
  7                               GENERAL OBJECTIONS
  8         1.     SYUSA objects to the Notice generally on the ground and to the
  9   extent that it fails to comply with Rule 30(b)(3) of Federal Rule of Civil Procedure.
 10         2.     SYUSA objects to the Notice generally on the ground and to the
 11   extent that it seeks to impose upon SYUSA discovery obligations beyond those
 12   contained in the Federal Rules of Civil Procedure or the Local Rules of this Court.
 13         3.     SYUSA objects to the Notice generally, and to the description of each
 14   of the matters described therein, on the ground and to the extent that Samyang
 15   Korea fails to describe with reasonable particularity the matters for examination, as
 16   required by Federal Rule of Civil Procedure 30(b)(6).
 17         4.     SYUSA objects to the Notice generally, and to the Deposition Topics
 18   described therein, on the ground and to the extent that it seeks information that is
 19   neither relevant to the subject matter involved in this litigation, nor reasonably
 20   calculated to lead to the discovery of admissible evidence.
 21         5.     SYUSA objects to the Notice generally, and to the Deposition Topics
 22   described therein, on the ground and to the extent that they seek information,
 23   documents, or things protected from disclosure by the attorney-client privilege, the
 24   attorney work product doctrine, or any other applicable privilege.
 25         6.     SYUSA objects to the Notice generally, and to the Deposition Topics
 26   described therein, on the ground and to the extent that they seek confidential or
 27   proprietary information.
 28
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                           Objections to Notice of Taking DeposLtion
                            Case No. CVl 1-04592 RSWL (AGRx)
Case 2:15-cv-07697-AB-KS Document 88-3 Filed 11/01/17 Page 15 of 295 Page ID
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  1          7.        SYUSA objects to the Notice generally, and to the Deposition Topics
  2   described therein, on the ground and to the extent that they seek information that is
  3   protected or prohibited from disclosure under Federal, California or other
  4   applicable law, including but not limited to, any confidentiality rights possessed by
  5   third parties.
  6          8.        SYUSA objects to each definition applicable to the Deposition Topics
  7   to the extent that it purports to define a word in a way that is inconsistent with its
  8   generally understood meaning. SYUSA further objects to each definition
  9   applicable to the Definition Topics to the extent that it can be construed to impose
 10   obligations upon SYUSA that are greater than those imposed by the Federal Rules
 11   of Civil Procedure, the Local Rules of this Court, or any other applicable statute,
 12   rule or case law governing the discovery or disclosure of information.
 13          9.        SYUSA generally objects to each Deposition Topic in which the
 14   terms "YOU," "YOUR," or "SYUSA" appear on the ground that Samyang Korea's
 15   definition of this term is overly burdensome and oppressive, overly broad, not
 16   reasonably limited by time or scope, annoying or harassing, to the extent that it
 17   purports to include "any and all of [SYUSA'S] employees, agents, representatives,
 18   assignees, delegees, and/or any other person acting on its behalf or for its benefit."
 19          10.       DDS generally objects to each Deposition Topic in which the term(s)
 20   "RELATE TO," "RELATING TO," "RELATED TO," and "CONCERNING"
 21   appear. These terms, as defined by Samyang Korea, are overly broad, vague and
 22   ambiguous, and designating and producing an officer, director and/or managing
 23   agent to testify as to a Deposition Topic in which these terms appear would require
 24   SYUSA and its attorneys either to guess or engage in unreasonably difficult,
 25   complex, and time consuming logical thought processes to identify relevant or
 26   responsive information, as well as potentially to disclose the conclusions, opinions
 27   or thought processes of counsel in violation of the attorney work product doctrine.
 28
                                                 -3-
                              Objections to Notice of Taking Deposition
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  1          11.   SYUSA generally objects to each Deposition Topic in which the
  2   terms "COMMUNICATION, " or "DOCUMENT" appear on the grounds, and to
  3   the extent, that these terms-as defined by Samyang Korea-are broader than and
  4   deviate from their commonly understood definitions. SYUSA further generally
  5   objects to each Deposition Topic in which the terms "COMMUNICATION, " or
  6   "DOCUMENT" appear on the grounds and to the extent that their inclusion in any
  7   Deposition Topic would render such Deposition Topic overly burdensome and
  8   oppressive, overly broad, not reasonably limited by time or scope, annoying or
  9   harassing. SYUSA further objects generally objects to each Deposition Topic in
 1o   which these terms appear to the extent that they can be construed to impose
 11   obligations upon SYUSA that are greater than those imposed by the Federal Rules
 12   of Civil Procedure, the Local Rules of this Court, or any other applicable statute,
 13   rule or case law governing the discovery or disclosure of information. SYUSA
 14   further objects generally to each Deposition Topic in which the terms
 15   "DOCUMENT," or "COMMUNICATION" appear to the extent they purport to
 16   seek information not reasonably available to SYUSA.
 17         SYUSA's general and specific objections are based upon information
 18   currently available to it. SYUSA's investigation and discovery in this action are
 19   ongoing, and SYUSA reserves the right to supplement its objections in the event that
 20   additional information is obtained through such investigation or discovery. Nothing
 21   contained in these objections is intended to be or should be construed as an
 22   admission by SYUSA of the relevance or admissibility at trial or on any motion of
 23   any information contained in these objections. By making these objections, SYUSA
 24   does not waive its right to assert additional objections at the time of deposition.
 25                      OBJECTIONS TO DEPOSITION TOPICS
 26         SYUSA incorporates by reference each General Objection set forth above
 27   into each specific response set forth below. The assertion of same, similar, or
 28
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                           Objections to Notice of Taking Deposition
                            Case No. CVl 1-04592 RSWL (AGRx)
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  1   additional objections to the individual requests does not waive any of SYUSA's
  2   General Objections.
  3   Deposition Topic No. 1:
  4         The business operations of SCCC from 1997 to the present.
  5   Objection to Topic No. 1:
  6         SYUSA objects to this Deposition Topic on the ground that it fails to
  7   describe with reasonable particularity the matters for examination, as required by
  8   Federal Rule of Civil Procedure 30(b)(6). SYUSA further objects to this
  9   Deposition Topic to the extent that it seeks information that is neither relevant to
 10   the subject matter involved in this litigation, nor proportional to the needs of this
 11   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
 12   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
 13   annoying or harassing. SYUSA further objects to this Deposition Topic on the
 14   grounds and to the extent that it information that is not within the possession,
 15   custody or control of SYUSA. SYUSA further objects to this Deposition Topic on
 16   the grounds and to the extent that it seeks confidential or proprietary business data
 17   or information. SYUSA further objects to this Deposition Topic on the grounds
 18   that it is vague, ambiguous and uncertain in its use of the term "business
 19   0perations." SYUSA objects to this Deposition Topic to the extent that it requests
 20   information that is protected or prohibited from disclosure under Federal,
 21   California or other applicable law, including but not limited to, confidentiality
 22   rights possessed by third parties. SYUSA objects to this Deposition Topic to the
 23   extent that it seeks information protected by the attorney-client privilege, the work
 24   product doctrine or any other privilege.
 25          Subject to and without waiving the foregoing objections, SYUSA designates
 26   See Young Lee to testify on its behalf as to this Deposition Matter.
 27

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  1   Deposition Topic No. 2:
  2         The business operations of SYUSA from 1997 to the present.
  3   Obiection to Topic No. 2:
  4         SYUSA objects to this Deposition Topic on the ground that it fails to
  5   describe with reasonable particularity the matters for examination, as required by
  6   Federal Rule of Civil Procedure 30(b )(6). SYUSA further objects to this
  7   Deposition Topic to the extent that it seeks information that is neither relevant to
  8   the subject matter involved in this litigation, nor proportional to the needs of this
  9   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
 10   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
 11   annoying or harassing. SYUSA further objects to this Deposition Topic on the
 12   grounds and to the extent that it seeks confidential or proprietary business data or
 13   information. SYUSA further objects to this Deposition Topic on the grounds that
 14   it is vague, ambiguous and uncertain in its use of the term "business operations."
 15   SYUSA objects to this Deposition Topic to the extent that it requests information
 16   that is protected or prohibited from disclosure under Federal, California or other
 17   applicable law, including but not limited to, confidentiality rights possessed by
 18   third parties. SYUSA objects to this Deposition Topic to the extent that it seeks
 19   information protected by the attorney-client privilege, the work product doctrine or
 20   any other privilege.
 21         Subject to and without waiving the foregoing objections, SYUSA designates
 22   See Young Lee to testify on its behalf as to this Deposition Matter.
 23   Deposition Topic No. 3:
 24         The details and circumstances of YOUR performance under the
 25   DISTRIBUTION AGREEMENT from 1997 to August 1, 2016.
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                             Obj ections to Notice of Taking Depos it ion
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  1   Objection to Topic No. 3:
  2         SYUSA objects to this Deposition Topic on the ground that it fails to
  3   describe with reasonable particularity the matters for examination, as required by
  4   Federal Rule of Civil Procedure 30(b )(6). SYUSA further objects to this
  5   Deposition Topic to the extent that it seeks information that is neither relevant to
  6   the subject matter involved in this litigation, nor proportional to the needs of this
  7   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
  8   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
  9   annoying or harassing. SYUSA further objects to this Deposition Topic on the
 1o   grounds and to the extent that it seeks confidential or proprietary business data or
 11   information. SYUSA further objects to this Deposition Topic on the grounds that
 12   it is vague, ambiguous and uncertain in its use of the phrase "details and
 13   circumstances," and the term "performance." SYUSA objects to this Deposition
 14   Topic to the extent that it requests information that is protected or prohibited from
 15   disclosure under Federal, California or other applicable law, including but not
 16   limited to, confidentiality rights possessed by third parties. SYUSA objects to this
 17   Deposition Topic to the extent that it seeks information protected by the attomey-
 18   client privilege, the work product doctrine or any other privilege.
 19         Subject to and without waiving the foregoing objections, SYUSA designates
 20   See Young Lee to testify on its behalf as to this Deposition Matter.
 21   Deposition Topic No. 4:
 22         Facts and circumstances RELATING TO negotiations to terminate the
 23   DISTRIBUTION AGREEMENT in 2012 and 2013, including any and all
 24   DOCUMENTS and COMMUNICATIONS RELATING TO such termination.
 25   Objection to Topic No. 4:
 26         SYUSA objects to this Deposition Topic on the ground that it fails to
 27   describe with reasonable particularity the matters for examination, as required by
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  1   Federal Rule of Civil Procedure 30(b)(6). SYUSA further objects to this
  2   Deposition Topic to the extent that it seeks information that is neither relevant to
  3   the subject matter involved in this litigation, nor proportional to the needs of this
  4   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
  5   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
  6   annoying or harassing. SYUSA further objects to this Deposition Topic on the
  7   grounds and to the extent that it information that is not within the possession,
  8   custody or control of SYUSA. SYUSA further objects to this Deposition Topic on
  9   the grounds and to the extent that it seeks confidential or proprietary business data
 10   or information. SYUSA further objects to this Deposition Topic on the grounds
 11   that it is vague, ambiguous and uncertain in its use of the phrase "facts and
 12   circumstances." SYUSA objects to this Deposition Topic to the extent that it
 13   requests information that is protected or prohibited from disclosure under Federal,
 14   California or other applicable law, including but not limited to, confidentiality
 15   rights possessed by third parties. SYUSA objects to this Deposition Topic to the
 16   extent that it seeks information protected by the attorney-client privilege, the work
 17   product doctrine or any other privilege.
 18         Subject to and without waiving the foregoing objections, SYUSA designates
 19   See Young Lee to testify on its behalf as to this Deposition Matter.
 20   Deposition Topic No. 5:
 21         Facts and circumstances RELATING TO the August 1, 2016 termination of
 22   the DISTRIBUTION AGREEMENT, including any and all DOCUMENTS and
 23   COMMUNICATIONS RELATING TO such termination.
 24   Objection to Topic No. 5:
 25         SYUSA objects to this Deposition Topic on the ground that it fails to
 26   describe with reasonable particularity the matters for examination, as required by
 27   Federal Rule of Civil Procedure 30(b)(6). SYUSA further objects to this
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  1   Deposition Topic to the extent that it seeks information that is neither relevant to
  2   the subject matter involved in this litigation, nor proportional to the needs of this
  3   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
  4   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
  5   annoying or harassing. SYUSA further objects to this Deposition Topic on the
  6   grounds and to the extent that it information that is not within the possession,
  7   custody or control of SYUSA. SYUSA further objects to this Deposition Topic on
  8   the grounds and to the extent that it seeks confidential or proprietary business data
  9   or information. SYUSA further objects to this Deposition Topic on the grounds
 10   that it is vague, ambiguous and uncertain in its use of the term "facts and
 11   circumstances," and "termination." SYUSA further objects to this Deposition
 12   Topic to the extent it assumes facts not supported by any evidence; to the extent
 13   SYUSA designates any officer, director or managing agent to testify on this
 14   Deposition Topic, SYUSA does not admit the facts assumed and/or the existence
 15   of facts supporting the assumption. SYUSA objects to this Deposition Topic to the
 16   extent that it requests information that is protected or prohibited from disclosure
 17   under Federal, California or other applicable law, including but not limited to,
 18   confidentiality rights possessed by third parties. SYUSA objects to this Deposition
 19   Topic to the extent that it seeks information protected by the attorney-client
 20   privilege, the work product doctrine or any other privilege.
 21         Subject to and without waiving the foregoing objections, SYUSA designates
 22   Mun-Kyung Chung to testify on its behalf as to this Deposition Matter. However,
 23   Ms. Chung is unavailable for deposition on the noticed date. SYUSA will make
 24   her available at a date mutually convenient to the parties and their counsel.
 25   Deposition Topic No. 6:
 26         Facts and circumstances RELATING TO the execution of the
 27   DISTRIBUTION AGREEMENT on November 29, 1997.
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  1   Objection to Topic No. 6:
  2         SYUSA objects to this Deposition Topic on the ground that it fails to
  3   describe with reasonable particularity the matters for examination, as required by
  4   Federal Rule of Civil Procedure 30(b)(6). SYUSA further objects to this
  5   Deposition Topic to the extent that it seeks information that is neither relevant to
  6   the subject matter involved in this litigation, nor proportional to the needs of this
  7   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
  8   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
  9   annoying or harassing. SYUSA further objects to this Deposition Topic on the
 1o   grounds and to the extent that it information that is not within the possession,
 11   custody or control of SYUSA. SYUSA further objects to this Deposition Topic on
 12   the grounds that it is vague, ambiguous and uncertain in its use of the phrase "facts
 13   and circumstances," and the term "execution." SYUSA objects to this Deposition
 14   Topic to the extent that it seeks information protected by the attorney-client
 15   privilege, the work product doctrine or any other privilege.
 16         Subject to and without waiving the foregoing objections, SYUSA designates
 17   Mun-Kyung Chung to testify on its behalf as to this Deposition Matter. However,
 18   Ms. Chung is unavailable for deposition on the noticed date. SYUSA will make
 19   her available at a date mutually convenient to the parties and their counsel.
 20   Deposition Topic No. 7:
 21         All facts supporting YOUR contentions in the FAC.
 22   Objection to Topic No. 7:
 23         SYUSA objects to this Deposition Topic on the ground that it fails to
 24   describe with reasonable particularity the matters for examination, as required by
 25   Federal Rule of Civil Procedure 30(b)(6). SYUSA further objects to this
 26   Deposition Topic to the extent that it seeks information that is neither relevant to
 27   the subject matter involved in this litigation, nor proportional to the needs of this
 28
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  1   case. SYUSA objects to this Deposition Topic on the grounds that its request for
  2   "all facts supporting" the FAC renders this Deposition Topic overly burdensome
  3   and oppressive, overly broad, not reasonably limited by time or scope, annoying or
  4   harassing. SYUSA further objects to this Deposition Topic on the grounds and to
  5   the extent that it information that is not within the possession, custody or control of
  6   SYUSA. SYUSA further objects to this Deposition Topic on the grounds and to
  7   the extent that it seeks confidential or proprietary business data or information.
  8   SYUSA further objects to this Deposition Topic on the grounds that it is vague,
  9   ambiguous and uncertain in its use of the term "contentions." SYUSA objects to
 10   this Deposition Topic to the extent that it requests information that is protected or
 11   prohibited from disclosure under Federal, California or other applicable law,
 12   including but not limited to, confidentiality rights possessed by third parties.
 13   SYUSA objects to this Deposition Topic to the extent that it seeks information
 14   protected by the attorney-client privilege, the work product doctrine or any other
 15   privilege.
 16   Deposition Topic No. 8:
 17         YOUR incorporation and corporate structure, including YOUR corporate
 18   relationship to ROYP AC and SCCC.
 19   Objection to Topic No. 8:
20           SYUSA further objects to this Deposition Topic to the extent that it seeks
 21   information that is neither relevant to the subject matter involved in this litigation,
 22   nor proportional to the needs of this case. SYUSA further objects to this
 23   Deposition Topic on the grounds and to the extent that it seeks confidential or
 24   proprietary business data or information. SYUSA further objects to this
 25   Deposition Topic on the grounds that it is vague, ambiguous and uncertain in its
 26   use of the terms "corporate structure" and "corporate relationship." SYUSA
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  1   objects to this Deposition Topic to the extent that it seeks information protected by
  2   the attorney-client privilege, the work product doctrine or any other privilege.
  3         Subject to and without waiving the foregoing objections, SYUSA designates
  4   See Young Lee to testify on its behalf as to this Deposition Matter.
  5   Deposition Topic No. 9:
  6         The title and responsibilities of each of YOUR current and former
  7   employees, contractors, agents, and representatives.
  8   Objection to Topic No. 9:
  9         SYUSA objects to this Deposition Topic on the ground that it fails to
                                        I



 1o   describe with reasonable particularity the matters for examination, as required by
 11   Federal Rule of Civil Procedure 30(b )(6). SYUSA further objects to this
 12   Deposition Topic to the extent that it seeks information that is neither relevant to
 13   the subject matter involved in this litigation, nor proportional to the needs of this
 14   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
 15   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
 16   annoying or harassing. SYUSA further objects to this Deposition Topic on the
 17   grounds and to the extent that it seeks confidential or proprietary business data or
 18   information. SYUSA further objects to this Deposition Topic on the grounds that
 19   it is vague, ambiguous and uncertain in its use of the term "responsibilities."
 20   SYUSA objects to this Deposition Topic to the extent that it requests information
 21   that is protected or prohibited from disclosure under Federal, California or other
 22   applicable law, including but not limited to, confidentiality rights possessed by
 23   third parties. SYUSA objects to this Deposition Topic to the extent that it seeks
 24   information protected by the attorney-client privilege, the work product doctrine or
 25   any other privilege.
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  1   Deposition Topic No. 10:
  2          YOUR assignment to SCCC and/or ROYPAC of any of YOUR rights or
  3   obligations under the DISTRIBUTION AGREEMENT.
  4   Objection to Topic No. 10:
  5          SYUSA objects to this Deposition Topic on the ground that it fails to
  6   describe with reasonable particularity the matters for examination, as required by
  7   Federal Rule of Civil Procedure 30(b)(6). SYUSA further objects to this
  8   Deposition Topic to the extent it assumes facts not supported by any evidence; to
  9   the extent SYUSA designates any officer, director or managing agent to testify on
 1o   this Deposition Topic, SYUSA does not admit the facts assumed and/or the
 11   existence of facts supporting the assumption. SYUSA further objects to this
 12   Deposition Topic to the extent that it seeks information that is neither relevant to
 13   the subject matter involved in this litigation, nor proportional to the needs of this
 14   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
 15   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
 16   annoying or harassing. SYUSA further objects to this Deposition Topic on the
 17   grounds that it is vague, ambiguous and uncertain in its use of the term
 18   "assignment," and "rights and obligations." SYUSA objects to this Deposition
 19   Topic to the extent that it seeks information protected by the attorney-client
 20   privilege, the work product doctrine or any other privilege.
 21         Subject to and without waiving the foregoing objections, SYUSA designates
 22   See Young Lee to testify on its behalf as to this Deposition Matter.
 23   Deposition Topic No. 11:
 24         YOUR financial performance since YOUR inception.
 25   Obiection to Topic No. 11:
 26         SYUSA objects to this Deposition Topic on the ground that it fails to
 27   describe with reasonable particularity the matters for examination, as required by
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  1   Federal Rule of Civil Procedure 30(b)(6). SYUSA further objects to this
  2   Deposition Topic to the extent that it seeks information that is neither relevant to
  3   the subject matter involved in this litigation, nor proportional to the needs of this
  4   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
  5   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
  6   annoying or harassing. SYUSA further objects to this Deposition Topic on the
  7   grounds and to the extent that it seeks confidential or proprietary business data or
  8   information. SYUSA further objects to this Deposition Topic on the grounds that
  9   it is vague, ambiguous and uncertain in its use of the term "financial performance."
 10   SYUSA further objects to this Deposition Topic to the extent that it requests
 11   information that is protected or prohibited from disclosure under Federal,
 12   California or other applicable law, including but not limited to, confidentiality
 13   rights possessed by third parties. SYUSA objects to this Deposition Topic to the
 14   extent that it seeks information protected by the attorney-client privilege, the work
 15   product doctrine or any other privilege.
 16         Subject to and without waiving the foregoing objections, SYUSA designates
 17   See Young Lee to testify on its behalf as to this Deposition Matter.
 18   Deposition Topic No. 12:
 19         YOUR financial statements from 1997 to the present.
 20   Objection to Topic No. 12:
 21         SYUSA objects to this Deposition Topic on the ground that it fails to
 22   describe with reasonable particularity the matters for examination, as required by
 23   Federal Rule of Civil Procedure 30(b)(6). SYUSA further objects to this
 24   Deposition Topic to the extent that it seeks information that is neither relevant to
 25   the subject matter involved in this litigation, nor proportional to the needs of this
 26   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
 27   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
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  1   annoying or harassing. SYUSA further objects to this Deposition Topic on the
  2   grounds and to the extent that it information that is not within the possession,
  3   custody or control of SYUSA. SYUSA further objects to this Deposition Topic on
  4   the grounds and to the extent that it seeks confidential or proprietary business data
  5   or information. SYUSA further objects to this Deposition Topic on the grounds
  6   that it is vague, ambiguous and uncertain in its use of the term "financial
  7   statements." SYUSA further objects to this Deposition Topic to the extent that it
  8   appears to be a request for documents. SYUSA further objects to this Deposition
  9   Topic to the extent that it requests information that is protected or prohibited from
 10   disclosure under Federal, California or other applicable law, including but not
 11   limited to, confidentiality rights possessed by third parties. SYUSA objects to this
 12   Deposition Topic to the extent that it seeks information protected by the attomey-
 13   client privilege, the work product doctrine or any other privilege.
 14         Subject to and without waiving the foregoing objections, SYUSA designates
 15   See Young Lee to testify on its behalf as to this Deposition Matter.
 16   Deposition Topic No. 13:
 17         YOUR advertising and marketing efforts from 1996 to the present.
 18   Objection to Topic No. 13:
 19         SYUSA objects to this Deposition Topic on the ground that it fails to
 20   describe with reasonable particularity the matters for examination, as required by
 21   Federal Rule of Civil Procedure 30(b)(6). SYUSA further objects to this
 22   Deposition Topic to the extent that it seeks information that is neither relevant to
 23   the subject matter involved in this litigation, nor proportional to the needs of this
 24   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
 25   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
 26   annoying or harassing. SYUSA further objects to this Deposition Topic on the
 27   grounds and to the extent that it information that is not within the possession,
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  1   custody or control of SYUSA. SYUSA further .objects to this Deposition Topic on
  2   the grounds and to the extent that it seeks confidential or proprietary business data
  3   or information. SYUSA further objects.to this Deposition Topic on the grounds
  4   that it is vague, ambiguous and uncertain in its use of the term "advertising and
  5   marketing efforts." SYUSA further objects to this Deposition Topic to the extent
  6   that it requests information that is protected or prohibited from disclosure under
  7   Federal, California or other applicable law, including but not limited to,
  8   confidentiality rights possessed by third parties. SYUSA objects to this Deposition
  9   Topic to the extent that it seeks information protected by the attorney-client
 1O   privilege, the work product doctrine or any other privilege.
 11         Subject to and without waiving the foregoing objections, SYUSA designates
 12   See Young Lee to testify on its behalf as to this Deposition Matter.
 13   Deposition Topic No. 14:
 14         The dollar amount of YOUR purchase and sales of Samyang food products
 15   from 1997 to present.
 16   Objection to Topic No. 14:
 17         SYUSA further objects to this Deposition Topic to the extent that it seeks
 18   information that is neither relevant to the subject matter involved in this litigation,
 19   nor proportional to the needs of this case. SYUSA objects to this Deposition Topic
 20   on the grounds that it is overly burdensome and oppressive, overly broad, not
 21   reasonably limited by time or scope, annoying or harassing. SYUSA further
 22   objects to this Deposition Topic on the grounds and to the extent that it information
 23   that is not within the possession, custody or control of SYUSA. SYUSA further
 24   objects to this Deposition Topic on the grounds and to the extent that it seeks
 25   confidential or proprietary business data or information. SYUSA further objects to
 26   this Deposition Topic on the grounds that it is vague, ambiguous and uncertain in
 27   its use of the phrase "dollar amounts of YOUR purchase and sales." SYUSA
 28
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  1   objects to this Deposition Topic to the extent that it requests information that is
  2   protected or prohibited from disclosure under Federal, California or other
  3   applicable law, including but not limited to, confidentiality rights possessed by
  4   third parties. SYUSA objects to this Deposition Topic to the extent that it seeks
  5   information protected by the attorney-client privilege, the work product doctrine or
  6   any other privilege.
  7   Deposition Topic No. 15:
  8         YOUR efforts to sell, distribute, market, and promote Samyang's food
  9   products and brand in Canada from 1997 to August 1, 2016, including any and all
 10   distribution channels that YOU identified and developed in that region.
 11   Objection to Topic No. 15:
 12         SYUSA objects to this Deposition Topic on the ground that it fails to
 13   describe with reasonable particularity the matters for examination, as required by
 14   Federal Rule of Civil Procedure 30(b)(6). SYUSA further objects to this
 15   Deposition Topic to the extent that it seeks information that is neither relevant to
 16   the subject matter involved in this litigation, nor proportional to the needs of this
 17   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
 18   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
 19   annoying or harassing. SYUSA further objects to this Deposition Topic on the
 20   grounds and to the extent that it information that is not within the possession,
 21   custody or control of SYUSA. SYUSA further objects to this Deposition Topic on
 22   the grounds and to the extent that it seeks confidential or proprietary business data
 23   or information. SYUSA further objects to this Deposition Topic on the grounds
 24   that it is vague, ambiguous and uncertain in its use of the phrase "efforts to sell,
 25   distribute, market and promote," and the terms "distribution channels,"
 26   "identified," and "developed." SYUSA objects to this Deposition Topic to the
 27   extent that it requests information that is protected or prohibited from disclosure
 28
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  1   under Federal, California or other applicable law, including but not limited to,
  2   confidentiality rights possessed by third parties. SYUSA objects to this Deposition
  3   Topic to the extent that it seeks information protected by the attorney-client
  4   privilege, the work product doctrine or any other privilege.
  5         Subject to and without waiving the foregoing objections, SYUSA designates
  6   See Young Lee to testify on its behalf as to this Deposition Matter.
  7   Deposition Topic No. 16:
  8         YOUR efforts to sell, distribute, market, and promote Samyang's food
  9   products and brand in Mexico from 1997 to August 1, 2016, including any and all
 1O   distribution channels that YOU identified and developed in that region.
 11   Obiection to Topic No. 16:
 12         SYUSA objects to this Deposition Topic on the ground that it fails to
 13   describe with reasonable particularity the matters for examination, as required by
 14   Federal Rule of Civil Procedure 30(b)(6). SYUSA further objects to this
 15   Deposition Topic to the extent that it seeks information that is neither relevant to
 16   the subject matter involved in this litigation, nor proportional to the needs of this
 17   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
 18   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
 19   annoying or harassing. SYUSA further objects to this Deposition Topic on the
 20   grounds and to the extent that it information that is not within the possession,
 21   custody or control of SYUSA. SYUSA further objects to this Deposition Topic on
 22   the grounds and to the extent that it seeks confidential or proprietary business data
 23   or information. SYUSA further objects to this Deposition Topic on the grounds
 24   that it is vague, ambiguous and uncertain in its use of the phrase "efforts to sell,
 25   distribute, market and promote," and the terms "distribution channels,"
 26   "identified," and "developed." SYUSA objects to this Deposition Topic to the
 27   extent that it requests information that is protected or prohibited from disclosure
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  1   under Federal, California or other applicable law, including but not limited to,
  2   confidentiality rights possessed by third parties. SYUSA objects to this Deposition
  3   Topic to the extent that it seeks information protected by the attorney-client
  4   privilege, the work product doctrine or any other privilege.
  5         Subject to and without waiving the foregoing objections, SYUSA designates
  6   See Young Lee to testify on its behalf as to this Deposition Matter.
  7   Deposition Topic No.17:
  8         YOUR efforts to sell, distribute, market, and promote Samyang's food
  9   products and brand in the West Coast region of the United States, from 1997 to
 1o   August 1, 2016, including any and all distribution channels that YOU identified
 11   and developed in that region.
 12   Objection to Topic No. 17:
 13         SYUSA objects to this Deposition Topic on the ground that it fails to
 14   describe with reasonable particularity the matters for examination, as required by
 15   Federal Rule of Civil Procedure 30(b)(6). SYUSA further objects to this
 16   Deposition Topic to the extent that it seeks information that is neither relevant to
 17   the subject matter involved in this litigation, nor proportional to the needs of this
 18   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
 19   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
 20   annoying or harassing. SYUSA further objects to this Deposition Topic on the
 21   grounds and to the extent that it information that is not within the possession,
 22   custody or control of SYUSA. SYUSA further objects to this Deposition Topic on
 23   the grounds and to the extent that it seeks confidential or proprietary business data
 24   or information. SYUSA further objects to this Deposition Topic on the grounds
 25   that it is vague, ambiguous and uncertain in its use of the phrase "efforts to sell,
 26   distribute, market and promote," and the terms "West Coast region," "distribution
 27   channels," "identified," and "developed." SYUSA objects to this Deposition Topic
 28
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  1   to the extent that it requests information that is protected or prohibited from
  2   disclosure under Federal, California or other applicable law, including but not
  3   limited to, confidentiality rights possessed by third parties. SYUSA objects to this
  4   Deposition Topic to the extent that it seeks information protected by the attomey-
  5   client privilege, the work product doctrine or any other privilege.
  6         Subject to and without waiving the foregoing objections, SYUSA designates
  7   See Young Lee to testify on its behalf as to this Deposition Matter.
  8   Deposition Topic No. 18:
  9         YOUR efforts to sell, distribute, market, and promote Samyang's food
 10   products and brand in the East Coast region of the United States from 1997 to
 11   August 1, 2016, including any and all distribution channels that YOU identified
 12   and developed in that region.
 13   Objection to Topic No. 18:
 14         SYUSA objects to this Deposition Topic on the ground that it fails to
 15   describe with reasonable particularity the matters for examination, as required by
 16   Federal Rule of Civil Procedure 30(b)(6). SYUSA further objects to this
 17   Deposition Topic to the extent that it seeks information that is neither relevant to
 18   the subject matter involved in this litigation, nor proportional to the needs of this
 19   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
 20   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
 21   annoying or harassing. SYUSA further objects to this Deposition Topic on the
 22   grounds and to the extent that it information that is not within the possession,
 23   custody or control of SYUSA. SYUSA further objects to this Deposition Topic on
 24   the grounds and to the extent that it seeks confidential or proprietary business data
 25   or information. SYUSA further objects to this Deposition Topic on the grounds
 26   that it is vague, ambiguous and uncertain in its use of the phrase "efforts to sell,
 27   distribute, market and promote," and the terms "East Coast region," "distribution
 28
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  1   channels," "identified," and "developed." SYUSA objects to this Deposition Topic
  2   to the extent that it requests information that is protected or prohibited from
  3   disclosure under Federal, California or other applicable law, including but not
  4   limited to, confidentiality rights possessed by third parties. SYUSA objects to this
  5   Deposition Topic to the extent that it seeks information protected by the attorney-
  6   client privilege, the work product doctrine or any other privilege.
  7         Subject to and without waiving the foregoing objections, SYUSA designates
  8   See Young Lee to testify on its behalf as to this Deposition Matter.
  9   Deposition Topic No. 19:
 10         Any and all trademarks or copyrights YOU have registered or attempted to
 11   register in the United States, Canada, or Mexico RELATING TO Samyang or
 12   Samyang's food products.
 13   Objection to Topic No. 19:
 14         SYUSA objects to this Deposition Topic on the ground that it fails to
 15   describe with reasonable particularity the matters for examination, as required by
 16   Federal Rule of Civil Procedure 30(b)(6). SYUSA further objects to this
 17   Deposition Topic to the extent that it seeks information that is neither relevant to
 18   the subject matter involved in this litigation, nor proportional to the needs of this
 19   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
 20   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
 21   annoying or harassing. Samyang further objects to this Deposition Topic to the
 22   extent that it seeks information equally available to Samyang Korea or information
 23   readily available from public records. SYUSA further objects to this Deposition
 24   Topic on the grounds that it is vague, ambiguous and uncertain in its use of the
 25   phrase "RELATING TO Samyang or Samyang's food products." SYUSA objects
 26   to this Deposition Topic to the extent that it seeks information protected by the
 27   attorney-client privilege, the work product doctrine or any other privilege.
 28
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  1         Subject to and without waiving the foregoing objections, SYUSA designates
  2   See Young Lee to testify on its behalf as to this Deposition Matter.
  3   Deposition Topic No. 20:
  4         Any analysis or study of the ramen market in North America (or any part
  5   thereof) that YOU conducted from 1997 to the present.
  6   Objection to Topic No. 20:
  7         SYUSA objects to this Deposition Topic on the ground that it fails to
  8   describe with reasonable particularity the matters for examination, as required by
  9   Federal Rule of Civil Procedure 30(b)(6). SYUSA further objects to this
 10   Deposition Topic to the extent that it seeks information that is neither relevant to
 11   the subject matter involved in this litigation, nor proportional to the needs of this
 12   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
 13   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
 14   annoying or harassing. SYUSA further objects to this Deposition Topic on the
 15   grounds and to the extent that it information that is not within the possession,
 16   custody or control of SYUSA. SYUSA further objects to this Deposition Topic on
 17   the grounds and to the extent that it seeks confidential or proprietary business data
 18   or information. SYUSA further objects to this Deposition Topic on the grounds
 19   that it is vague, ambiguous and uncertain in its use of the terms "analysis," "study,"
 20   "ramen market," and "conducted." SYUSA objects to this Deposition Topic to the
 21   extent that it requests information that is protected or prohibited from disclosure
 22   under Federal, California or other applicable law, including but not limited to,
 23   confidentiality rights possessed by third parties. SYUSA objects to this Deposition
 24   Topic to the extent that it seeks information protected by the attorney-client
 25   privilege, the work product doctrine or any other privilege.
 26          Subject to and without waiving the foregoing objections, SYUSA designates
 27   See Young Lee to testify on its behalf as to this Deposition Matter.
 28
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  1   .Deposition Topic No. 21:
  2         Any analysis or study of YOUR competitors in North America (or any part
  3   thereof) that YOU conducted from 1997 to the present.
  4   Objection to Topic No. 21:
  5         SYUSA objects to this Deposition Topic on the ground that it fails to
  6   describe with reasonable particularity the matters for examination, as required by
  7   Federal Rule of Civil Procedure 30(b)(6). SYUSA further objects to this
  8   Deposition Topic to the extent that it seeks information that is neither relevant to
  9   the subject matter involved in this litigation, nor proportional to the needs of this
 10   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
 11   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
 12   annoying or harassing. SYUSA further objects to this Deposition Topic on the
 13   grounds and to the extent that it information that is not within the possession,
 14   custody or control of SYUSA. SYUSA further objects to this Deposition Topic on
 15   the grounds and to the extent that it seeks confidential or proprietary business data
 16   or information. SYUSA further objects to this Deposition Topic on the grounds
 17   that it is vague, ambiguous and uncertain in its use of the terms "analysis," "study,"
 18   "competitors," and "conducted." SYUSA objects to this Deposition Topic to the
 19   extent that it requests information that is protected or prohibited from disclosure
 20   under Federal, California or other applicable law, including but not limited to,
 21   confidentiality rights possessed by third parties. SYUSA objects to this Deposition
 22   Topic to the extent that it seeks information protected by the attorney-client
 23   privilege, the work product doctrine or any other privilege.
 24         Subject to and without waiving the foregoing objections, SYUSA designates
 25   See Young Lee to testify on its behalf as to this Deposition Matter.
 26
 27

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                           Obj ecti ons to Notice of Taking Deposition
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  1   Deposition Topic No. 22:
  2          Identities of all individuals or entities to which YOU sold ramen from 1997
  3   to·the present.
  4   Objection to Topic No. 22:
  5          SYUSA objects to this Deposition Topic on the ground that it fails to
  6   describe with reasonable particularity the matters for examination, as required by
  7   Federal Rule of Civil Procedure 30(b)(6). SYUSA further objects to this
  8   Deposition Topic to the extent that it seeks information that is neither relevant to
  9   the subject matter involved in this litigation, nor proportional to the needs of this
 10   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
 11   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
 12   annoying or harassing. SYUSA further objects to this Deposition Topic on the
 13   grounds and to the extent that it information that is not within the possession,
 14   custody or control of SYUSA. SYUSA further objects to this Deposition Topic on
 15   the grounds and to the extent that it seeks confidential or proprietary business data
 16   or information. SYUSA further objects to this Deposition Topic on the grounds
 17   that it is vague, ambiguous and uncertain in its use of the term "identities."
 18   SYUSA objects to this Deposition Topic to the extent that it requests information
 19   that is protected or prohibited from disclosure under Federal, California or other
 20   applicable law, including but not limited to, confidentiality rights possessed by
 21   third parties. SYUSA objects to this Deposition Topic to the extent that it seeks
 22   information protected by the attorney-client privilege, the work product doctrine or
 23   any other privilege.
 24   Deposition Topic No. 23:
 25         Any COMMUNICATIONS between YOU and Samyang (or any of its
 26   predecessors or affiliates) from 1997 to the present.
 27

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  1   Objection to Topic No. 23:
  2          SYUSA objects to this Deposition Topic on the ground that it fails to describe
  3   with reasonable particularity the matters for examination, as required by Federal
  4   Rule of Civil Procedure 30(b)(6). SYUSA further objects to this Deposition Topic
  5   to the extent that it seeks information that is neither relevant to the subject matter
  6   involved in this litigation, nor proportional to the needs of this case. SYUSA objects
  7   to this Deposition Topic on the grounds that it is overly burdensome and oppressive,
  8   overly broad, not reasonably limited by time or scope, annoying or harassing,
  9   including in its use of the overly-broad defined term "COMMUNICATIONS," and
 1o   its failure to identify the relevant content or information of such
 11   "COMMUNICATIONS." SYUSA further objects to this Deposition Topic on the
 12   grounds and to the extent that it information that is not within the possession,
 13   custody or control of SYUSA. SYUSA further objects to this Deposition Topic on
 14   the grounds and to the extent that it seeks confidential or proprietary business data or
 15   information. SYUSA further objects to this Deposition Topic on the grounds that it
 16   is vague, ambiguous and uncertain in its use of the terms "predecessors," and
 17   "affiliates." SYUSA objects to this Deposition Topic to the extent that it requests
 18   information that is protected or prohibited from disclosure under Federal, California
 19   or other applicable law, including but not limited to, confidentiality rights possessed
 20   by third parties. SYUSA objects to this Deposition Topic to the extent that it seeks
 21   information protected by the attorney-client privilege, the work product doctrine or
 22   any other privilege.
 23         Subject to and without waiving the foregoing objections, SYUSA designates
 24   See Young Lee to testify on its behalf as to this Deposition Matter.
 25   Deposition Topic No. 24:
 26         Any business plans YOU prepared from 1997 to the present.
 27

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  1   Objection to Topic No. 24:
  2         SYUSA objects to this Deposition Topic on the ground that it fails to
  3   describe with reasonable particularity the matters for examination, as required by
  4   Federal Rule of Civil Procedure 30(b )(6). SYUSA further objects to this
  5   Deposition Topic to the extent that it seeks information that is neither relevant to
  6   the subject matter involved in this litigation, nor proportional to the needs of this
  7   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
  8   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
  9   annoying or harassing. SYUSA further objects to this Deposition Topic on the
 1o   grounds and to the extent that it information that is not within the possession,
 11   custody or control of SYUSA. SYUSA further objects to this Deposition Topic on
 12   the grounds and to the extent that it seeks confidential or proprietary business data
 13   or information. SYUSA further objects to this Deposition Topic on the grounds
 14   that it is vague, ambiguous and uncertain in its use of the term "business plans."
 15   SYUSA objects to this Deposition Topic to the extent that it requests information
 16   that is protected or prohibited from disclosure under Federal, California or other
 17   applicable law, including but not limited to, confidentiality rights possessed by
 18   third parties. SYUSA further objects to this Deposition Topic on the ground that it
 19   appears to be a request for documents. SYUSA objects to this Deposition Topic to
 20   the extent that it seeks information protected by the attorney-client privilege, the
 21   work product doctrine or any other privilege.
 22         Subject to and without waiving the foregoing objections, SYUSA designates
 23   See Young Lee to testify on its behalf as to this Deposition Matter.
 24   Deposition Topic No. 25:
 25         The assertions made in YOUR September 12, 2016 letter to Grand
 26   Supercenter and any other similar COMMUNICATIONS YOU sent to distributors
 27

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  I   or retailers RELATING TO the DISTRIBUTION AGREEMENT and/or YOUR
  2   alleged rights thereunder.
  3   Objection to Topic No. 25:
  4         SYUSA objects to this Deposition Topic on the ground that it fails to
  5   describe with reasonable particularity the matters for examination, as required by
  6   Federal Rule of Civil Procedure 30(b)(6). SYUSA further objects to this
  7   Deposition Topic to the extent that it seeks information that is neither relevant to
  8   the subject matter involved in this litigation, nor proportional to the needs of this
  9   case. SYUSA further objects to this Deposition Topic on the grounds and to the
 1o   extent that it seeks confidential or proprietary business data or information.
 11   SYUSA further objects to this Deposition Topic on the grounds that it is vague,
 12   ambiguous and uncertain in its use of the pharses "assertions made," and "other
 13   similar COMMUNICATIONS." SYUSA objects to this Deposition Topic to the
 14   extent that it requests information that is protected or prohibited from disclosure
 15   under Federal, California or other applicable law, including but not limited to,
 16   confidentiality rights possessed by third parties. SYUSA objects to this Deposition
 17   Topic to the extent that it seeks information protected by the attorney-client
 18   privilege, the work product doctrine or any other privilege.
 19         Subject to and without waiving the foregoing objections, SYUSA designates
 20   See Young Lee to testify on its behalf as to this Deposition Matter.
 21   Deposition Topic No. 26:
 22         The assertions made in YOUR July 12, 2012 letter to Samyang, and any
 23   other similar COMMUNICATIONS YOU sent to Samyang or its affiliates,
 24   RELATING TO the alleged importation of Samyang's products in North America
 25   through companies other than SYUSA.
 26
 27

 28
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  1   Objection to Topic No. 26:
  2          SYUSA objects to this Deposition Topic on the ground that it fails to describe
  3   with reasonable particularity the matters for examination, as required by Federal
  4   Rule of Civil Procedure 30(b)(6). SYUSA further objects to this Deposition Topic
  5   to the extent that it seeks information that is neither relevant to the subject matter
  6   involved in this litigation, nor proportional to the needs of this case. SYUSA objects
  7   to this Deposition Topic on the grounds that it is overly burdensome and oppressive,
  8   overly broad, not reasonably limited by time or scope, annoying or harassing.
  9   SYUSA further objects to this Deposition Topic on the grounds and to the extent
 1o   that it information that is not within the possession, custody or control of SYUSA.
 11   SYUSA further objects to this Deposition Topic on the grounds that it is vague,
 12   ambiguous and uncertain in its use of the phrase "assertions made," "other similar
 13   COMMUNICATIONS ," and "affiliates." SYUSA objects to this Deposition Topic
 14   to the extent that it seeks information protected by the attorney-client privilege, the
 15   work product doctrine or any other privilege.
 16         Subject to and without waiving the foregoing objections, SYUSA designates
 17   See Young Lee to testify on its behalf as to this Deposition Matter.
 18   Deposition Topic No. 27:
 19         Any and all damages or injury YOU contend YOU have suffered as a result
 20   of Samyang's alleged breach of the DISTRIBUTION AGREEMENT.
 21   Objection to Topic No. 27:
 22         SYUSA objects to this Deposition Topic on the ground that it fails to
 23   describe with reasonable particularity the matters for examination, as required by
 24   Federal Rule of Civil Procedure 30(b)(6). SYUSA further objects to this
 25   Deposition Topic to the extent that it seeks information that is neither relevant to
 26   the subject matter involved in this litigation, nor proportional to the needs of this
 27   case. SYUSA further objects to this Deposition Topic on the grounds that it its
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  1   properly the subject of expert testimony. SYUSA object to this Deposition Topic
  2   to the extent that it calls for speculation and/or a legal opinion and conclusion.
  3   SYUSA objects to this Deposition Topic to the extent that it seeks information
  4   protected by the attorney-client privilege, the work product doctrine or any other
  5   privilege. SYUSA object to this Deposition Topic on the grounds that it is overly
  6   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
  7   annoying or harassing.
  8         Subject to and without waiving the foregoing objections, SYUSA designates
  9   See Young Lee to testify on its behalf as to this Deposition Matter.
 10   Deposition Topic No. 28:
 11         Any and all damages or injury YOU contend YOU have suffered as a result
 12   of S~myang's termination of the DISTRIBUTION AGREEMENT.
 13   Objection to Topic No. 28:
 14         SYUSA objects to this Deposition Topic on the ground that it fails to
 15   describe with reasonable particularity the matters for examination, as required by
 16   Federal Rule of Civil Procedure 30(b )(6). SYUSA further objects to this
 17   Deposition Topic to the extent that it seeks information that is neither relevant to
 18   the subject matter involved in this litigation, nor proportional to the needs of this
 19   case. SYUSA further objects to this Deposition Topic on the grounds that it is
 20   properly the subject of expert testimony. SYUSA object to this Deposition Topic
 21   to the extent that it calls for speculation and/or a legal opinion and conclusion.
 22   SYUSA objects to this Deposition Topic to the extent that it seeks information
 23   protected by the attorney-client privilege, the work product doctrine or any other
 24   privilege. SYUSA object to this Deposition Topic on the grounds that it is overly
 25   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
 26   annoying or harassing. SYUSA further objects to this Deposition Topic to the
 27   extent it assumes facts not supported by any evidence; to the extent SYUSA
 28
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  1   designates any officer, director or managing agent to testify on this Deposition
  2   Topic, SYUSA does not admit the facts assumed and/or the existence of facts
  3   supporting the assumption.
  4         Subject to and without waiving the foregoing objections, SYUSA designates
  5   See Young Lee to testify on its behalf as to this Deposition Matter.
  6   Deposition Topic No. 29:
  7         Any and all actions YOU took from April 21, 2016 to August 1, 2016 to
  8   avoid or mitigate any alleged business losses or damages from resulting from
  9   termination of the DISTRIBUTION AGREEMENT.
 10   Obiection to Topic No. 29:
 11         SYUSA objects to this Deposition Topic on the ground that it fails to
 12   describe with reasonable particularity the matters for examination, as required by
 13   Federal Rule of Civil Procedure 30(b)(6). SYUSA further objects to this
 14   Deposition Topic to the extent that it seeks information that is neither relevant to
 15   the subject matter involved in this litigation, nor proportional to the needs of this
 16   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
 17   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
 18   annoying or harassing. SYUSA further objects to this Deposition Topic on the
 19   grounds and to the extent that it seeks confidential or proprietary business data or
 20   information. SYUSA objects to this Deposition Topic to the extent that it requests
 21   information that is protected or prohibited from disclosure under Federal,
 22   California or other applicable law, including but not limited to, confidentiality
 23   rights possessed by third parties. SYUSA objects to this Deposition Topic to the
 24   extent that it seeks information protected by the attorney-client privilege, the work
 25   product doctrine or any other privilege. SYUSA further objects to this Deposition
 26   Topic to the extent it assumes facts not supported by any evidence; to the extent
 27   SYUSA designates any officer, director or managing agent to testify on this
 28
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  1   Deposition Topic, SYUSA does not admit the facts assumed and/or the existence
  2   of facts supporting the assumption.
  3         Subject to and without waiving the foregoing objections, SYUSA designates
  4   See Young Lee to testify on its behalf as to this Deposition Matter.
  5   Deposition Topic No. 30:
  6         YOUR INTERROGATORY RESPONSES .
  7   Objection to Topic No. 30:
  8         SYUSA objects to this Deposition Topic on the ground that it fails to
  9   describe with reasonable particularity the matters for examination, as required by
 10   Federal Rule of Civil Procedure 30(b )(6). SYUSA further objects to this
 11   Deposition Topic to the extent that it seeks information that is neither relevant to
 12   the subject matter involved in this litigation, nor proportional to the needs of this
 13   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
 14   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
 15   annoying or harassing. SYUSA further objects to this Deposition Topic on the
 16   grounds and to the extent that it information that is not within the possession,
 17   custody or control of SYUSA. SYUSA further objects to this Deposition Topic on
 18   the grounds and to the extent that it seeks confidential or proprietary business data
 19   or information. SYUSA further objects to this Deposition Topic on the grounds
 20   that it is vague, ambiguous and uncertain in its use of the term "business
 21   operations." SYUSA objects to this Deposition Topic to the extent that it requests
 22   information that is protected or prohibited from disclosure under Federal,
 23   California or other applicable law, including but not limited to, confidentiality
 24   rights possessed by third parties. SYUSA objects to this Deposition Topic to the
 25   extent that it seeks information protected by the attorney-client privilege, the work
 26   product doctrine or any other privilege.
 27

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  1         Subject to and without waiving the foregoing objections, SYUSA designates
  2   See Young Lee to testify on its behalf as to this Deposition Matter.
  3   Deposition Topic No. 31:
  4         YOUR RFP RESPONSES.
  5   Objection to Topic No. 31:
  6         SYUSA objects to this Deposition Topic on the ground that it fails to
  7   describe with reasonable particularity the matters for examination, as required by
  8   Federal Rule of Civil Procedure 30(b)(6). SYUSA further objects to this
  9   Deposition Topic to the extent that it seeks information that is neither relevant to
 10   the subject matter involved in this litigation, nor proportional to the needs of this
 11   case. SYUSA objects to this Deposition Topic on the grounds that it is overly
 12   burdensome and oppressive, overly broad, not reasonably limited by time or scope,
 13   annoying or harassing. SYUSA further objects to this Deposition Topic on the
 14   grounds and to the extent that it information that is not within the possession,
 15   custody or control of SYUSA. SYUSA further objects to this Deposition Topic on
 16   the grounds and to the extent that it seeks confidential or proprietary business data
 17   or information. SYUSA further objects to this Deposition Topic on the grounds
 18   that it is vague, ambiguous and uncertain in its use of the term "business
 19   operations." SYUSA objects to this Deposition Topic to the extent that it requests
 20   information that is protected or prohibited from disclosure under Federal,
 21   California or other applicable law, including but not limited to, confidentiality
 22   rights possessed by third parties. SYUSA objects to this Deposition Topic to the
 23   extent that it seeks information protected by the attorney-client privilege, the work
 24   product doctrine or any other privilege.
 25         Subject to and without waiving the foregoing objections, SYUSA designates
 26   See Young Lee to testify on its behalf as to this Deposition Matter.
 27

 28
                                              -32-
                           Objections to Notice of Taking Deposition
                            Case No. CVI 1-04592 RSWL (AGRx)
Case 2:15-cv-07697-AB-KS Document 88-3 Filed 11/01/17 Page 45 of 295 Page ID
                                  #:1974



  1   DATED: December 20, 2016       SEYFARTH SHAW LLP
  2
  3
                                     By__p_~=::::::::::::::::::::::::::::::::~:==-u_ __ _ _
  4                                       Eric R. McDonough
                                          Aaron Belzer
  5

  6
                                     Attorneys for Plaintiffs and CG°i.inter-Defendants
                                     SAM YANG (U.S.A.), INC.; ROYPAC, INC.
  7                                  dba S.C. CONTINENT CORPORATION; and
                                     MUN-KYUNG CHUN
  8

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                        Objections to Notice of Taking Depos ition
      14212236v. l       Case No. CVl 1-04592 RSWL (AGRx)
     Case 2:15-cv-07697-AB-KS Document 88-3 Filed 11/01/17 Page 46 of 295 Page ID
                                       #:1975


 1                                          PROOF OF SERVICE
 2
 3
      STATE OF CALIFORNIA
      COUNTY OF LOS ANGELES
                                                      l   ss
 4          I am employed by Nationwide Legal, inc. in the County of Los Angeles, State of
      Caljfornia. I am over the age of 18 and not a party to the within action; my_ usiness
 5    address is: 1609 W. James M. Wood Blvd., Los Angel s, CA 900 15.               n December 20,
      2016, I served the within documents:
 6
          PLAINTIF AN    GUNTER-DEFENDANT SAM YANG (U.S.A.) INC. 'S
 7    OBJECTIONS  O PLAINTIFF SAMY ANG 1 000 CO. , LTD'S NOTICE OF
                                                           4


      DEPOSITION UNDER FED.R.CJV.P .30(8) 6)
 8
                 byplacing the document(s) listed above in a sealed envelope with postage thereon
 9       D       fulfy prepaid, in the United States mail at Los Angeles, California, addressed as set
                 forth below.
10
         l"i,1   by personally del.ivering the document(s) listed above to the person(s) at the
11       ~       aadress(es) set forth befow.
12               by placing the document s) listed above together with an unsigned copy of this
         D       declarati n, in a sealed envel pe or package rovided by an oven1ight delivery
13               carrier wjth p stage aid on account and deposited for coUection with the
                  vemight carrier at os Angeles, Ca Ii fornia addressed as set forth below.
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                 by transn,itting the document(s) listed above, electronically, via the e-mail
15       D       aodresses set forth below.
16       D       electronically by using the Court's ECF/CM System.
17
18
                 Ekwan E. Rhow
19
                 erhow@birdmarella.com
20               Ashley D. Bowman
                 abowman@birdmarella.com
21
                 Kate S. Shin
22               kshin@birdmarell.com
23               BIRD,MARELLA, BOXER, WOLPER, NESSIM, DROOKS,
                 LINCENBERG & RHOW, P.C.
24               1875 Century Park East, 23rd Floor
25               Los Angeles, CA 90067-2561
                 T: (310)201-2100             F: (310)201-2110
26
              l am readily familiar with the firm's practice of collection and processing
27     correspondence for mailing. Under that practice it would be deposite I with lh U. S.
28     Po taJ Service oo that same day with postage there n fully prepaid in the ordinary course

                                                                           PROOF OF SERVICE
                                                                    CASE NO.: CVl 1-04592 RSWL
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      Case 2:15-cv-07697-AB-KS Document 88-3 Filed 11/01/17 Page 47 of 295 Page ID
                                        #:1976


  1     of business. I am aware that on motion of the party served, service is presumed invalid if
        12ostal cane llation date or postage meter date   I   more than one day after date of deposit
 2      for ma i Iing in affidavit.
 3          Tdeclare that I am employed in the office of a member of the bar of this court at
       whose direction the service was made.
 4
                 Executed on December 20, 2016, at Los Angeles, California.
 5
 6                                                                      Signature
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       36338444v I
                                                                    CASE NO.: CVl 1-04592 RSWL
Case 2:15-cv-07697-AB-KS Document 88-3 Filed 11/01/17 Page 48 of 295 Page ID
                                  #:1977




                          EXHIBIT 4
Case 2:15-cv-07697-AB-KS Document 88-3 Filed 11/01/17 Page 49 of 295 Page ID
                                  #:1978

1                   UNITED STATES DISTRICT COURT
2         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
3
4     ---------------------------
      SAM YANG (U.S.A.) INC.,     )
5     ROYPAC, INC., dba S.C.      )
      CONTINENT CORPORATION,      )
6                                 )
                   Plaintiffs,    )
7                                 )
         vs.                      ) No. 2:15-cv-07697 AB (KSx)
8                                 )
      SAMYANG FOODS CO., LTD.;    )
9     and Does 1 through 20,      )
      inclusive,                  )
10                                )
                   Defendants.    )
11    ---------------------------
      SAMYANG FOODS CO., LTD.,    )
12                                )
             Counter-Claimant,    )
13                                )
         vs.                      )
14                                )
      SAM YANG (U.S.A.) INC.,     )
15    ROYPAC, INC. Dba S.C.       )
      CONTINENT CORPORATION;      )
16    MUN-KYUNG CHUN, and Does 1 )
      through 20, inclusive,      )
17                                )
             Counter-Defendants. )
18    ---------------------------
19
                     DEPOSITION OF MUN-KYUNG CHUN
20                      LOS ANGELES, CALIFORNIA
                        WEDNESDAY, MAY 10, 2017
21
22
23    Job No. 2604288
      Reported by:
24    RICKI Q. MELTON, RPR
      CSR No. 9400
25    PAGES 1 - 159

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                                  #:1979

1     you started as controller in 1985?                        10:04:49

2         A     Yes.                                            10:04:56

3         Q     What was the salary?                            10:04:58

4         A     I started at $3,000.                            10:05:02

5         Q     A year or a month?                              10:05:08

6         A     A month.                                        10:05:14

7         Q     Okay.   I was going to say you should have      10:05:14

8     asked your dad for more.                                  10:05:20

9               You owned shares -- as of 1997, you owned       10:05:25

10    shares of Samyang Korea; correct?                         10:05:33

11        A     Yes.                                            10:05:43

12        Q     How much?                                       10:05:44

13        A     Must I say?                                     10:05:51

14        Q     Yes.                                            10:05:52

15        A     I recall that it's 20,600 shares.               10:05:53

16        Q     Do you know what percentage of the total        10:06:08

17    shares that was at the time?                              10:06:10

18        A     No.                                             10:06:19

19        Q     Do you know how you -- who gave you those       10:06:20

20    shares?                                                   10:06:22

21        A     My father.                                      10:06:26

22        Q     When did he give you those shares?              10:06:27

23        A     I don't recall.                                 10:06:33

24        Q     Okay.   After 1997 -- and, again, let's put     10:06:34

25    a time frame on here.    I don't want to bring this       10:06:56

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1     up unnecessarily, but your father passed away in            10:06:58

2     what year?                                                  10:07:01

3         A    I recall that it was in 2015.                      10:07:15

4         Q    So between 1998 and before your father             10:07:18

5     passed away in 2015, did you obtain any additional          10:07:23

6     shares of Samyang Korea?                                    10:07:26

7         A    No.                                                10:07:42

8         Q    And the shares that you owned, the 20,600          10:07:44

9     shares, do you still own those today?                       10:07:49

10        A    Yes.                                               10:07:56

11        Q    In or around 1997, do you recall an event          10:08:07

12    that happened in Korea called the IMF Crisis?               10:08:13

13        A    Yes.                                               10:08:21

14        Q    And tell me what -- generally speaking,            10:08:22

15    what was the IMF Crisis?                                    10:08:25

16             MR. McDONOUGH:     Vague, ambiguous,               10:08:31

17    overbroad.                                                  10:08:32

18             You may answer.                                    10:08:33

19             THE WITNESS:     So IMF is referring to the        10:08:40

20    foreign currency crisis.                                    10:08:45

21             At that time, not only the Korea as a              10:08:55

22    nation but Samyang Korea was in crisis as well.             10:08:58

23    Samyang Korea did not have money and also didn't            10:09:08

24    have a place to borrow money from.         So that's what   10:09:11

25    the situation was there.                                    10:09:17

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1     BY MR. RHOW:                                              10:09:22

2         Q     How did you know this?                          10:09:22

3         A     It's because I read it on the newspaper         10:09:32

4     and I also heard it from my father during our             10:09:34

5     conversations.                                            10:09:38

6               MR. McDONOUGH:     I belatedly object to        10:09:39

7     "this" being vague and ambiguous.                         10:09:42

8               Her answer contained a number of different      10:09:43

9     things.   I don't know what you were referring to         10:09:46

10    when you asked her what she knew or how she knew it. 10:09:48

11    BY MR. RHOW:                                              10:10:00

12        Q     Okay.   You discussed the IMF crisis with       10:10:00

13    your father at the time; correct?                         10:10:04

14        A     Yes.                                            10:10:10

15        Q     And you understood that Samyang Korea was       10:10:11

16    in crisis?                                                10:10:14

17        A     Yes.                                            10:10:22

18        Q     These were the most difficult times that        10:10:23

19    Samyang Korea had ever faced; correct?                    10:10:25

20              MR. McDONOUGH:     Object insofar as it lacks   10:10:32

21    foundation, calls for speculation.                        10:10:35

22              You may answer.                                 10:10:37

23              THE WITNESS:     Yes.                           10:10:42

24    BY MR. RHOW:                                              10:10:43

25        Q     And not only was Samyang USA -- strike          10:10:45

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1     that.                                                       10:10:47

2              Not only was Samyang Korea having                  10:10:47

3     difficulties borrowing money, it also was having            10:10:49

4     difficulties obtaining foreign currency; true?              10:10:54

5              MR. McDONOUGH:     Objection.      Vague as to     10:11:11

6     time.                                                       10:11:12

7              THE WITNESS:     Yes.                              10:11:13

8     BY MR. RHOW:                                                10:11:13

9         Q    Okay.     In fact, in 1997, there was a            10:11:14

10    potential that Samyang Korea would have to go into          10:11:18

11    bankruptcy.                                                 10:11:20

12             MR. McDONOUGH:     Lacks foundation, calls         10:11:27

13    for speculation.                                            10:11:30

14             You may answer.                                    10:11:30

15             THE WITNESS:     Yes.                              10:11:32

16    BY MR. RHOW:                                                10:11:34

17        Q    In fact, in 1997, there was a potential            10:11:36

18    that creditors would take over Samyang Korea.               10:11:39

19             MR. McDONOUGH:     Same objections.        Lacks   10:11:52

20    foundation, calls for speculation.                          10:11:54

21             You may answer.                                    10:11:55

22             THE WITNESS:     Yes.                              10:11:56

23    BY MR. RHOW:                                                10:12:02

24        Q    Samyang USA was a source of foreign                10:12:05

25    capital in 1997; right?                                     10:12:07

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1         A    Can you repeat that for me again?                10:12:19

2         Q    Sure.                                            10:12:21

3              In 1997, Samyang USA was a source of             10:12:21

4     foreign capital because it was selling products           10:12:26

5     outside of Korea.                                         10:12:29

6              MR. McDONOUGH:     Objection.      Vague and     10:12:48

7     ambiguous.                                                10:12:50

8              You may answer.                                  10:12:51

9              THE WITNESS:     Can you make it more easier     10:12:55

10    for me to understand?                                     10:12:58

11    BY MR. RHOW:                                              10:12:59

12        Q    I'll try, and if you don't understand the        10:12:59

13    question, absolutely what you are doing is                10:13:03

14    appropriate.                                              10:13:05

15             Samyang USA sold goods outside of Korea;         10:13:11

16    right?                                                    10:13:14

17        A    When you say -- when you say "outside of         10:13:25

18    Korea," are you referring to third country besides        10:13:29

19    U.S.?                                                     10:13:32

20        Q    Let's use the U.S.                               10:13:33

21             Okay.   Samyang USA in 1997 sold products        10:13:36

22    in the United States.                                     10:13:40

23        A    Yes.                                             10:13:45

24        Q    And it collected U.S. dollars.                   10:13:46

25        A    Yes.                                             10:13:52

                                                                 Page 29

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1         Q    And my question was directed at who you          10:15:39

2     talked to at Samyang Korea.      So let me rephrase it.   10:15:42

3              Generally speaking, between 1985 and 1997,       10:15:44

4     you did speak with your father at Samyang Korea           10:15:51

5     about Samyang USA operations; right?                      10:15:54

6         A    Yes.                                             10:15:54

7         Q    Okay.   And your father was the primary          10:16:16

8     person at Samyang Korea you would talk to about           10:16:18

9     Samyang USA operations?                                   10:16:21

10        A    Yes.                                             10:16:25

11        Q    Going back to the topic we were on, I            10:16:34

12    think you had said that you had talked with your          10:16:40

13    father in 1997 about how the IMF crisis was               10:16:42

14    affecting Samyang USA.     Tell me about those            10:16:49

15    conversations.                                            10:16:51

16             MR. McDONOUGH:     Vague, ambiguous,             10:17:03

17    overbroad, compound, potentially calls for multiple       10:17:05

18    narratives.                                               10:17:10

19             You may answer.                                  10:17:11

20             THE WITNESS:     My father told me that the      10:17:21

21    Samyang Korea was in a very hard situation.               10:17:27

22    BY MR. RHOW:                                              10:17:34

23        Q    And how did he say that the IMF crisis was       10:17:35

24    affecting or could affect Samyang USA?                    10:17:39

25        A    Rather than talking about the effects on         10:18:04

                                                                 Page 31

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1     Samyang USA, he mostly talked about the effects on        10:18:06

2     Samyang Korea.                                            10:18:09

3         Q     Do you recall discussing with your father       10:18:13

4     the concept of separating Samyang USA from Samyang        10:18:16

5     Korea in order to avoid creditors?                        10:18:22

6         A     We discussed about something like that a        10:18:45

7     little.                                                   10:18:47

8         Q     Okay.   And do you recall discussing with       10:18:49

9     your father that by separating Samyang USA from           10:18:51

10    Samyang Korea, he could protect Samyang USA from a        10:18:56

11    potential bankruptcy?                                     10:19:01

12              MR. McDONOUGH:     The question is ambiguous.   10:19:16

13              You may answer.                                 10:19:18

14              THE WITNESS:     I think we talked about        10:19:20

15    something like that as well.                              10:19:24

16    BY MR. RHOW:                                              10:19:26

17        Q     And do you recall discussing with your          10:19:26

18    father that, by changing ownership of Samyang USA,        10:19:28

19    it would be more difficult for Samyang Korea's            10:19:36

20    creditors to attack Samyang USA?                          10:19:39

21        A     We didn't talk about anything as such           10:20:13

22    right after IMF happened.                                 10:20:16

23        Q     Did you ever talk about that?                   10:20:18

24        A     I recall it was after the happening.            10:20:23

25        Q     Sometime in 1997?                               10:20:26

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1         A       Yes, it was sometime after.                     10:20:36

2         Q       What else do you recall about the               10:20:38

3     conversations you had with your father about                10:20:40

4     separating Samyang Korea and Samyang USA?                   10:20:43

5                 MR. McDONOUGH:     Vague, ambiguous,            10:20:53

6     overbroad, potentially calls for multiple                   10:20:57

7     narratives.                                                 10:20:59

8                 You may answer.                                 10:21:00

9                 THE WITNESS:     Rather than we discuss about   10:21:02

10    something like that, because he was in urgent need          10:21:15

11    for cash, he -- or capital, rather, he asked me for         10:21:20

12    money.   He asked me to loan him the money.                 10:21:24

13    BY MR. RHOW:                                                10:21:27

14        Q       Asked you personally?                           10:21:28

15        A       Yes.                                            10:21:30

16        Q       And did you loan him money?                     10:21:32

17        A       Yes.                                            10:21:35

18        Q       How much?                                       10:21:36

19        A       At that time in U.S. currency, I loaned         10:21:48

20    him $500,000.                                               10:21:52

21        Q       Okay.   We will get to that in a second,        10:21:55

22    but when was that loan made?        Do you recall?          10:21:58

23        A       I recall it was sometime in November or         10:22:15

24    December.                                                   10:22:18

25        Q       What year?                                      10:22:18

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1               THE WITNESS:    So at that time -- the           10:43:20

2     Korean money, the 1 billion, 2 billion, 3 billion,         10:43:28

3     it had the value -- more value -- Korean money,            10:43:31

4     1 billion, 2 billion, or even 3 billion had the            10:43:36

5     equal value in the U.S. of $300 million or more.           10:43:40

6               MR. JIN:    30 million.                          10:44:04

7               THE INTERPRETER:       So interpreter would      10:44:05

8     like to stand corrected.     May the interpreter just      10:44:06

9     clarify with the witness?                                  10:44:09

10              MR. RHOW:    Please.                             10:44:10

11              THE WITNESS:    So -- so at that time, the       10:44:20

12    Korean Won going from billion, 2 billion, even up          10:44:25

13    to 3 billion won was equal to the $30 million U.S.         10:44:29

14    That's how bad the currency was, and that's how bad        10:44:36

15    the Korean crisis was.                                     10:44:39

16              Prior to this, there was a discussion            10:44:53

17    regarding entering into agreement as such with my          10:44:56

18    father, but people around me all opposed to that           10:44:59

19    idea.   So I was told that it's -- if it's about           10:45:03

20    3 billion won, then I could invest in anything in          10:45:18

21    Korea and I could make so much money later.         So I   10:45:22

22    was told not to invest in this.                            10:45:24

23              And the Samyang USA, even though the             10:45:41

24    company existed for some time, but since Russia            10:45:44

25    already entered into moratorium so it was in a bad         10:45:49

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                                  #:1988

1     condition as well.                                           10:45:53

2              So that means, even though it was                   10:45:54

3     currently running business, it didn't have any               10:45:56

4     bright vision.     So I told my father that I didn't         10:46:03

5     want do it and I wanted my money back.          I told him   10:46:07

6     that I rather use that money to invest in something          10:46:17

7     in the U.S. or invest in something in Korea because          10:46:20

8     it's my hard-earned money.                                   10:46:26

9              So I came back to the U.S. and father kept          10:46:29

10    calling me.     So no matter how much tens of millions       10:46:33

11    of dollars the Samyang Korea might have in its               10:46:49

12    assets, at the time in that circumstance, it was             10:46:54

13    just the same as a piece of paper without cash.              10:47:01

14    It's nothing.     Because my dad begged so much, I had       10:47:06

15    no choice but to do this as this.                            10:47:23

16        Q    "Do this," meaning sign Exhibit 1009?               10:47:27

17        A    Yes, correct.                                       10:47:46

18             And the reason is Samyang Korea already             10:47:47

19    set a bankruptcy date.     It was set for -- set on          10:47:50

20    January 26th, 1998.                                          10:47:59

21        Q    So by signing Exhibit 1009, you believed            10:48:02

22    that you were helping your father deal with the              10:48:06

23    bankruptcy?                                                  10:48:08

24        A    Yes.     There was some meaning to that as          10:48:23

25    well because my father was the founder.                      10:48:25

                                                                   Page 46

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                                  #:1989

1     BY MR. RHOW:                                                   11:13:56

2         Q    I'll repeat it.                                       11:13:57

3              Who else was there when you said what you             11:13:58

4     just said you said?                                            11:14:00

5         A    It was just my father.                                11:14:06

6         Q    Clearly your father.       Who else, if anyone?       11:14:07

7              MR. McDONOUGH:     Asked and answered.                11:14:12

8              THE WITNESS:     No one else.                         11:14:20

9     BY MR. RHOW:                                                   11:14:21

10        Q    Okay.    Go to Exhibit 1009.       That's the         11:14:21

11    other document.     Yeah, right there.                         11:14:27

12             So you see that Exhibit 1009 is dated                 11:14:30

13    November 29th, 1997?                                           11:14:35

14        A    Yes.                                                  11:14:44

15        Q    And if you look at Exhibit 1011, you see              11:14:45

16    your wire transfer is December 22nd, 23rd, 1997.               11:14:51

17        A    Yes.                                                  11:15:08

18        Q    Was Exhibit 1009 signed before or after               11:15:08

19    December 22nd, 1997?                                           11:15:15

20        A    You are referring to this document?                   11:15:30

21        Q    Correct.                                              11:15:32

22        A    When I signed the Samyang USA document, I             11:15:34

23    signed it together.                                            11:15:42

24        Q    I don't understand that answer.            Together   11:15:45

25    with what?                                                     11:15:46

                                                                     Page 52

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                                  #:1990

1         A    So when I signed the stock purchase               11:16:00

2     agreement, that was on January 26th, and that was          11:16:02

3     the date that was set for the bankruptcy.                  11:16:08

4         Q    Okay.   So to be clear, then, what your           11:16:10

5     testimony is -- is that, although Exhibit 1009 is          11:16:15

6     dated November 29th, 1997, it was signed in                11:16:19

7     January 1998; correct?                                     11:16:23

8         A    Yes, that's correct.                              11:16:47

9         Q    Okay.   The stock purchase agreement, I           11:16:48

10    want to make sure we have all of these documents           11:16:52

11    down.                                                      11:16:56

12             I think it's Exhibit 1016.                        11:16:57

13             (Exhibit 1016 was marked for                      11:17:00

14             identification by the reporter                    11:17:00

15             and is attached hereto.)                          11:17:15

16             MR. RHOW:    1016.                                11:17:15

17        Q    Take a look at that.       Take as much time as   11:17:27

18    you need, but the question I'm going to have is:           11:17:35

19    Is Exhibit 1016 the stock purchase agreement that          11:17:39

20    you just mentioned in your testimony?                      11:17:41

21        A    That's correct.                                   11:17:57

22        Q    You didn't sign 1016, did you?                    11:17:58

23        A    I didn't.                                         11:18:08

24        Q    Someone who we'll presumably get into             11:18:09

25    later, Choon Taik Lim signed 1016; correct?                11:18:13

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1            A    Correct.                                             11:18:27

2            Q    Did you witness him signing it?                      11:18:27

3            A    I did not, but someone else did.                     11:18:35

4            Q    I'm asking about you.                                11:18:38

5                 Did you witness him -- you did not witness           11:18:39

6     Mr. Lim signing the stock purchase agreement, which              11:18:41

7     is 1016?                                                         11:18:44

8            A    Whether I did?                                       11:18:59

9            Q    Yeah.     You didn't; right?                         11:19:01

10           A    No.     If it wasn't me, then my attorney            11:19:06

11    did.                                                             11:19:09

12           Q    By the way, who was your attorney?                   11:19:09

13           A    Must I say the name?                                 11:19:14

14           Q    Yes.                                                 11:19:16

15           A    Chi Young Kim.                                       11:19:17

16           Q    An attorney in L.A.?                                 11:19:20

17           A    Yes.                                                 11:19:22

18           Q    Okay.     Now -- by the way, who is Mr. Lim?         11:19:27

19           A    He is my CPA, as well as my agent.                   11:19:37

20           Q    Okay.     Now, put out 1009, please.       All I'm   11:19:39

21    trying to do is clarify your testimony.                          11:19:54

22                Were those signed at the same time, 1009             11:19:56

23    and 1016?                                                        11:19:58

24           A    Yes.                                                 11:20:12

25           Q    You weren't there to see the execution of            11:20:12

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1     1016.                                                      11:20:15

2         A    Which person was signing?                         11:20:25

3         Q    Yeah.                                             11:20:30

4         A    At which point -- who was signing?                11:20:32

5         Q    How do you know 1016 and 1009 were signed         11:20:38

6     on the same date?                                          11:20:41

7         A    So -- because, you know, there's a                11:21:03

8     distance between Korea and the U.S., so the person         11:21:05

9     in the U.S. signed this document first and took the        11:21:10

10    document to Korea and had my father sign it there.         11:21:13

11        Q    Okay.   When did you sign Exhibit 1009?           11:21:17

12        A    So it was either a day before January 26th        11:21:35

13    or two days before January 26th.                           11:21:38

14        Q    Okay.   And you signed in L.A. or in Korea?       11:21:41

15        A    I signed it in L.A.                               11:21:47

16        Q    Okay.   Now, the attorney -- sorry.        What   11:21:49

17    was the attorney's name again?                             11:21:54

18        A    Chi Young Kim.                                    11:22:00

19        Q    Mr. or Mrs.?                                      11:22:01

20        A    Mr.                                               11:22:03

21        Q    Mr. Kim.    Let's call him "Mr. Kim, the          11:22:03

22    attorney."                                                 11:22:07

23             Did Mr. Kim, the attorney, assist you in          11:22:08

24    drafting 1016?                                             11:22:11

25        A    Yes.                                              11:22:22

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1         Q    Did Mr. Kim, the attorney, assist you in           11:22:23

2     drafting 1009?                                              11:22:25

3              THE INTERPRETER:        Interpreter's              11:22:27

4     correction.                                                 11:22:29

5              THE WITNESS:     Yes.     Yes.                     11:22:31

6     BY MR. RHOW:                                                11:22:37

7         Q    And do you know where or why a date of             11:22:37

8     November 29th, 1997, is listed in Exhibit 1009?             11:22:41

9              MR. McDONOUGH:     Lacks foundation, calls         11:22:57

10    for speculation.                                            11:22:59

11             You may answer.                                    11:22:59

12             THE WITNESS:     I don't recall for sure.          11:23:00

13    BY MR. RHOW:                                                11:23:11

14        Q    Do you know if that was done on purpose?           11:23:11

15             MR. McDONOUGH:     Same objections.                11:23:15

16             THE WITNESS:     You know, after the IMF, I        11:23:17

17    spoke to my father a lot.        So I don't really recall   11:23:36

18    much, but if it was done on purpose, then it should         11:23:39

19    have been fixed before taking it to him.                    11:23:45

20    BY MR. RHOW:                                                11:23:45

21        Q    So you believe that this November 29th,            11:23:48

22    1997, date was requested by your father?                    11:23:50

23        A    I don't recall even as to that, but I know         11:24:09

24    those were signed on the same day.                          11:24:10

25             My father and I, we did not think that             11:24:16

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1     those dates were important.      Signing the document     11:24:19

2     was more important.                                       11:24:23

3         Q    Very clear.    Very clear.                       11:24:24

4         A    Yes.                                             11:24:27

5         Q    Thank you.                                       11:24:28

6              Exhibit 1009 and Exhibit 1016, were those        11:24:29

7     documents related in some way?                            11:24:39

8              MR. McDONOUGH:     Vague and ambiguous as to     11:24:51

9     "related."                                                11:24:52

10             You may answer.                                  11:24:53

11             THE WITNESS:     What do you mean by             11:24:55

12    "related"?                                                11:25:03

13    BY MR. RHOW:                                              11:25:03

14        Q    Was there a reason why those two documents       11:25:04

15    were being signed on or about the same day?               11:25:07

16        A    When I enter into an agreement, these two        11:25:24

17    were regarded as the same package.                        11:25:26

18        Q    It was part of the same overall deal.            11:25:29

19        A    Because only having the stocks does not          11:25:35

20    allow you to sell the ramen.      That's why these two    11:25:42

21    were entered into together.                               11:25:44

22        Q    Okay.   So whoever would own the company         11:25:46

23    under 1016 needed to be able to sell the ramen            11:25:50

24    under 1009; right?                                        11:25:53

25        A    That's correct.                                  11:26:06

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1         Q     Okay.   Perfect.                                 11:26:06

2               The effect of 1016 was to move ownership         11:26:08

3     of Samyang USA from Samyang Korea to a third party;        11:26:14

4     right?                                                     11:26:14

5         A     Yes.                                             11:26:14

6         Q     Okay.   And the timing of 1016 and 1009 was      11:26:33

7     specifically designed to come before the bankruptcy        11:26:40

8     of Samyang Korea that you were told about in Korea?        11:26:47

9         A     That's what my father desired.                   11:27:04

10        Q     Okay.   What was the bankruptcy in Korea,        11:27:07

11    that your father explained to you, going to entail?        11:27:12

12        A     I don't think my father actually knew much       11:27:32

13    either.   He really didn't feel it much in the             11:27:34

14    beginning.   You know, founders, they are very             11:27:41

15    stubborn, as you know.                                     11:27:47

16              So after I came back to the U.S., and as I       11:28:01

17    was talking on the phone with him, I told him that         11:28:04

18    I don't need this.    I just want my money back, but       11:28:07

19    he said that he didn't have the money to pay me            11:28:11

20    back and he offered me.                                    11:28:12

21              So we were just going -- you know, doing         11:28:21

22    the talk work, going back and forth and back and           11:28:24

23    forth, and then the three days -- three days before        11:28:29

24    the bankruptcy, we agreed to drop this.                    11:28:35

25              MR. McDONOUGH:     Wait.   This might help us.   11:28:39

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1               MR. RHOW:   This is going to end up being a      11:34:39

2     comedy routine.    Let me go back and reask it.            11:34:41

3         Q     Using the January 25th, 1998, date on            11:34:49

4     Exhibit 1016, do you know if the 3 billion won was         11:34:56

5     wired before or after that date?                           11:35:08

6         A     So after it arrived, the document was            11:35:24

7     signed.                                                    11:35:28

8         Q     After the wire arrived, the document was         11:35:29

9     signed?                                                    11:35:32

10        A     That's correct.                                  11:35:38

11        Q     Okay.   So the 3 billion won must have been      11:35:38

12    wired at some point in January 1998; correct?              11:35:41

13        A     So it was the 1 billion won that I already       11:36:06

14    loaned to my father prior to that.         So that 30 --   11:36:12

15    3 billion was including that 1 billion won I               11:36:18

16    already loaned to him.                                     11:36:22

17        Q     So the 2 billion won was wired to Samyang        11:36:24

18    Korea at some point in January 1998.                       11:36:26

19        A     Right, the rest of the money.                    11:36:40

20        Q     Okay.   And that was wired from one of your      11:36:42

21    personal accounts?                                         11:36:45

22        A     Yes.                                             11:36:49

23        Q     And do you have a copy of the wire transfer 11:36:50

24    for that 2 billion won?                                    11:36:54

25        A     Yes.                                             11:37:02

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1     January 25th, 1998?                                       11:39:29

2         A       It was Mr. Choon Taik Lim, the signer.        11:39:43

3         Q       So he was the 100 percent owner?              11:39:48

4         A       Yes.                                          11:39:51

5         Q       Given that Mr. Calypco -- strike that.        11:39:52

6                 Given that Mr. -- this is going to be         11:39:58

7     funny -- given that Mr. Lim was the owner of              11:40:00

8     Calypco, why did you, instead of Calypco, wire the        11:40:04

9     $2 billion in January 1998?                               11:40:11

10        A       That's because that's what my father          11:40:30

11    wanted me to do.                                          11:40:32

12        Q       Did he explain why he wanted Calypco to be    11:40:34

13    the buyer instead of you?                                 11:40:39

14        A       He told me not to do it under my name.        11:40:50

15        Q       Did he explain why?                           11:40:53

16        A       I don't know whether it was related to the    11:41:14

17    bankruptcy or maybe it was because, you know, we          11:41:16

18    are the same family, the father and the daughter.         11:41:20

19    I don't know as to that, but he just told me to           11:41:22

20    have someone else do it.                                  11:41:24

21        Q       Okay.   Anything else he say in connection    11:41:27

22    with that subject?                                        11:41:31

23        A       So at that time, he told me to hurry and      11:41:43

24    bring the document before the company goes                11:41:47

25    bankrupt.     He was quite rushing.                       11:41:49

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1     know, everything was done by my attorney.                 11:50:17

2              So to be honest with you, I don't recall         11:50:20

3     much.                                                     11:50:23

4         Q    And that's fair.                                 11:50:23

5              Do you recall discussing with your father        11:50:24

6     in January 1998 that after the purchase of Samyang        11:50:26

7     USA by Calypco, that at a date later, you would           11:50:33

8     then purchase the shares of Calypco?                      11:50:38

9         A    Yes.                                             11:50:59

10        Q    Okay.   And so is Exhibit 1021 the document      11:51:00

11    that was part of the original discussion you had          11:51:10

12    with your father in January 1998?                         11:51:12

13        A    Yes.                                             11:51:35

14             MR. McDONOUGH:     Vague and ambiguous.          11:51:35

15             Remember to allow me to object.                  11:51:37

16             THE WITNESS:     Yes.                            11:51:40

17    BY MR. RHOW:                                              11:51:41

18        Q    And you understood that, by delaying your        11:51:42

19    purchase of Calypco shares, your father could             11:51:50

20    conceal your involvement in the purchase of Samyang       11:51:54

21    USA; correct?                                             11:52:01

22             MR. McDONOUGH:     Argumentative as to           11:52:23

23    "conceal," lacks foundation, calls for speculation.       11:52:26

24             You may answer.                                  11:52:27

25             THE WITNESS:     I don't know as to that.        11:52:38

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1     BY MR. RHOW:                                              11:52:39

2         Q    If you look at Exhibit 1021, under               11:53:34

3     Article 1 -- and let me just -- I'll read it and          11:53:38

4     then you can translate it -- what it says is the          11:53:43

5     corporation, which is Calypco, owns all the               11:53:46

6     outstanding shares of itself, I guess, and that           11:53:50

7     you, Chun, Ms. Chun, loaned 1.875 -- I assume             11:53:56

8     that's a typo -- $1.875 million to the corporation        11:54:05

9     under a promissory note dated December 31st, 1997.        11:54:10

10             Is that sentence true?                           11:54:13

11        A    This, as the other ones, it was created by       11:55:12

12    my attorney.                                              11:55:16

13        Q    Not my question.                                 11:55:17

14             My question is:     Is it true that you, in      11:55:18

15    fact, loaned $1.875 million to Calypco sometime           11:55:23

16    before December 31st, 1997?                               11:55:31

17        A    I don't recall as far as this goes.              11:56:02

18        Q    Okay.   Leave the document to the side.          11:56:05

19             I'm going to ask you:       Do you recall        11:56:07

20    providing to Calypco at any time $1.875 million?          11:56:11

21        A    When the wire transfer was done, that's          11:56:33

22    when I loaned the money.                                  11:56:37

23        Q    So you recall loaning -- my question is          11:56:39

24    pretty precise, Ms. Chun.     This is a "yes" or "no."    11:56:42

25             Do you recall loaning $1.875 million to          11:56:47

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1     Calypco at any time?                                         11:56:52

2         A    I don't quite recall.                               11:57:14

3         Q    Okay.   Exhibit 1021, do you know why it            11:57:29

4     was prepared?                                                11:57:32

5         A    Since everything was done by my attorney,           11:57:47

6     I don't really know.                                         11:57:49

7         Q    Do you know -- and that attorney is                 11:57:50

8     Mr. Kim, the attorney?                                       11:57:53

9         A    Yes.                                                11:57:58

10        Q    Is he still around?                                 11:57:59

11             MR. McDONOUGH:     Vague as to "around."            11:58:03

12             MR. RHOW:     Yeah, it is vague.                    11:58:06

13             THE WITNESS:     You know, I haven't -- I           11:58:09

14    haven't really reached out to him recently and he's          11:58:17

15    at an old age so I don't know whether he's still             11:58:21

16    practicing or not.                                           11:58:23

17    BY MR. RHOW:                                                 11:58:24

18        Q    Is there a way for you to reach him?                11:58:25

19        A    If you like me to, I'll try.                        11:58:38

20        Q    Not that.     Do you have his phone number?         11:58:39

21        A    I don't have it with me.                            11:58:45

22        Q    Okay.   Do you know if Exhibit 1021 was             11:58:46

23    signed on December 16th, 1998, or a different date?          11:58:53

24        A    I do not recall.                                    11:59:17

25             MR. RHOW:     Let's look at 1014-E.        Sorry.   11:59:20

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1               You view Exhibits 1009 and 1016 as part of      12:04:49

2     the overall agreement you had with your father back       12:04:53

3     in January 1998; right?                                   12:04:56

4         A     Yes.                                            12:05:10

5         Q     Okay.   The loan you made to Calypco, was       12:05:11

6     that part of the overall agreement you had with           12:05:14

7     your father?                                              12:05:15

8         A     What do you mean by that?                       12:05:28

9         Q     Look, the -- you indicated just now that        12:05:31

10    you wired 1-million-some-odd dollars to Calypco a         12:05:33

11    couple of days before Exhibits 1009 and 1016 were         12:05:39

12    signed.                                                   12:05:44

13              Translate that.                                 12:05:46

14              Was your wire -- no question.                   12:06:11

15              Was your wire to Calypco related to your        12:06:12

16    overall agreement with your father?                       12:06:15

17              MR. McDONOUGH:     Vague as to "related to."    12:06:27

18              You may answer.                                 12:06:30

19              THE WITNESS:     So it wasn't sent from         12:06:31

20    Calypco, but from Calypco, it was sent to Samyang         12:06:42

21    Korea.                                                    12:06:47

22    BY MR. RHOW:                                              12:06:48

23        Q     That's not my question.                         12:06:48

24        A     I do not understand your question.              12:06:51

25        Q     Okay.   Let me ask it a different way.          12:06:56

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1                Did your father request that you provide a     12:06:57

2     loan to Calypco?                                          12:06:59

3         A      No.     He just straight out said that we      12:07:17

4     should enter into an agreement with another person        12:07:23

5     and then later change the name on that agreement.         12:07:26

6         Q      Change the name to you?                        12:07:30

7         A      Later, yes.      Yes.                          12:07:33

8         Q      Later -- he said that the name would later     12:07:37

9     be changed to you; right?                                 12:07:40

10        A      He told me not to do that then.                12:07:50

11        Q      But later to do that?                          12:07:53

12        A      Yes.                                           12:07:57

13        Q      And you agreed?                                12:07:58

14        A      Yes.                                           12:08:01

15        Q      Okay.     And that's the deal that we see in   12:08:01

16    Exhibits 1009 and 1016; right?                            12:08:06

17        A      Yes.                                           12:08:15

18        Q      Okay.     And so we still have not got an      12:08:26

19    answer on my Calypco question.                            12:08:30

20               Who requested that you make the loan to        12:08:32

21    Calypco?                                                  12:08:34

22        A      That was done because Calypco had to send      12:08:45

23    the money to Samyang Korea.                               12:08:54

24        Q      Not my question.                               12:08:56

25               Who?     Who?   Who requested that you make    12:08:57

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1            A   -- more specific?                                  12:37:03

2            Q   It's fair.                                         12:37:05

3                In 1998, after January of that year, did           12:37:05

4     the operations of Samyang USA change in terms of              12:37:09

5     how it was manufacturing its products and how it              12:37:15

6     was reporting back to Samyang Korea?                          12:37:20

7                MR. McDONOUGH:     Objection.     Compound.        12:37:50

8     It's asking two different questions.                          12:37:52

9                You may answer.                                    12:37:54

10               THE WITNESS:     I don't think there was much      12:37:57

11    at that time.                                                 12:38:02

12    BY MR. RHOW:                                                  12:38:02

13           Q   Okay.   After January 1998, Samyang USA            12:38:03

14    continued to report on its operations to Samyang              12:38:06

15    Korea; correct?                                               12:38:10

16           A   We sent fax.                                       12:38:25

17           Q   That's what you had done before January            12:38:26

18    1998, and you continued that practice after January           12:38:29

19    1998?                                                         12:38:32

20           A   On -- on the -- in terms of the duty, yes.         12:38:41

21           Q   And after January 1998, did your father            12:38:47

22    continue to have ultimate authority over Samyang              12:38:50

23    USA?                                                          12:38:53

24               MR. McDONOUGH:     Overbroad as to time.      16   12:39:01

25    years.                                                        12:39:03

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1                You may answer.                                12:39:03

2                THE WITNESS:     Can you repeat that again?    12:39:10

3     BY MR. RHOW:                                              12:39:13

4            Q   Sure.                                          12:39:13

5                After January 1998, did your father            12:39:13

6     continue to have ultimate authority over Samyang          12:39:17

7     USA?                                                      12:39:21

8                MR. McDONOUGH:     Same objection.             12:39:31

9                THE WITNESS:     Things were similar whether   12:39:33

10    before or after.                                          12:39:38

11    BY MR. RHOW:                                              12:39:39

12           Q   So in terms of your father's authority,        12:39:39

13    that didn't change?                                       12:39:42

14           A   Correct.                                       12:39:48

15           Q   Do you know who the owners were of Calypco     12:39:49

16    prior to you becoming the owner of Calypco --             12:40:09

17    strike that.                                              12:40:17

18               Do you know who the owners were of Calypco     12:40:18

19    at any time?                                              12:40:23

20           A   I do not know for sure.                        12:40:31

21           Q   Did you ever own Calypco or any part of it? 12:40:34

22           A   I do not recall.                               12:40:47

23           Q   Do you know who Angela Lim is as it            12:40:48

24    relates to Calypco?                                       12:40:53

25           A   I do not know.                                 12:41:01

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1     through 1832.                                             12:54:21

2              (Exhibit 1031 was marked for                     12:54:22

3              identification by the reporter                   12:54:22

4              and is attached hereto.)                         12:55:20

5     BY MR. RHOW:                                              12:55:20

6         Q    And you received Exhibit 1031 from your          12:55:20

7     father; correct?                                          12:55:22

8         A    Yes.                                             12:55:25

9         Q    And then let's go to 1032.                       12:55:28

10             1032 is a document Bates numbered Samyang        12:55:47

11    3304 through 3306.                                        12:55:59

12             (Exhibit 1032 was marked for                     12:56:02

13             identification by the reporter                   12:56:02

14             and is attached hereto.)                         12:56:12

15    BY MR. RHOW:                                              12:56:12

16        Q    And is Exhibit 1032 the response that you        12:56:23

17    sent to your father to Exhibit 1031?                      12:56:28

18        A    Yes.                                             12:56:39

19        Q    Other than Exhibit 1032, did you also talk       12:56:40

20    to your father about what he had written in 1031?         12:56:44

21        A    Yes.                                             12:56:59

22        Q    And what was discussed?                          12:56:59

23        A    We discussed about his signature.                12:57:11

24        Q    What about his signature?                        12:57:15

25        A    We discussed about the signature because         12:57:29

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1     only, or are you referring to the fax?                     01:10:08

2         Q       I actually don't know what you mean by         01:10:12

3     that.     My only question -- forget the documents.        01:10:14

4                 I'm just asking:    Did Samyang USA ever sue   01:10:17

5     Samyang Korea to stop sales by Samyang Korea in            01:10:23

6     Canada after April 20th, 2001?         "Yes" or "no"?      01:10:27

7     It's just a "yes" or "no."                                 01:10:57

8         A       I do not know for sure.       I do not         01:11:00

9     understand that question.                                  01:11:04

10        Q       That's fine.                                   01:11:05

11                After April 20th, 2001, were you aware         01:11:08

12    that Samyang Korea was distributing products in            01:11:11

13    Canada?                                                    01:11:15

14        A       I was contacted regarding that.                01:11:26

15        Q       Okay.   And so after you became aware that     01:11:27

16    Samyang Korea was selling in Canada, Samyang USA           01:11:31

17    did not then file a lawsuit to stop that; correct?         01:11:38

18        A       My father asked me.                            01:11:54

19        Q       Not to do that?                                01:11:57

20        A       That just to let go of the -- that for         01:12:02

21    that time.                                                 01:12:05

22        Q       And you did.                                   01:12:05

23        A       Because he's my father.                        01:12:07

24        Q       So the answer is "yes, because he's my         01:12:12

25    father"?                                                   01:12:17

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                                  #:2007

1             LOS ANGELES, CALIFORNIA, MAY 10, 2017

2                            2:18 P.M.

3                               -o0o-

4

5                         MUN-KYUNG CHUN,

6       the witness, having been previously administered

7       an oath in accordance with CCP Section 2094,

8       testified as follows:

9                                                                  02:18:33

10              VIDEO OPERATOR:    The time is 2:18.      We are   02:18:33

11    back on the record.                                          02:18:35

12                                                                 02:18:35

13                          EXAMINATION                            02:18:35

14                                                                 02:18:38

15    BY MR. RHOW:                                                 02:18:38

16        Q     Ms. Chun, good afternoon.                          02:18:38

17        A     Yes, good afternoon.                               02:18:39

18        Q     We were on Exhibit 1032, and why don't we          02:18:42

19    take a quick look at that.                                   02:18:54

20              Now, this was a letter that your attorney          02:18:57

21    prepared for you?                                            02:18:59

22        A     Yes.                                               02:19:05

23        Q     And this was Mr. Kim, the attorney?                02:19:05

24        A     No.                                                02:19:11

25        Q     Who prepared the letter for you?                   02:19:11

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1         A      An attorney.                                   02:19:17

2         Q      What was the name of the attorney?             02:19:18

3         A      Michael Suh.                                   02:19:23

4         Q      The second page of the document, if you        02:19:26

5     see the second paragraph, it requests that Samyang        02:19:36

6     Korea stop shipping products to Canada.                   02:19:43

7                Do you see that?                               02:19:45

8         A      Yes.                                           02:19:54

9         Q      After April 20th, 2001, when did you           02:19:55

10    become aware that Samyang Korea was still shipping        02:19:59

11    goods to Canada?                                          02:20:02

12        A      It was after I received the fax.               02:20:17

13        Q      Do you recall in what year that was?           02:20:20

14        A      I think it was the beginning part of 2000.     02:20:35

15        Q      Okay.   So my question is:       After April   02:20:41

16    2001 -- so I'm later.     Okay -- were you aware that     02:20:47

17    Samyang Korea was still selling products in Canada?       02:20:53

18        A      Yes.                                           02:21:10

19        Q      And were you aware that Samyang Korea was      02:21:11

20    selling products in Canada from 2001 up until the         02:21:14

21    present?                                                  02:21:18

22        A      Yes.                                           02:21:27

23        Q      Okay.   You mentioned a couple of seconds      02:21:28

24    ago that you did first learn in 2000 that Samyang         02:21:31

25    Korea was shipping goods to Canada; correct?              02:21:38

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1         Q    Oh, okay.                                        02:23:41

2              But at some point prior to April 20th,           02:23:42

3     2001?                                                     02:23:45

4         A    It could have been prior to this or after        02:23:53

5     that.                                                     02:23:55

6         Q    Okay.                                            02:23:56

7         A    Anyway, I saw it.                                02:23:57

8         Q    Around that time frame?                          02:23:59

9         A    Yes.                                             02:24:05

10        Q    Now, I'm going to state the obvious, but         02:24:17

11    you know that Samyang USA filed a lawsuit against         02:24:19

12    Samyang Korea.   That's why we're here.                   02:24:22

13        A    Yes.                                             02:24:30

14        Q    Okay.   And that lawsuit was filed around        02:24:31

15    September 2015; correct?                                  02:24:33

16        A    Yes.                                             02:24:43

17        Q    And so prior to the September 2015               02:24:43

18    lawsuit, has Samyang USA ever filed any other             02:24:46

19    lawsuits against Samyang Korea?                           02:24:49

20        A    No.                                              02:25:04

21        Q    Okay.   All right.     Do you know a company     02:25:05

22    called Roypac?                                            02:25:21

23        A    Yes.                                             02:25:24

24        Q    And what is Roypac?                              02:25:26

25        A    Roypac is a company that sells imported          02:25:32

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1     goods.                                                    02:25:42

2            Q   Okay.     Do you own Roypac?                   02:25:43

3            A   No.                                            02:25:49

4            Q   Who owns Roypac?                               02:25:49

5            A   It's owned by Samyang USA.                     02:25:56

6            Q   100 percent of Roypac is owned by Samyang      02:25:58

7     USA?                                                      02:26:01

8            A   Yes.                                           02:26:04

9            Q   How long has Samyang USA owned Roypac?         02:26:05

10           A   It's been more than 20 years.                  02:26:24

11           Q   Who formed Roypac?                             02:26:26

12               MR. McDONOUGH:     Vague and ambiguous.        02:26:35

13               You may answer.                                02:26:40

14               THE WITNESS:     A person who formed it?       02:26:46

15    BY MR. RHOW:                                              02:26:49

16           Q   Yeah.                                          02:26:49

17               Who made the decision to form Roypac?          02:26:49

18           A   In the very beginning?                         02:26:57

19           Q   Correct.                                       02:26:59

20           A   Myself.                                        02:26:59

21           Q   Oh, you did.     Okay.                         02:27:00

22               Let's look at Exhibit 1005.                    02:27:02

23               (Exhibit 1005 was marked for                   02:27:04

24               identification by the reporter                 02:27:04

25               and is attached hereto.)                       02:27:17

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1     ownership in Roypac?      Do you know the year?           02:33:21

2         A     I recall that it was in 1991.                   02:33:30

3         Q     Not 2001?                                       02:33:42

4         A     So that was for the d/b/a SC, which sold        02:33:52

5     ramen.                                                    02:33:59

6         Q     The reason I think 1991 could be wrong --       02:34:00

7     I'm not saying it is wrong, but the DSA is                02:34:04

8     Exhibit 2 -- 1009, is dated 1997.                         02:34:10

9               Did Samyang USA become the owner of Roypac      02:34:23

10    before or after Exhibit 1009?                             02:34:25

11              THE INTERPRETER:      1009?                     02:34:29

12              MR. RHOW:     Yeah.                             02:34:31

13              THE WITNESS:     Does he mention Roypac?        02:34:56

14    BY MR. RHOW:                                              02:34:56

15        Q     No, no, no.     I'm trying to trigger your      02:34:57

16    memory.                                                   02:34:59

17              So Roypac is formed in 1988; right?             02:35:01

18        A     Yes.                                            02:35:08

19        Q     At the beginning, you own it?                   02:35:09

20        A     Yes.                                            02:35:12

21        Q     Okay.   At some point, Samyang USA becomes      02:35:12

22    the owner of Roypac?                                      02:35:15

23        A     Yes.                                            02:35:21

24        Q     Okay.   And is that in 1991 or later?           02:35:22

25        A     It was in 1991.                                 02:35:29

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1         Q      Okay.   So in 1991, then, Samyang USA was      02:35:32

2     still owned by Samyang Korea; correct?                    02:35:36

3         A      Yes.                                           02:35:46

4         Q      Okay.   So at some point, Roypac is            02:35:47

5     designated as the agent for Samyang USA under the         02:35:59

6     distribution and sales agreement, which is 1009;          02:36:06

7     correct?                                                  02:36:06

8         A      In what year was that?                         02:36:31

9         Q      In 2001; is that right?      Does that sound   02:36:33

10    right?                                                    02:36:38

11        A      Yes, 2001 is correct.                          02:36:39

12        Q      Okay.   Why was Roypac designated as           02:36:40

13    Samyang USA's agent under the distribution and            02:36:44

14    sales agreement?                                          02:36:48

15        A      So the Roypac's d/b/a SC began in 2001.        02:37:08

16        Q      Yeah.                                          02:37:16

17               So my question is:    What was the business    02:37:16

18    reason for appointing Roypac through its d/b/a SCCC       02:37:18

19    as the agent under the distribution and sales             02:37:25

20    agreement?                                                02:37:30

21        A      Samyang USA has imported goods as well as      02:37:59

22    domestic goods.     So to separate them and to            02:38:03

23    distinguish them, that's what I did.                      02:38:07

24        Q      Okay.   So let me try to break that down.      02:38:10

25               Samyang USA was selling, you said,             02:38:14

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1     imported and domestic goods.      What are the imported   02:38:17

2     goods?    What are the domestic goods?                    02:38:22

3           A    So domestic goods were the locally             02:38:46

4     manufactured goods, and the imported goods were the       02:38:48

5     goods imported from Samyang Korea.                        02:38:51

6           Q    Okay.   Why was it important to assign to      02:38:59

7     Roypac responsibilities for the imported goods as         02:39:17

8     opposed to keeping it at Samyang USA?                     02:39:23

9           A    Some years ago, we were audited by IRS.        02:39:51

10    They audited us on domestic and imported goods.           02:40:03

11    They spent almost a year on imported goods, and we        02:40:08

12    received an audit almost four times.                      02:40:15

13               Since that causes them to look at the          02:40:29

14    domestic products at the same time and it gets            02:40:33

15    exposed too many times, so we decided to separate         02:40:39

16    it.                                                       02:40:42

17          Q    Was this a recommendation that was made by     02:40:43

18    Michael Suh?                                              02:40:50

19          A    Yes.                                           02:40:51

20          Q    Okay.   When you say "we got audited," you     02:40:58

21    meant Samyang USA had got audited; correct?               02:41:01

22          A    At that time, it was Samyang USA.              02:41:09

23          Q    Did Roypac also get audited later?             02:41:09

24          A    No, it was never audited.                      02:41:23

25          Q    Okay.   All right.   Going back in time a      02:41:24

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1              (Exhibit 1112 was marked for                     03:00:46

2              identification by the reporter                   03:00:46

3              and is attached hereto.)                         03:01:12

4              MR. McDONOUGH:    Do you intend to have this     03:01:12

5     declaration attached?                                     03:01:14

6              MR. RHOW:    It's the --                         03:01:16

7              MR. McDONOUGH:    The 1029?                      03:01:17

8              MR. RHOW:    Isn't it the translated --          03:01:17

9              MR. McDONOUGH:    It is.      Okay.              03:01:20

10             MR. RHOW:    So let's do 1112.                   03:01:27

11        Q    My only question is:       Do you recall         03:02:00

12    receiving Exhibit 1112 in October 2012?                   03:02:02

13        A    Yes.                                             03:02:34

14        Q    Okay.   And prior to October 2012, had you       03:02:35

15    given notice to Samyang Korea of Roypac's                 03:02:46

16    involvement in the distribution?                          03:02:50

17        A    Regarding what?                                  03:03:22

18        Q    Regarding anything.                              03:03:23

19             Did you give any sort of written notice to       03:03:25

20    Samyang Korea about Roypac's involvement with the         03:03:28

21    distribution?                                             03:03:31

22        A    I do not recall too well.                        03:03:45

23        Q    Okay.   As of January 1998, Samyang USA          03:03:47

24    owned a factory in Los Angeles; correct?                  03:04:16

25        A    Yes.                                             03:04:28

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1         Q     The period of time I want actually is --        04:22:19

2     yeah -- 2004 until 2015.                                  04:22:22

3               Okay.    So during that time frame, just        04:22:27

4     tell me the folks who were involved or responsible        04:22:32

5     for distribution of Samyang products in the North         04:22:36

6     American market.                                          04:22:42

7         A     So from Samyang USA, the one who was in         04:23:00

8     charge of North American market was David.                04:23:19

9         Q     Okay.                                           04:23:23

10        A     And from Roypac, the one who was in charge      04:23:24

11    of North American market was Woon Bae Yeo and             04:23:26

12    SY Lee.   They're about it.                               04:23:30

13        Q     When was David employed by Samyang USA?         04:23:34

14        A     I recall that it was the early 2000.            04:23:49

15    Early 2000.                                               04:23:55

16        Q     From 2000 to approximately when?                04:23:56

17        A     Until 2008.                                     04:24:11

18        Q     And SY Lee and WB, they are still your          04:24:16

19    employees?                                                04:24:20

20        A     They are working at Roypac.                     04:24:25

21        Q     Okay.    And so they have been -- for the       04:24:27

22    entire period from 2004 to 2015, they were                04:24:31

23    responsible for the North American market for             04:24:34

24    Roypac?                                                   04:24:37

25        A     Yes.                                            04:24:47

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1     STATE OF CALIFORNIA           )
2     COUNTY OF LOS ANGELES         )
3
4        I, RICKI Q. MELTON, CSR No. 9400, RPR No. 45429,
      do hereby certify:
5
         That the foregoing deposition testimony of
6     MUN-KYUNG CHUN was taken before me at the time and
      place therein set forth, at which time the witness
7     was placed under oath and was sworn by me to tell
      the truth, the whole truth, and nothing but the
8     truth;
9       That the testimony of the witness and all objections
      made by counsel at the time of the examination were
10    recorded stenographically by me and were thereafter
      transcribed under my direction and supervision, and
11    that the foregoing pages contain a full, true, and
      accurate record of all proceedings and testimony to
12    the best of my skill and ability.
13       I further certify that I am neither counsel for
      any party to said action nor am I related to any
14    party to said action, nor am I in any way
      interested in the outcome thereof.
15
16
17       IN WITNESS WHEREOF, I have subscribed my name
      this 20th day of May, 2017.
18
19
20
21
22
23                  <%Signature%>
24                  RICKI Q. MELTON, C.S.R. No. 9400
25

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                          EXHIBIT 5
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                                           #:2018

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                                           DTSTRffiUTfON AND SA.LES AGREEMENT



                       11-IIS AGREEMENT is made and entered into as of November 29, 1997, by and between
               _SAMYANG FOODS CO., LTD., a Korean corporation which has its priilcipal place of business at 82- ...... .
               9 Hawolgok 1-dong, Sungbuk-ku, Seoul, Korea ("SAMYANG KOREA") and SAMYANG U.S.A
               IN"C., a California corporation, wliich has its principal place of business at 1935 Via Arado Ranch~
               Dominguez, CA 90220 ("SAMYANG U.S.A").                                                       ,


                                                             .RECITALS

                      A SAMYANG KOREA manufactures and sells food items including instant noodles under
              various brand names. SAMYANG U.S.A has marketed SAMYANG KOREA'S products and has
              manufactured its own instant noodles. SAMY ANG KOREA has provided technology, equipment and
              raw materials to SAMYANG U.S.A for th_e latter's manufacturing in the United States.

                        B. The two companies desire to memorialize their relationship and their way of conducting
              business to ensure continuity of their mutually beneficial business relationship.




                                                          AGREEMENTS

                     NOW, TIIBREFORE, in consideratim:i of tlie agreements, provisions, promises and covenants
             herein set forth, SAMYANG KOREA and SAMY ANG U.S.A agree as follow:


                    1. DISTRIBUTORSHIP.

                     SAMYANG KOREA he_reby appoints SAMYANG U.S.A its exclusive distributor of all of
              SAMYANG KOREA'S products currently marketed or to be marketed in the future (the "Products")
             in North America including the United States, Canada and Mexico (the "Territories") and SAMYANG
             US.A hereby accepts such appointment from SAMYANG KOREA. The "Products" shall include all
             finished goods, raw materials, accessories and condiments that may go with such products.
             SAMYANG KOREA shall make all of its technology, equipment and process related to the Products
             currently in use or to be used in the future to SAMY ANG U.S.A. SAMY ANG KOREA shall provide
             technical and personal assistance relating to the Products if SAMYANG U.S.A requests. SAMYANG
                                                                                           any·:·onhe
         · ··i<i5iiliA ::§ha.Ji not a°p1)iifITi- iny· o1iie:r _exc1u·sive··&sfriliuforship ·or grant rights: gniritea ·to"
             SAMYANG US.A hereunder in the Territories. SAMYANG KOREA shall not directly or indirectly
             manufacture or sell any of the Products into the Territories except through SAMYANG US.A ·

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                                                                                EXHIBIT
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• 0




                      2. PURCHASE.

                              SAMY ANG KOREA shall sell to SAMYANG U.S.A. the Products at the price and
      ...... on tenns__ and conditions most favorable to the largest _distributor. It. is the intention _of the _parti~sih<!.t ...
            the prices to be charged to SAMYANG U.S.A. and the tenns for the payments shall be maintained at
            the current levels except that SAMYANG KOR.EA may adjust the price to reflect the fluctuations of
            the costs of manufacturing or purchasing by SAMY ANG KOREA. SAMYANG KOREA shall not
            arbitrarily increase the prices of the Products it charges to SAMYANG U.S.A. or change the payment
           tenns. SAMYANG KOREA shall use its best efforts to fill the orders from SAMYANG U.S.A. and
           ship the Products in accordance with the schedule specified in the purchase orders.

                  3. INTELLECTIJAL .P ROPERTY

                SAMYANG KOREA hereby ·grants an irrevocable license to SAMYANG U.S.A the
        rights to use all of SAMY ANG KOREA'S trademarks, trade names, brand names, trade dresses,
        logos, designs, packaging and copyrights pertaining to the Products currently in use or to be used
        in the future (the "Intellectual Property Rights") wit_h out charges. SAMYANG KOREA shall
        assign SAMYf'.NG U.S.A any and all Intellectual Property Rights registered in the United States
        or any states authorities in the U.S. including, but not limited to, ti:adernark registration for the
        name and logo of"Samyang."

                 4.       TERM

              The initial tenn of the distributorship hereunder shall be 50 years.                    The term shall be
       automatically renewed for another 50 years thereafter.

                5. Mscellaneous Provisions.

                (a) Notices.

             No notice document or communication to be given hereunder to any party shall be effective for
       any purpose u~ess personally delivered ·to the person at the appropriate address set forth in the
       beginning or ~hen delivered by mail, _sent by registered or certified mail, postage prepaid, addressed to
       the recipient's address set forth above.

              (b) Construction.

         . This -Agr~.:rii;;rif~1{airbe-ici~stfu~a ii"i i h6Je "iri ·accofdaiit;~:·. wiih frs fair mearnng;:'.ff1e ·:~ptio~s
      being for the convenience of the parties only and not intended to describe or define the prov1s1_ons m
      the portions of the Agreement to which they pertain.

                                                                 2




                                                                                                                 SY001399
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,                                                   #:2020
                                                                                                                                    ···•·   . .



    .   ..
                                    (c) Attom·eys' Fees.

                                 I11 .the event of.any cont.rn\iersy,daim or di·spute benveen the parties ari.s.ing .out ofor relating Jo
                                                                                                                                       to
                           this Agteemen ~ or the enfor~eineiJt of th~ provisions hereof, the ·pr~v\liling party shall · be entitled
                                                                                                                                       in
                           recover its costs and expenses, :including, but not limited to, reasonabfe attorneys' fees · incurred
                           connection .therewith:

                                   · (d) Severability.

                                      If any term; provision, covenant                               or condition of this Agreement is hel.d by a court of competent
                          jµrisdiction to be invaUd~ void . or ·unenforceable, the remainder of the prov.isforis ·shall remain in full
                          force and effect and shall in no way be affected, impaired or invalidated.

                                    (e) Governing La~.

                                This.:Agree menf is to be governed by, interpreted under, and con;trued_in a.c cordance with ·the
                          laws of the State of California:

                                         (f) Counterparts.

                                         This Agreemen t·rnay be ex~cuted in counterparts.




                                                                                                                                                                                                      ',. ... .
         .-. :.. ..   ___·· ........ . - .· : .. . -··· · ... --··_-~ ---·   ·-······   - -·---- ·-·· --· - - - .. __ __ :.~   ·:··-·.. ···.:. ..·-   .   . .... .. - ........ _-~   .··· -~'._ -::     _         ;-




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                         IN WITNESS WHEREOF, the parties have executed this Agreement as of the day and year first
                   above set forth, at Los Angeles, California.


                   SAMYANG KOREA :

                                                              SAMY ANG FOODS CO., LTD.
                                                              A Korean corporation




                   SAMYANG U .S.A :

                                                              SAMYANG U.S .A-, INC.
                                                              A California corporation


                                                                  L-==~--= -~
                                                              By~~~~~-1-~~~~~-
                                                                     Mun K g Chun
                                                                     President




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                                                                                                        SY001401
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                          EXHIBIT 6
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                                                    Confidential




                                 STOCK SA LE AND PURCHAS~ AGREEMENT




                TIIlS AGREEMENT is made ~nd entered into as of January 25, . 1998, by and between
        SAMY    ANG  FOODS CO .. LID., a Korean corporation which has its .principal place of business at 82-
        9 Hawolgok I-dong, Sungbuk-ku, Seoul, Korea ("Seller") and CAL YPCO, INC., a California
        corppration having its principal place of business at 1017 Stratford Avenue, South Pasade.na, CA
        9·1030 ("Buyer").                    ·


                                                     RECITALS

                 A. Seller owns 550 shares of SAMY ANG U.S.A., INC., a California corporation, which has
        its principaJ place of business at 1935 Via Arado, Rancho Dominguez, CA 90220 (the "Company").
        The total issued and 0t1tstanding shares of the Company is 550 as of the date hereof.      •
                                                '                                     .


                B. Seller desires to divest itself from the Company in line with the overall business
        reorganization in Korea.

                C. Buyer desires to purchase the entire issued and outstanding shares of the Company.
 (
                                                    AGREEMENTS

                NOW, THEREFORE, in consideration of the agreeinents. provisions, promises and covenants
        herein set forth, Seller and Buyer agree as follow:

           l. Sale and Purchase; Seller's ReDresentations and Warranties.

               Seller hereby sells to Buyer, and Buyer hereby purchases from Seller, 550 common shares of the
        Company upon the following conditions and terms. Further, Seller(!) shall enter into a long-term
        exclusive distributorship contract with the Company to ensure the supply of Seller's products to the
        Company and (2) shalT assign the tracleinarks, service marks or any other intellectual property rights
        to the name "Samyang" in the United States. Seller represents and warrants that (a) the Company has
        issued 550 shares (the "Shares") and no more are outstanding; all of the Shares have been legally and
        vaJidly issu~d and are fully paid and nonassessable; and (b) the Company has no outstanding
        obligations, understandings, or commitments regarding the issuance of any additional shares, or any
        options, rights, or warrants concerning the issuance of any additional shares or securities convertible
                             .                             l




                                                                                           EXHIBIT /D)i;

                                                                                   I      ~V\
 SAMY ANG0003316
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         into shares. Seller further represents and warrants that Seller has good, marketable and indefeasible title
         to and full power of disposition over and has full right to sell and transfer to Buyer all the Shares to be
         sold by that Seller; and those Shares are free of all liens, claims, debts, or other encumbrances, and
         shaU b'e free of all liens, claims, debts, or other encumbrances ~pon their transfer to Buyer under this
         agreement.
                       1


                    2. Purchase Price:

                            The total purchase price of the Shares is 3,000,000,000 won, whicl) shall be paid as
         follows:

                           Wire transfer- to an account designated by Seller within two business
                           day from the date on which all the conditions precedent set forth in
                           Section 3 below are satisfied or waived.

                 3. _(.Qfill jtions Precedent to Buyer's Obligations

                (1) Seller shall have delivered the certificates representing the Shares to Buyer or its
                    representative;
                (2) Seller shall have executed and delivered the long-tenn exclusive distributorship agreement
                    between Seller and the Company to Buyer or its representative;
                (3) Seller shall have executed and ·delivered necessary assignment documents for the
                    trademark, service mark and intellect11al property I ight to the name "Samyang'' in the
                    United States to Buyer·or its representative;
 (':            (4) The representations and warranties of Seller stated in paragraph 1 .shall be true as of the
                    Closing Date (as defined in Section 4 below).

                4. Closing.

                  The. sale and purchase of the Shares shall be consummated by Seller's delivery to Buyer of
         certificates for the Shares duly endorsed for assignment and· transfer, or accompanied by other
         documents as set forth in Section 3 above and Buyer's transfer of funds to the account designated by
         Seller. The time of delivery and payment is the "Closing Date. "

                5. Filines and ApD rovals.

                         Each party will cooperate with the other. in the preparc)tion and tiling, as soon as
         practicable, of (i) all necessary applications for regulatory approval of the purchase and sale of the
         Shares and related transactions, and (ii) a_ll other documents necessary to obtain all other requin;d
         approval and consents.




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                 6. Miscellaneous PrQvisions.

                 (a) Notices.

              No notice, document or comi;nunication to be given hereunder to any party shall be effective for
        any purp0se unless personally delivered to the person at the appropriate address set forth below (in
        which event such notice shall be deemed ~ffective only upon such delivery) or when delivered by mail,
        sent by registered or certified mail, postage prepaid, addressed to the recipient's address set forth
        above.

             . (b) Entire Agreement, Modifications .

              This Agreement contains the entire agreement among the parties hereto and supersedes any and all
          prior agreements, arrangements or understandings between the parties relating to the subject matter
          hereof except as set forth in the Shareholder Agreement. No oral understandings, statements, promises
        · or inducements contrary to the tenns of this Agreement exist. No variation or modification of this
          Agreement and no waiver of any of the· provisions and conditions hereof, or. granting of any consent
          contemplated hereby, 'shall be valid unless in writing and signed by the party against whom enforcement
      ., of any such variation, modification, waiver or consent is sought.



              This Agreement shall be construed as a whole in accordance with its fair meaning, 1he captions
        being for the convenience of the parties only and not intended to describe or define the provisions in
        the portions of the Agreement to which they pertain.

             (d) Attorneys' Fees.

              In the event of any controversy, claim or dispute between the parties ari?ing out of or relating to
        this Agreement, or ihe enforcement of the provisions hereof, the prevailing party shall be entitled to
        recover its costs and expenses, including, but not limited to, reasonable attorneys' fees incurred in
        connection therewith.



               If any tem1, provision, covenant·or condition of this Agreement is held by a court of com'petent
        jurisdiction to be invalid, void. or unenforceable, the remainder of the ·provisions shall remain in full
        force and effect and shall in no way be affected, impaired or invalidated.




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                    (f) Governing Law.

                                                                           construed•in accordance with the
               This Agreement is to be governed by, interpreted under, and              ·        '
         Jaws of the State of California

                    (g) Counterparts.

                    This Agreement may be executed in counterparts.
                                                                               Agreement by and .through 'their
                 W WITNESS WHEREOF, the parties have executed this
                                                   and approv ed  as of the day and year first above se;t forth, at
         respective representative duly authorized
         Seoul, Korea by Seller and at Los Angeles, California, by Buyer.


         Seller ;

                                                          SAMY ANG FOODS CO., LTD.
                                                           A Korean corporation



                                                          B y ~
                                                                    Name ; ·
                                                                    Title:

          Buyer :
                                                           CAL YPCO; INC.' ....
                                                           A Cal\fornia corporation


                                                           By ~
                                                                    Title : President




                                                                4




  SAMY ANG0 00331 9
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                          EXHIBIT 7
'   Case 2:15-cv-07697-AB-KS Document 88-3 Filed 11/01/17 Page 99 of 295 Page ID
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           .. _).,&.. .



                                                       SAMYANG U.S.A., INC.
                                                         1935 S. VIA ARADO,
                                                     RANCHO DOMINGUEZ, CA 90220

                          Telephone: 323) 636 ..8899 Fax: 323) 639-IT34       E-Mail: SnmynngUSA@earthlink.net

                                             VIA TEL~EAX (02) 919-6180
                          Chairperson!Prosidcnt
                          Samy1mg Food$ Cl)., Ltd.
                          82-9 Huwolgok 1-dong, Songbuk-gu,
                          Seoul, 136-13 l, Republic ofKortiu

                          Dtite of this Letter: Aprll 20, 2001
                          Totn1 Pages (lncluding the cover page): 3

                          Ro: Distribution and Sales Agreement


                          We herc:iby acknowteogc iho receipt of your company's iettcr <luted on Aprii 20, 2001
                          sjgned by the Chairperson of lht: compally.

                          That letter alleges that the contr11ct for the Distribution and tho Snlos Agreement was
                          unconscionable to a party of the contract since tho contract lacks some basic oh ligations
                          and that the signer of yom company was not fully aware of the c:ontentH of the contract.
                          Thereforn yo,u company wi11 not going to pe1'form the contractual oblign.Oon In the future
                          and will directly clistribnt<~ your products to the territory over which this company has
                          tlrn exclusive right.        ·

                          Further, your company want to tn:mafom1 the r.urrent payment metbod to LC basis for the
                          imbsequent shipments.

                          Plense reacl this letter carefully to understand the contract between the two companies and
                          our intent to protect the cotitrnct.ual right this company acquired in the exchange with the
                          legal consideration.


                          Contrnc!!
                          mstributlon andSal~s Agreeme11t
                          This agreement was mnde rutd entered into as of November 29, 1997 by and between the
                          two companies ns a part of the totul nnd entire snles co1~tmct of any interest of your
                          company in Samyang U.S.A., Inc. Tho contrnct was fully suppo1ted by legal
                          consideration which sati~fied the legal detriments and benefits. At the time of the contract
                          your company scrutinized the contra(:t before tho singing of the agreement. Tht'l
                          agreemcmt Is the legally binding contract over the contracting parties of two signing




                                                                                              EXHIBIT
                                                                                                        lb?>'a
    SAMYANG0003304
                                                                                                CbkU''
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                                                                                        ...... ,...1




                     PAGE TWO OF THR EE
                     ltE:J)lS'fHIBUTlON AND SALES AGREEMENT

                    co1upanies. Tims, your allegation that the contact may
                                                                           bo illusory ls a complete false
                    claim.

                    !f,_;.:cluslv!_!_Rigbt of DJstril~ution
                    Pursuant to the clause of 1 of the contract, this company
                    distJ'ilmtton right of all of S\l.lnyang Korea's produ         hus the foll and exclusive
                                                                           cts currently marketed or to be
                    marketed in the future for the tcm1 of fifty years w1iicl
                                                                             l ls renewable for another ~ame
                    term aftel' the termination of the original term.
                    Your sales to the Cam1dian compuny of your products
                                                                                while we have been 11nawo.rn of it,
                   seriously violated ou.r con.tractulll tights . We are goiJlS
                                                                                to ex~rcise our right by employing
                   all legal reliance to stop that illegal transactions to
                                                                              protect our right. Please understand
                   that we are bringing thill cnse agnimt the Cnmidian comp
                                                                                   any to the court of luw to rnuke
                   tho company's profits to be disgorged and to hold the compl
                                                                                     \llY for our lost profi, s fo1· this
                   company. Please understand that your company is prima
                                                                                   rily liablo for this Infringement
                   and all subsequent consequences. Your company hns
                                                                               to stop the shipment of products
                   to S.l( CANADA LTD in Cannda over which
                                                                           we have oxolusive right to sell those
                   product~.

                   Samyang Korea i$ s0rlously violating tile contract by not
                                                                             iihipping
                                                                                 tho purchase order for
                   that territory while Samyang Korea has to ship the
                                                                      products in accordan.c:e with the
                   schedule specified in tho purchase orders.

                   Trndll Names and Trade Mnrks
                   Pm;uant to the claus i of3 of the contract, this company is the rightful owne
                  the intellectual property including Samyang Korea's                           r thut  holds
                                                                           trmlomarks, trnde names, brand
                  xrnrnes, trade dresses, logos, dcsignB, packAging and
                                                                        copyrights pertaining to the products
                  cmrently in use or to be used in the future. No other
                                                                         company or anyone else may ever
                  1tSO   sncll names or mnrk s wltho ut prior appro
                                                                    val of this comp any In the
                  geographicnl nrcas of U.S., Cana.du, nnd Mexko.

                  Jfyou violate our rights, you may be hold liable for the
                                                                           serious penalties. Pleatie note that
                  U.S. governments onforccs it:; power to protect these
                                                                        tights.
                  !JJx.m~nt Method
                  Pursu ant to tho claus e of2 oftJ10 contract, the
                                                                    tem1s of the paym ent woul d be mainte,incd
                  the same a11d  Samy~ng Korea Hhall not arbitrarily change th~ payment
                                                                                        tenns.
                  This means that this company oannot be c_ompelled
                                                                           to accept the arbitnuily chll11ged
                  tcnns . However, we are willit1g to discuss this matter with
                                                                               you for the feasibility.




    SAM YANG 0003 305
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                   PAGE THREE OF TH~ E
                   RE: l)JSTRlBUTION ANO SALES AGREEMENT

                   Consequently, Sumyang Korea shall not directly or indire
                   tho products into the territoxies except throug
                                                                              ctly manufacture or sell any of
                                                                    h Snmynng U.S.A. :mcl Snmynng Korea
                   must ship the prod1icts in nccorduncc with the schedule
                                                                           specified in out· purchase orders.

                    We are going to seek all r~medies against you for the
                                                                               losaos by your infringement in
                   violation of the contract. Please remember thnt ony sales
                                                                                 to th~ specified ten-itories m,t
                   through this company constitute tho bt·cach for whioh
                                                                                Samyaog Korea is absolutely
                   liable. Thus stop any illegal practice immediately beforo
                                                                             tile losses may bo magnified and
                   it is lrnnl for your company to bear the dan\f1ges.
                  We are looking foxward to hearing you soon with positi
                                                                        ve responso to this official .lettel'.
                  Thank you.




                  Sincerely,




    SAM YAN G000 3306
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                          EXHIBIT 8
    Case 2:15-cv-07697-AB-KS Document 88-3 Filed 11/01/17 Page 103 of 295 Page ID
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                                                                Confidential


C
          Samyang Foods Co., Ltd.
          Address 82-9, Hawolgok 1-dong, Songbuk-gu, Seoul, 136-131, Republic of Korea
          Home Page: http://www.samyangfo od.co. kr
          E-mail : gongwook@hotmail.com
          Telephone : +82-2-940-3340-4, 940-3292
          Facsimile: +82-2-919-6180

          To: S. C. CONTINENT CORPORATION                                                                          Date: OCT 04, 2012.
          Attn.: President Mun Kyung Chun, Managing Director Si Young Lee                                              Total page(s) :1
          From : Overseas Sales Team                                                                            including this covering


          Subject: Business Communication


          We wis_h your company prosperity day by day.

          In the process preparing an agreement with your company to terminate the selling rights in the U.S.,
          we have confirmed that S.C. CONTINENT CORP. was established on January 7, 2000 and dissolved
          on August 22, 2003.

          Therefore, it is our judgment that it would be impossible for our company to continue to have
          transaction with S.C. CONTINENT CORP. after becoming aware of this fact. And it is our judgment
          that it would be also difficult to be the subject of exclusive distribution agreement in the LA region
          as well after entering into the termination agreement.

          We urge your company to present the plans on how your company will resolve the above.

          On the other hand, we plan to separately send you the termination agreement and the draft of
          exclusive distribution agreement with your company. Please review them.

          Thank you.

         Sincerely,
         Won-tae Chung/Gong-wook Kim

         Samyang Food Co., Ltd. RC/Overseas Sales Team leader (Acting)




         cc.
         SAMYANG FOODS,         a Ramm lvlo1111fort1mr 1vith a proud history of 40ytt11:r' lroditio11 hosed 011 Honesty 011d Credit.


C         SAMYANG0001065
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                                                           Confidential

                                                                                                                                EXHIBIT


C             Samy ang Foods Co., Ltd.
                                                                                                                     I                   V\
                                                                                                                                         IP11
                                                                                                                                              "'~
              Address : 82-9, Hawolgok dong, Seongbuk-gu, Seoul, 136-754, Repl.tilic of Korea

              Herne Page : [ HYPERLINK http.//Www.samya ngfood.co.kr]

              E-mail : gongwook@hotmail.com

              Telephone : +62-2-940-3340- 4, 940-3292

              Facsimne : -+82-2-919--6180



              To: S. C. CONTINENT CORPORATION                                                    Date : OCT. 04. 2012.

              Attn.: ~§~ Af~lcl. OIAl2.l 2t~l5 .                                                 Total Page(s): 1

              From: oH£l~~~                                                                      including this covering



              Subject:    el~e! ~




              gf,fot!A-Je        ?1Af2.19.I DI~ E.f~ ollJ:IJIIQ,'~ e_f~e :ill2JOIIA-i S.C. CONTINETNT CORP.JI
              20001:'.11~ 1~ ~~£JOl 2003!:'.l             s~    22~ oW.§ 3!2£ ~'2!of~aLIU .



              010!1 ~AfOIIA-iE 01 UI§~ '2!J:lef Ol~OII            s.c.   CONTINENT CORP. 2.1 Ji2JI~ Al~ole 3!g

              ~ Jfl5E.f 3!2£         E.f 8~ LI Cl. EE E.I oH XI JII Q./ All ?I 01 ~ LA XI~ £1 t:ll ~ ~ ~~JII Q./9-1 ~All£~
              Olc.H~ ~2£ Ef8~LICI .


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               6' Af-g}LI Cl .




               cc.

C              SAMYANG FOODS, a Ramm 1Wa11Hfarl11rtr •ilh a pro11d lrislory of 40 ytars' lradilio11   bostd 011 Ho11tS'.)' and Crtdil.




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-· .


C                         CERTIFICA TION OF TRANSLAT ION

                                                              and
                                                DECLARAT ION

          State of California          )
                                       )        S.S.
          Los Angeles County           )


                 I, Soomi Ko, the undersigned, declare under penalty of perjury that I am a duly
         certified Korean Court Interpreter approved by the United States District Courts, certified
         by the State of California and the Los Angeles County Superior Courts, with competent
         knowledge of Korean and English, and that I have truthfully and correctly translated 35
         Exhibits listed below re: Sam Yang (USA), Inc. v. Samyang Foods Co., Ltd., et al.,
         Case no. 2:15-cv-07697 AB (KSx) from Korean to English in accordance with Fed. R.
         Evid. 901 and that the said translation is, to the best of my knowledge and belief, a true
         and correct translation. I further declare under penalty of perjury that I am neither counsel
C        for, related to, nor employed by any of the parties, and that I have no financial or other
         interest in the outcome of any action related to this translation. I declare under penalty of
         perjury that the foregoing is true and correct.

                                                List of Exhibits Translated

                   Ex. 1006     TRANS.pdf                          Ex. 1071      TRANS. pdf
                   Ex. 1007     TRANS.pdf                          Ex. 1072      TRANS.pdf
                   Ex. 1010     TRANS.pdf                          Ex. 1073      TRANS.pdf
                   Ex. 1012     TRANS.pdf                          Ex. 1074      TRANS.pdf
                   Ex. 1023     TRANS.pdf                          Ex. 1075      TRANS .pdf
                   Ex. 1024     TRANS.pdf                          Ex. 1076      TRANS.pdf
                   Ex. 1027     TRANS.pdf                          Ex. 1077      TRANS.pdf
                   Ex. 1029     TRANS.pdf                          Ex. 1084      TRANS.pdf
                   Ex. 1036     TRANS.pdf                          Ex. 1093      TRANS.pdf
                   Ex. 1038     TRANS.pdf                          Ex. 1104      TRANS.pdf
                   Ex. 1044     TRANS.pd[                          Ex. 1109      TRANS.pdf
                   Ex. 1045     TRANS.pdf                          Ex. 1112      TRANS.pdf
                   Ex. 1048     TRANS.pdf                          Ex. 1113      TRANS.pdf
C                  Ex. 1051
                   Ex. 1052
                                TRANS .pdf
                                TRANS .pdf
                                                                   Ex. 1114
                                                                   Ex . 1115
                                                                                 TRANS.pdf
                                                                                 TRANS.pdf
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                Ex. 1053 TRANS.pdf                             Ex. 1119 TRANS.pdf
                Ex. 1068 TRANS.pdf                             Ex. 1120 TRANS.pdf
                Ex. 1069 TRANS.pdf




      Executed on 191h of December,




      Soomi Ko
      California State Certified Court Interpreter
      #300732
      Direct: (213) 999-7848
      soomi@komartin.com
      www.komartin.com



C                          Ko & Martin Certified Interpreters and Translators
                               Specializing in Korean and Chinese Languages




C
                    KO & MARTIN Certified Interpreters and Translators www.komartin.com (213) 999-7848
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                          EXHIBIT 9
Case 2:15-cv-07697-AB-KS Document 88-3 Filed 11/01/17 Page 109 of 295 Page ID
                                   #:2038

1                     UNITED STATES DISTRICT COURT
2      CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
3
      _____________________________
4     SAM YANG (U.S.A.), INC.;                )
5     ROYPAC, INC., dba S.C.                  )
6     CONTINENT CORPORATION,                  )
7                  Plaintiffs,                )
8            vs.                              ) Case No.
9     SAMYANG FOODS, CO., LTD.; and) 2:15-cv-07697 AB (KSx)
10    Does 1 through 20, inclusive,)
11                 Defendants.                )
12    _____________________________)
13    AND RELATED ACTION.                     )
      _____________________________)
14
15     CONTINUED VIDEOTAPED DEPOSITION OF MUN-KYUNG CHUN
16                     Los Angeles, California
17                     Friday, October 20, 2017
18                              Volume II
19
20    Reported by:
21    NADIA NEWHART
22    CSR No. 8714
23    Job No. 2726320
24
25    PAGES 160 - 273

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                               Veritext Legal Solutions
                                    866 299-5127
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 1       A    I think that's probably true.

 2       Q    And do you recall when Sam Yang (U.S.A.) was

 3    founded?

 4       A    I was not there at the time, but I presume in

 5    the '80s.                                                    10:19:20

 6       Q    And at that time, did you work for Sam Yang

 7    (U.S.A.) at all?

 8       A    No, I did not.

 9       Q    When did you begin working for Sam Yang

10    (U.S.A.), roughly?                                           10:19:37

11       A    That would have been mid-1980s.

12       Q    And at that time, Sam Yang (U.S.A.) was still

13    owned by Samyang Korea, correct?

14       A    Correct.

15       Q    And at that time, did your father, former            10:20:10

16    chairman, have ultimate authority over Sam Yang

17    (U.S.A.)'s business?

18       A    Yes.

19            MS. BOWMAN:    Okay.   I'd like to look at

20    Exhibit 1009, please.                                        10:20:32

21            (Exhibit 1009 was marked for identification

22           by the court reporter and is attached hereto.)

23    BY MS. BOWMAN:

24       Q    Ms. Chun, do you recognize this -- this

25    document, Exhibit 1009?                                      10:21:10

                                                                Page 168

                               Veritext Legal Solutions
                                    866 299-5127
Case 2:15-cv-07697-AB-KS Document 88-3 Filed 11/01/17 Page 111 of 295 Page ID
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 1    Mexico, as the exclusive territories?

 2            MR. McDONOUGH:     Vague and ambiguous as to

 3    "made the decision" in particular.

 4            You may answer.

 5            THE WITNESS:     As I previously stated, the         10:39:16

 6    agreement was to reflect the operation of Sam Yang

 7    (U.S.A.) at the time as is.       And at that time, we

 8    were in charge of North America where we were

 9    exporting to Canada and Mexico.

10    BY MS. BOWMAN:                                               10:39:41

11       Q    At that time, in November 1997, was Sam Yang

12    (U.S.A.) distributing to any countries other than

13    the United States, Canada and Mexico?

14       A    Are you asking about 1997?

15       Q    Yes.                                                 10:40:14

16       A    Other than Mexico and Canada, I think we were

17    selling -- we sold in Russia, as well as Guatemala.

18       Q    But you didn't want to include Russia and

19    Guatemala in the distribution and sales agreement?

20       A    At the time, Samyang Korea was not exporting         10:41:08

21    to Russia or Guatemala, and I had obtained

22    permission for those countries by calling Samyang

23    Korea before.

24            And so that I agree -- enter agreement with

25    my father that for -- continue, at least for some            10:41:37

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 1    time, I would sell to those countries.

 2       Q    But you didn't think it was necessary to

 3    include those countries, Russia and Guatemala, in

 4    the written agreement, correct?

 5       A    Since my relationship was that of father and          10:42:09

 6    a daughter, so I trusted my father.

 7       Q    So you and your father had an informal,

 8    unwritten agreement that Sam Yang (U.S.A.) could

 9    distribute to Nicaragua and Russia?

10            THE INTERPRETER:       "Nicaragua," did you say?      10:42:43

11            MR. McDONOUGH:     It misstates -- it misstates

12    testimony.   It also -- you misspoke -- separately,

13    you misspoke, and said "Nicaragua."          You meant to

14    say "Guatemala."      I think we understood that.

15            MS. BOWMAN:     You're absolutely right.       I      10:43:00

16    apologize.   And I did say "Nicaragua" by accident.

17            MR. McDONOUGH:     We all knew what you meant.

18            MS. BOWMAN:     They're really close

19    geographically.

20            THE INTERPRETER:       So I will re-render?           10:43:09

21            MS. BOWMAN:     Please.

22            THE INTERPRETER:       So should I re-render

23    taking "Nicaragua" out to "Guatemala"?

24            MS. BOWMAN:     Yes.

25            MR. McDONOUGH:     And the objection is still         10:43:19

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 1    going to stand.

 2            THE INTERPRETER:     Okay.    I got it.

 3            THE WITNESS:    Yes, that's true.        And besides

 4    my father, the management who were right below my

 5    father were also aware of this.                                  10:44:00

 6    BY MS. BOWMAN:

 7       Q    But it was your father who ultimately had to

 8    approve of Sam Yang (U.S.A.) distributing to Russia

 9    and Guatemala, correct?

10       A    That's correct.                                          10:44:28

11       Q    At this time, in November of 1997, did you

12    want Sam Yang (U.S.A.) to obtain an exclusive

13    distributorship for North America?

14       A    I thought that goes without saying, because

15    at the time, we were already conducting business the             10:45:08

16    same way.

17       Q    Why did you think it was necessary at that

18    time to execute a written agreement reflecting the

19    business that you were conducting with Samyang Korea

20    as of November 1997?                                             10:45:23

21       A    When Sam Yang (U.S.A.) -- when we purchased

22    Sam Yang (U.S.A.) from Samyang Korea, isn't it --

23    doesn't that go without saying that when you

24    purchase the company, the exclusivity comes with it?

25       Q    I don't know.     I guess you would have to tell         10:46:21

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 1    was that gentle- -- person's name?         Byung Tae?

 2            MS. BOWMAN:    Yeah.

 3            THE WITNESS:    Oh, Byung Tae Kim.          He went to

 4    Korea to get the signature on the agreement.

 5    BY MS. BOWMAN:                                                     11:25:15

 6       Q    And did you give him other documents to take

 7    along with this agreement, Exhibit 1009?

 8       A    Yes.

 9       Q    Which other documents did you give him?

10       A    To my recollection, I think it was stock                   11:25:45

11    purchasing.

12       Q    Anything else that you recall?

13       A    From our side -- our side, that's it.            But

14    after, when it was done, they sent something else.

15       Q    What else did they send?                                   11:26:17

16       A    From their side.       What I mean by that is from

17    Samyang Korea, they were -- this document and stock

18    purchase and trademark.

19       Q    So just to make sure I understand, you gave

20    them -- you gave Samyang Korea the stock purchase                  11:26:50

21    agreement and the distribution and sales agreement.

22    And from their side, you received back the stock

23    purchase agreement, the distribution and sales

24    agreement and the trademark agreement; is that

25    correct?                                                           11:27:06

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 1       A     I probably received stocks as well.

 2       Q     Like as in stock certificates?

 3       A     Yes, I'm talking about stock certificates.

 4       Q     Okay.

 5       A     That's my recollection right now.           If I think     11:28:01

 6    of anything else, I'll tell you.

 7       Q     Okay.   And had you discussed the terms of the

 8    stock purchase agreement prior to Mr. Kim going to

 9    Samyang Korea with that document?

10             MR. McDONOUGH:   Vague and ambiguous.                      11:28:37

11    Discussed with who?

12    BY MS. BOWMAN:

13       Q     And I'm talking about discussed with your

14    father the terms of the stock purchase agreement.

15       A     Between Byung Tae Kim and my father or myself              11:29:07

16    and my father?

17       Q     You and your father.

18       A     So what was your question, please?

19       Q     My question is, did you discuss the terms of

20    the stock purchase agreement with your father prior                 11:29:16

21    to Mr. Kim taking the stock purchase agreement to

22    Korea?

23       A     At the time, I discussed and reached an

24    agreement with my father in regards to this and

25    purchase and trademark before the agreement was                     11:30:14

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 1    signed.

 2          Q   Did you discuss the purchase price with your

 3    father?

 4          A   Yes.

 5          Q   And did you and your father agree on the           11:30:34

 6    purchase price for the stock purchase agreement?

 7          A   Rather than an agreement, my -- it was my

 8    father's request.

 9          Q   Do you know how -- do you know who determined

10    the purchase price?                                          11:31:14

11          A   At the end, the decision was made together

12    between me and my father.

13          Q   How did you determine the purchase price?

14    What did you base it on?

15          A   My father brought up a price first.                11:31:55

16          Q   Do you know what he based his initial price

17    on?

18          A   I do not know what he based it on.

19          Q   Did you agree to the initial price that he

20    suggested, or did you ask for a different price?             11:32:18

21          A   Initially, I said I did not want to do it.

22          Q   But did you ultimately end up paying the

23    price that he initially suggested?

24          A   Can you repeat that once more, please.

25          Q   Sure.   The price that your father initially       11:33:03

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 1    working at Sam Yang (U.S.A.), and the business was

 2    such that it was not a worthy investment.

 3       Q    Okay.    So you meant you didn't want to

 4    purchase Sam Yang (U.S.A.), correct?

 5       A    That's how I felt.                                      11:35:42

 6       Q    But you purchased it anyway.

 7       A    I bought it because I had no choice.         My

 8    father forced me to purchase it.         He requested -- he

 9    made requests.     He demanded of me to purchase it and

10    at last, he pleaded with me to purchase it.                     11:36:09

11       Q    And so this purchase -- this purchase that

12    was effected by the stock purchase agreement was at

13    the same time that the distribution and sales

14    agreement and trademark agreements were signed as

15    well, correct?                                                  11:36:25

16       A    Are you talking about at the time frame of

17    signing?

18       Q    Correct.

19       A    They were all done on the same date.

20       Q    And were they all part of the same                      11:36:57

21    transaction for you to purchase Sam Yang (U.S.A.)?

22       A    That's correct.

23       Q    Okay.    And you were informed from Mr. Kim as

24    soon as the agreements were signed by your father,

25    correct?                                                        11:37:29

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 1       A    I was notified after it was signed.

 2       Q    And very soon thereafter, you -- you

 3    transferred the money for the purchase, correct, the

 4    purchase of Sam Yang (U.S.A.)?

 5       A    By then, money was already there.                      11:38:15

 6       Q    When did you transfer the money for the

 7    purchase?

 8       A    Almost the same timing as the signing.

 9       Q    Were you aware that Samyang Korea would be

10    announcing its bankruptcy or restructuring                     11:38:38

11    procedures as soon as the agreements were signed and

12    the money was transferred?

13            MR. McDONOUGH:     Vague and ambiguous,

14    overbroad, possibly speculation.

15            You may answer.                                        11:39:15

16            THE WITNESS:     I heard rumors.

17    BY MS. BOWMAN:

18       Q    Did you know that Samyang Korea was going

19    to -- strike that.

20            Did you and your father discuss the fact that          11:39:32

21    Samyang Korea was going to enter bankruptcy or

22    insolvency proceedings prior to signing of the

23    distribution agreement?

24       A    My father was the founding -- or my father

25    was the founder of the company.         He did not readily     11:40:24

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 1    break now.

 2            Again, don't concern yourself with why she's

 3    asking the questions.      Just answer the questions to

 4    the best of your ability.

 5            THE WITNESS:     I understand, but the                  12:42:12

 6    questioning is somewhat -- I don't know why.

 7            MR. McDONOUGH:     Okay.   And again, we can talk

 8    about it.    But if you don't understand the question,

 9    just tell her you don't understand it.           You don't

10    need to quibble with her about why she's asking it.             12:42:27

11    Just say to Ms. Bowman, I'm sorry, I don't

12    understand your question.

13            THE WITNESS:     Ah, I apologize.       I will --

14    I'm going to -- I --

15            MR. McDONOUGH:     Okay.   They need to take            12:42:45

16    another call, so we're going to go off the record,

17    and we'll clear this up after the lunch break.

18            THE WITNESS:     Thank you.

19            THE VIDEOGRAPHER:     Off the record.        12:42.

20            (Lunch recess.)                                         12:42:54

21            THE VIDEOGRAPHER:     Okay.     The time is 2:06.

22    We are back on the record.

23    BY MS. BOWMAN:

24       Q    Ms. Chun, I believe before lunch, we were

25    discussing the period in the mid-2000s when -- when             02:06:59

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 1    you first learned that Korea domestic Samyang

 2    products were being sold in the U.S., and I asked

 3    you if at that time you believed Sam Yang (U.S.A.)

 4    was the only company that had a right to import

 5    Samyang products into the United States.                     02:07:21

 6              Was that your belief?

 7       A      Yes.

 8       Q      And did you also believe at that time that

 9    Sam Yang (U.S.A.) was the only company that had the

10    right to use Samyang Korea's trademark in the United         02:08:02

11    States?

12       A      Yes.

13       Q      But were you aware that Samyang Korea

14    products were being sold in the United States that

15    were not imported by Sam Yang (U.S.A.), correct?             02:08:29

16       A      You're still talking about mid-2000s?

17       Q      Yes.

18       A      Yes, in small quantity.

19       Q      And you were aware -- strike that.

20              And you believed that one of your employees        02:09:04

21    from Sam Yang (U.S.A.) inquired as to the stores

22    where those products were being sold, correct?

23              MR. McDONOUGH:     I believe that misstates

24    testimony.

25              THE WITNESS:     You mean I instructed?            02:09:48

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 1    that my father had breached his duty for a long time

 2    and that In Jang Chun has been pestering my father.

 3    So when my father conveyed this to me in this

 4    regard, I wrote that.

 5       Q    What did you understand the breach of duty             02:57:54

 6    that your brother accused your father of to be?

 7            MR. McDONOUGH:     Lacks foundation, and it

 8    calls for speculation.

 9            You may answer.

10            Maybe I should withdraw that speculation               03:00:25

11    objection.   I don't know what's coming here.

12            I still do, all kidding aside, maintain that

13    speculation objection.

14            THE INTERPRETER:     Okay.     Don't talk anymore.

15    I have to try to get all this.                                 03:00:49

16            THE WITNESS:     Okay.     As of the end of 1997,

17    Korea was faced with Asian financial crisis,

18    commonly referred to as IMF Crisis.

19            And also, Korea was going through foreign

20    currency crisis as well.         And Samyang Korea/Samyang     03:01:11

21    Foods was going through extremely difficult

22    situation where they had to sell Samyang Korea's

23    head office building, as well as golf course, as

24    well as a company called Yujisaryo, which was in the

25    business of farm animal and related businesses.                03:01:39

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 1       Q      So is it the breach that your brother was

 2    accusing your father of, of not really receiving the

 3    board approvals that are in the board of directors

 4    minutes meetings regarding the sale of Sam Yang

 5    (U.S.A.) to Calypco to you?                                          03:17:28

 6              MR. McDONOUGH:     Lacks foundation, calls for

 7    speculation.

 8              THE WITNESS:     This doesn't -- this doesn't

 9    really have much to do with anything.             The name

10    Calypco -- my father told me to use Calypco rather                   03:18:41

11    than using a family name, so this is not that

12    important.

13              And at the time I wrote him this letter

14    stating that after five years, legally, there's

15    absolutely no problem about -- because I wanted to                   03:20:11

16    console him.

17              At the time, he was 90 years old, and

18    although he was the chairman of the company, he was

19    just an old man.     So whenever my younger brother

20    threatened him of going to jail, he would be very                    03:20:28

21    afraid.

22              So I would tell him that we have board

23    resolutions, as you can see here, with all of the

24    board members' chops affixed in the back.              So I told

25    my father not to worry that this has legal effect.                   03:20:50

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 1    So that's what this letter is all about.

 2       Q    Did your father ever tell you that the

 3    initial board meeting that's referenced in these

 4    minutes did not occur?

 5       A    This was provided to me in -- on or about              03:21:29

 6    middle of January in 1998 by my father.

 7            THE INTERPRETER:    Okay.    Strike that.

 8            THE WITNESS:   This was provided to me on or

 9    about middle of January in 1998 by Samyang Korea/

10    Samyang Foods.                                                 03:22:01

11    BY MS. BOWMAN:

12       Q    Why did you write in this letter:

13            "Even if the initial board meeting

14            was not convened, father would have

15            had the most number of shares."?                       03:22:12

16            Why did you mention the board meeting not

17    being convened?

18       A    Well, in Korea, sometimes board of directors

19    meeting convene, and sometimes it doesn't convene.

20    And sometimes the board of directors meeting is held           03:23:50

21    for some small issues or big issues.          Or sometimes

22    the board of directors meeting is not held.

23            And in Korea, it is much different than the

24    U.S.   And when a person is a chairman in Korea,

25    especially a somewhat larger-sized chairman, they              03:24:16

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 1    are considered almost like an emperor.          So sometimes

 2    they hold board of directors meeting, and sometimes

 3    they don't.     And I said this to alleviate his

 4    worries since my father was much concerned.

 5            MS. BOWMAN:    Okay.     I think maybe we should           03:24:42

 6    take a break.

 7            THE INTERPRETER:       Thank you.

 8            MS. BOWMAN:    We've been going for a while.

 9            THE VIDEOGRAPHER:       Off the record, 3:24.

10            (Recess.)                                                  03:24:57

11            THE VIDEOGRAPHER:       Okay.   The time is 3:51.

12    We are back on the record.

13    BY MS. BOWMAN:

14       Q    Okay.    Ms. Chun, I wanted to ask you a little

15    bit about Korean companies and how they worked,                    03:51:37

16    which you started to mention before the break.

17            You said that in Korea, unlike in the U.S.,

18    the chairman is almost like an emperor.             So did you

19    mean by that that when the chairman makes a

20    decision, the employees basically follow it without                03:51:55

21    really asking questions?

22       A    Yes, that's possible.

23       Q    So I guess to compare to American companies,

24    does the -- does the chairman basically have the

25    final say on pretty much every decision that's made?               03:52:48

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 1                MR. McDONOUGH:    Vague as to "disrespectful"

 2    in this context.

 3                You may answer.

 4    BY MS. BOWMAN:

 5          Q     You can answer.                                       03:59:04

 6          A     Well, in my generation -- you know how old I

 7    am.       That question was asked to me in the beginning

 8    of the questions, so you know how old I am, right?

 9    I'm trying to talk about my generation.                  Your

10    generation -- your generation and my generation are               03:59:43

11    different.

12                Well, in -- in our generation, we cannot

13    address our parents in a disrespectful manner.

14    That's just not allowed.          Although I may say this

15    and that, I don't want to do it, please give me my                04:00:34

16    money back and whatnot, ultimately, I would obey

17    what my father would say.

18                In our generation, we respect our parents by

19    listening to what they tell us and not doing

20    whatever I want.       I'm sure you may not understand,           04:00:56

21    but Koreans who grew up back then would understand

22    what I'm talking about.

23          Q     So when you said you had to obey your father,

24    it was needing to obey him because he was your

25    father and not because he was the chairman of                     04:01:17

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 1    Samyang Korea?

 2       A     Rather than in the context of obeying my

 3    father, I felt that I did a good deed for my father.

 4    I did a good deed to my father who was the founder

 5    of the company, and I did a good deed to Samyang               04:02:06

 6    Korea.

 7       Q     So it was out of respect to your father and

 8    the company that he had built?

 9       A     Yes.

10       Q     Did you feel the same amount or the same              04:02:26

11    degree of respect for your brother when he became

12    the chairman of Samyang Korea?

13       A     Not at all.

14             In Jang Chun, from year 2001 onwards to

15    present, has harassed me by threatening to shut down           04:03:17

16    Sam Yang (U.S.A.) continuously for many years, and

17    even my father knows about that.

18       Q     How did he threaten to shut down Sam Yang

19    (U.S.A.)?

20       A     He has harassed and threatened me by changing         04:06:12

21    the payment terms initially.      And in the beginning,

22    our payment term was DA; that means we were to make

23    payment directly to the company.        And thereafter, he

24    changed the term on the payment to LC.          What does

25    that mean?                                                     04:06:36

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 1            You may answer.

 2            THE WITNESS:     They probably have some other

 3    reasons, some other reasons between In Jang Chun and

 4    Jung Soo Kim as to what they want to do by

 5    establishing a new company.       I'm sure they have           04:23:54

 6    their own reasons.

 7    BY MS. BOWMAN:

 8       Q    And that's just speculation, correct?          You

 9    don't actually have any basis for thinking that

10    they're starting a new company?                                04:24:04

11       A    Well, if we are shut down, they'll probably

12    come in.   That sounds like a reality.

13       Q    But again, that's just you speculating based

14    on what you think is likely to happen.           You don't

15    know any specific facts that make you think they're            04:24:42

16    trying to start a new company, correct?

17       A    I'm giving you a hypothetical answer, because

18    you asked me a hypothetical question.

19            MR. McDONOUGH:     That's true.

20            MS. BOWMAN:    Actually -- not even worth going        04:25:25

21    over.

22       Q    Okay.    Ms. Chun, forgive me for asking, but

23    when did your -- when did your father pass away,

24    approximately?

25       A    Three years ago.     It's been three years.            04:25:58

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 1    That was in July 2014.

 2            Oh, and for your reference, my father was

 3    installed as an honorary chairman in year 2011.            At

 4    the same time, In Jang Chun became the chairman.

 5    And then thereafter, a few months after, he kind of               04:26:46

 6    became ill and then passed away in 2014.

 7            And I believe the payment term was changed

 8    when In Jang Chun became the chairman.          And I think

 9    payment term was changed into LC at that time in

10    year -- when my brother became the chairman as well;              04:28:08

11    however, my father wasn't like that.

12            My father was very understanding.           And if I

13    said, oh, father, I'm going through a difficult

14    time, then he would say, oh, is that right?            And I

15    said, "I need a little bit more time."                            04:28:28

16            And then he said, "Oh, okay.        I will wait for

17    you."

18            And then if I said, oh, my God, the products

19    have rotten smell, and then he will say, well, look

20    into it.   Look into it.                                          04:28:41

21            And if I said I was having difficult time, he

22    will wait for me.    And also, all the time that I did

23    business with Samyang Korea, I never not paid the

24    payments that I owe.     And ultimately, balance became

25    zero.   So my father also acknowledged me and also                04:29:06

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 1    trusted me with my creditworthiness.

 2       Q     But your brother, In Jang Chun, did not trust

 3    you the same way that your father had?

 4       A     No, it's not that he didn't trust me, per se.

 5    I don't think that's the reason behind it.            He has       04:29:55

 6    his own purpose of doing things.          And his purpose is

 7    to shut me down so that I close my doors, that, you

 8    know, he wants to kill me.

 9             So what I mean by that -- what I mean by he's

10    trying to kill me is that he wants to kill my                      04:30:24

11    business, okay?    I want to make sure that's on

12    there.

13             Well, there's a Korean attorney present here,

14    so she will probably know that there are many

15    Korea -- Korean dramas with the same theme where,                  04:31:01

16    you know...

17             MR. McDONOUGH:     Well, wait a minute.       Michael

18    Jin might know better than anybody else about that.

19             THE WITNESS:     Well --

20             MS. BOWMAN:    Objection; calls for speculation.          04:31:23

21             MR. McDONOUGH:     It doesn't.

22             THE WITNESS:     It's like a muddled story of --

23    of people doing things, and it will be as to In Jang

24    Chung and Jung Soo Kim are those bad heroines of the

25    drama, and I am the victim.                                        04:31:49

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 1              MS. SHIN:   I feel like my habit of watching

 2    Korean drama is exposed here.

 3    BY MS. BOWMAN:

 4       Q      Ms. Chun, are you currently involved in a

 5    lawsuit against your brother involving your father's           04:32:01

 6    estate?

 7              MR. McDONOUGH:     I suspect that's irrelevant

 8    and not calculated to lead to the discovery of

 9    admissible evidence and possibly invasion of

10    privacy.                                                       04:32:25

11              But you may answer.      It's a yes-or-no

12    question.

13              THE WITNESS:     Yes.

14    BY MS. BOWMAN:

15       Q      When did the lawsuit begin?                          04:32:50

16       A      Since I am situated here, I'm not exactly

17    sure.     But according to Korean law, to my

18    understanding, the lawsuit has to be lodged within

19    one year of passing.        So I believe the suit may have

20    been lodged one or two days prior to the expiration            04:33:41

21    date, but I'm not really sure.

22       Q      Okay.   I wanted to turn back to this letter

23    that we were looking at before, Exhibit 1069-C.        I

24    just had a few more questions about this.

25              Okay.   In the second paragraph, when you say,       04:34:17

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 1    "It would be proper to transact via normal method,"

 2    what did you mean by that?

 3            THE REPORTER:     What method?

 4            MS. BOWMAN:     Normal.

 5            THE WITNESS:     As I were to explain the               04:36:53

 6    circumstances back then, if we look at the fax,

 7    since it states that it's a re-fax, that means the

 8    first fax came prior to this date.

 9            So after this fax was first received, I had a

10    conversation with my father about this fax.          But by     04:37:16

11    this time, my father and I endured long period of

12    this back and forth where whenever I had issues, he

13    will come onboard and help me and whatnot.

14            But we were both very tired by this time.

15    And by this time, my father was no longer the                   04:37:41

16    chairman but has became an honorary chairman.          That

17    means he was no longer in the front line but in the

18    back.   And that was the background of what the

19    circumstances was.

20            And my father and my mother have some age gap           04:38:04

21    between the two of them.      And by this time, I have

22    been practicing meditation for a long time, which

23    was Oriental yoga.      So my father was telling me,

24    "Why don't you wrap everything up over there and

25    come back and stay with your mom.         And perhaps I can     04:38:33

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 1    give you something that your mom has."

 2            So that's when I suggested, based on his

 3    suggestion that he could give me something that my

 4    mother owns -- rather than that, I am saying it will

 5    be better to just do a normal transaction.                        04:38:58

 6       Q    And by "wrap everything up," did you

 7    understand your father to mean sell Sam Yang

 8    (U.S.A.) back to Samyang Korea?

 9       A    No, that's not what we're talking about, not

10    selling Sam Yang (U.S.A.).      I purchased Sam Yang              04:39:49

11    (U.S.A.), so that's mine.     But what my father and I

12    were talking about is the distribution.

13       Q    So on the last page of this letter -- where

14    you talk about sending --

15            THE INTERPRETER:    Oh, hang on.       Excuse me.   I     04:40:11

16    missed something.

17            THE WITNESS:    What stayed in the letter, the

18    three items, stopping export to Korea altogether,

19    increasing prices, stopping DA transaction, things

20    like that was stressing me, and my father felt my                 04:40:45

21    stress as well.

22            THE INTERPRETER:    That portion was in the

23    middle somewhere in her testimony.

24    BY MS. BOWMAN:

25       Q    Okay.    And so that's why you were considering           04:40:59

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 1    terminating the distribution agreement at that

 2    point?

 3             MR. McDONOUGH:     Misstates testimony and

 4    evidence.

 5             You may answer.                                          04:41:19

 6             THE WITNESS:     At the time, my father, looking

 7    at this fax and myself, looking at this fax, who

 8    would not be angry?       So out of anger -- and we --

 9    you know, this was said.       And it was -- it was like

10    having regrets between my father and I, my father                 04:42:49

11    saying, "Oh, my God.       I can't believe this is

12    happening, and I'm in my age of 90 years old."

13             And my father's situation was that although

14    he did not like his son, he still have -- had to

15    give the company to his son, and he became the                    04:43:13

16    honorary chairman without any authority.

17             So although I had written my letter this way,

18    what would me going to Korea being with my mother

19    will bring?    That will be a temporary solution,

20    whereas my mother will soon pass away also.           And the     04:43:35

21    reality is I still had 80 years left to this

22    agreement.    So although I had written this letter

23    this way, it ultimately just fizzled out.

24    BY MS. BOWMAN:

25       Q     So on the last page of this letter, near the             04:44:02

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 1             THE REPORTER:    "We treat it" what?

 2             THE INTERPRETER:    "Lightly."

 3             THE WITNESS:    And one more thing.         As you can

 4    see, the date is in year 2013.        In year 2013, at the

 5    time, there was a price fixing lawsuit that was                     04:57:58

 6    brought up.    And then although we were not involved

 7    at all from our company, both consumer and the

 8    wholesalers sued on antitrust lawsuit.

 9             So thereafter, I was fully wrapped up by

10    hiring an attorney and responding to such lawsuit.                  04:58:27

11    And I believe Samyang Korea became wrapped up with

12    the antitrust lawsuit as well, and they were wrapped

13    up on their end as well.

14             So in conclusion, because of that, all these

15    talks went back to the starting point or original                   04:58:48

16    point.

17    BY MS. BOWMAN:

18       Q     So I understand your point to be that after

19    you sent the initial letter when you were very

20    angry, you didn't really consider terminating the                   04:59:04

21    distribution agreement seriously.         What I don't

22    understand -- and this is my question now, which is,

23    why did you continue to discuss termination until

24    March of 2013 if you weren't interested in

25    termination following December 2011?                                04:59:21

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1            I, the undersigned, a Certified Shorthand
2     Reporter of the State of California, do hereby
3     certify:
4            That the foregoing proceedings were taken
5     before me at the time and place herein set forth;
6     that any witnesses in the foregoing proceedings,
7     prior to testifying, were administered an oath; that
8     a record of the proceedings was made by me using
9     machine shorthand which was thereafter transcribed
10    under my direction; that the foregoing transcript is
11    a true record of the testimony given.
12           Further, that if the foregoing pertains to the
13    original transcript of a deposition in a Federal
14    Case, before completion of the proceedings, review
15    of the transcript [ ] was [ ] was not requested.
16           I further certify that I am neither financially
17    interested in the action nor a relative or employee
18    of any attorney or any party to this action.
19           IN WITNESS WHEREOF, I have this date subscribed
20    my name.
21           Dated: 10/23/2017
22
23
               <%signature%>
24             NADIA NEWHART
25             CSR NO. 8714

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                     Tel, (662) 946-9977       •                 t0316 NOtWC!k Slvd., SonlCI ~e Springs, CA 90670


                                     3-13-13

          To: Samyang Foods Co., Ltd. Managing Director Bonghoon Kim, Manager Gong-wo
                                                                                     ok Kim
          From: Samyang USA, Inc. Managing Director Si Young Lee
          Date:

          Subject: Termination of exclusive sales rights and distribution and sales rights
                                                                                           in America
                  Upon reviewing the agreement to termina te exclusive sales rights and the non-exc
                                                                                                    lusive
          distribution agreeme nt that Samyang Food Co., Ltd. sent to our company, our
                                                                                       position is as follows.
          1. Termination Agreement


C                 As a result of commissioning a review of the draft agreeme nt prepared by your
          our Attorney, there was a concern that overall legal interpre tation is not clear
                                                                                                        Attorney to
                                                                                             as it is too
          complicated unlike the original exclusive agreeme nt which is relatively simple.
                                                                                               Accordingly, our
          position is that the agreeme nt at the level of the original agreeme nt is desirable
                                                                                               . In other words, we
          would like to prevent conflicts of interest from its interpre tation in the future
                                                                                             by simple content of
          terminating or cancelling the original agreement.

          2. Non-exclusive Distribution Agreement

                  Both parties have already understo od that it is possible to accommodate the operatio
                                                                                                             n of
         agency in the U.S. according to the distribution agreeme nt presente d by your
                                                                                           company based on the
         premise that it includes the regions of the present level. This is a decision that
                                                                                             considered loss and
         minimum profitability, taking into consideration basic facilities and expenses
                                                                                            to operate an agency.
         Such a conclusion had to.be drawn, even considering our sales experience and
                                                                                             the already solidly
         built sales organization. We thank you for understa nding the above, and expect
                                                                                              that the distribution
         agreeme nt will proceed based on such understanding.

                 We hope for your understanding and additional agreeme nt as soon as possible
                                                                                                regarding
         the interim conclusion as above for the matter of termination of exclusive sales
                                                                                          agreement.




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                                               ~             Sam yang u.s.~ .. la,c.
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                             CERTIFICATION OF TRANSLATION
                                                                 and
                                                   DECLARATION

            State of California           )
                                          )        s. s.
            Los Angeles County            )


                    I, Soomi Ko, the undersigned, declare under penalty of perjury that I am a duly
            certified Korean Court Interpreter approved by the United States District Courts, certified
            by the State of California and the Los Angeles County Superior Courts, with competent
            knowledge of Korean and English, and that I have truthfully and correctly translated 35
            Exhibits listed below re: Sam Yang (USA), Inc. v. Samyang Foods Co., Ltd., et al.,
            Case no. 2:15-cv-07697 AB (KSx) from Korean to English in accordance with Fed. R.
            Evid. 901 and that the said translation is, to the best of my knowledge and belief, a true
r           and correct translation. I further declare under penalty of perjury that I am neither counsel
\..,...     for, related to, nor employed by any of the parties, and that I have no financial or other
            interest in the outcome of any action related to this translation. I declare under penalty of
            perjury that the foregoing is true and correct.

                                                   List of Exhibits Translated

                      Ex.   1006    TRANS.pdf                         Ex.   1071    TRANS.odf
                      Ex.   1007    TRANS.pdf                         Ex.   1072    TRANS.odf
                      Ex.   1010    TRANS.pdf                         Ex.   1073    TRANS.odf
                      Ex.   1012    TRANS.pdf                         Ex.   1074    TRANS.pdf
                      Ex.   1023    TRANS.pdf                         Ex.   1075    TRANS.pdf
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                      Ex.   I 027   TRANS.pdf                         Ex.   1077    TRANS.pdf
                      Ex.   1029    TRANS.odf                         Ex.   1084    TRANS.odf
                      Ex.   1036    TRANS.pdf                         Ex.   1093    TRANS.odf
                      Ex.   1038    TRANS.pdf                         Ex.   1104    TRANS.pdf
                      Ex.   1044    TRANS.odf                         Ex.   1109    TRANS.odf
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                Ex. 1069 TRANS.pdf




       Executed on 19th of December,




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       California State Certified Court Interpreter
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1                      UNITED STATES DISTRICT COURT
2        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
3
      _____________________________
4     SAM YANG (U.S.A.) INC.,                    )
5     ROYPAC, INC., dba S.C.                     )
6     CONTINENT CORPORATION,                     )
7                   Plaintiffs,                  )
             vs.                                 ) No. 2:15-cv-07697
8     SAMYANG FOODS CO., LTD.; and )                      AB (KSx)
9     Does 1 through 20, inclusive,)
10                  Defendants.                  )
      _____________________________)
11    SAMYANG FOODS CO., LTD.,                   )
12                 Counter-Claimant,             )
             vs.                                 )
13    SAM YANG (U.S.A.) INC.,                    )
14    ROYPAC, INC. dba S.C.                      )
15    CONTINENT CORPORATION;                     )
      MUN-KYUNG CHUN, and Does 1                 )
16    through 20, inclusive,                     )
17                 Counter-Defendants. )
      _____________________________)
18              VIDEOTAPED DEPOSITION OF SEE YONG LEE
19                       Los Angeles, California
20                     Wednesday, December 21, 2016
21
22    Reported by:
23    KATHLEEN E. BARNEY
      CSR No. 5698
24    Job No. 2495581
25    PAGES 1 - 127

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1              THE WITNESS:       Well, as far as Roypac is
2     concerned with Sam Yang (U.S.A.), it only handled
3     products that were being imported from Korea.
4     BY MR. RHOW:
5         Q    So as to the products being imported from
6     Korea, Roypac was handling everything relating to
7     those products, correct?
8         A    Correct.
9         Q    And that was from 2001 to the present?
10        A    Yes.
11        Q    While you were at Sam Yang (U.S.A.), did the
12    paycheck you receive indicate that you were being
13    paid by Sam Yang (U.S.A.) or some other entity?
14             MR. MCDONOUGH:        Vague and ambiguous.
15    Overbroad as to time.
16             THE WITNESS:       Well, currently I receive
17    checks from S.C. Continent.
18    BY MR. RHOW:
19        Q    Let's start in 2001.             From 2001 to the
20    present, tell me the various employers you had who
21    have paid you your various salaries.
22        A    When you say "employers," who are you
23    referring to?
24        Q    Was Sam Yang (U.S.A.) your employer?
25             MR. MCDONOUGH:        He is referring to at any

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1     (U.S.A.) ever distribute non-Sam Yang ramen?
2         A    My understanding is that it did not.
3              MR. RHOW:      Let's take a break.
4              THE VIDEOGRAPHER:          11:03.          Off the record.
5              (Recess.)
6              THE VIDEOGRAPHER:          On the record.          11:28.
7     BY MR. RHOW:
8         Q    When did the Union Foods relationship begin?
9         A    I'm not really sure.
10        Q    Do you know how long it lasted?
11        A    It maintained for approximately five years.
12        Q    Did it begin after the L.A. factory was
13    closed or sold?
14        A    Correct.
15        Q    In terms of dollar amount, if that -- I don't
16    know if that is the right way to measure it, but
17    what was the monthly dollar amount of orders that
18    Sam Yang (U.S.A.) was placing with Union Foods?
19             MR. MCDONOUGH:        Vague as to time.
20             You can answer.
21             THE WITNESS:       I'm not really sure.
22    BY MR. RHOW:
23        Q    And I believe you said in your earlier
24    testimony that the OEM products were being sold in
25    Guatemala; is that right?

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1         A    Yes, correct.
2         Q    Anywhere else?
3         A    I don't recall as to other areas.
4         Q    Do you know why Guatemala?
5         A    Well, that transaction had been ongoing even
6     prior to that relationship.
7         Q    When you say "transaction," you mean the sale
8     of Sam Yang ramen in Guatemala?
9         A    That's correct.
10        Q    And those are ramen products sold by Sam Yang
11    (U.S.A.) to folks in Guatemala?
12        A    Correct.
13        Q    And in selling those products, Sam Yang
14    (U.S.A.) would get money back?
15        A    I believe it received the payments.
16        Q    Who authorized Sam Yang (U.S.A.) to sell
17    products in Guatemala?
18        A    That, I don't recall.
19        Q    Do you know if Samyang Korea ever authorized
20    Sam Yang (U.S.A.) to sell products in Guatemala?
21        A    Since I'm not in charge of such tasks, so I
22    don't know.
23        Q    Who would be in charge?
24        A    That would be the director who was in charge
25    of sales at the time.

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1     want to make sure when I say Sam Yang (U.S.A.) --
2     well, let me just ask it.
3              Did S.C. Continent ever sell products with
4     the Sam Yang brand name in territories other than
5     the United States?
6         A    What Sam Yang products are you referring to?
7         Q    Any Sam Yang products.
8         A    A small amount of Sam Yang products from
9     Korea was attempted in Mexico.                 However, the
10    response was not very good.
11        Q    When was that?
12        A    I don't recall.
13        Q    More than ten years ago?
14        A    Correct, I believe so.
15        Q    More than 15 years ago?
16        A    I would say between 10 to 15 years.
17        Q    Going back to your answer, I just want to
18    clarify.     Was it Samyang Korea who attempted to make
19    the sale in Mexico or was it S.C. Continent?
20        A    That would be S.C. Continent.
21        Q    So after that attempt by S.C. Continent to
22    sell in Mexico 10 to 15 years ago, S.C. Continent
23    did not make any further effort to sell in Mexico,
24    correct?
25        A    Actually, the effort has been put in

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1     continuously.
2         Q    Did it ever sell any products with the Sam
3     Yang brand name in Mexico since that sale 10 to 15
4     years ago?
5              MR. MCDONOUGH:        I think it misstates
6     testimony.      When you say "that sale," I think it was
7     an attempted sale 10 to 15 years ago.               I might have
8     misunderstood it.
9     BY MR. RHOW:
10        Q    Let me clarify that.
11             10 to 15 years ago, S.C. Continent sent
12    products to Mexico, correct?
13        A    Correct.
14        Q    It was a small amount, correct?
15        A    Correct.
16        Q    Did it result in any actual sales?
17        A    The recipient of the product was not very
18    interested, so it did not move forward.
19        Q    So there were no sales?
20        A    No.    What I'm saying is sales did
21    materialize.       However, it did not continue
22    thereafter.
23        Q    So there was the one batch that you sent to
24    Mexico that resulted in some sales 10 to 15 years
25    ago, correct?

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1         A     Actually, Sam Yang products were sent from
2     the U.S. through companies that export products to
3     Mexico.
4         Q     I'm getting confused again.
5               THE INTERPRETER:         From time to time, I may
6     have to inquire --
7               MR. RHOW:     Go for it.
8               THE INTERPRETER:         -- the singular or plural
9     of a subject because that's not readily available in
10    Korean.
11    BY MR. RHOW:
12        Q     We're going to get to this answer in a
13    second.     Buy my only question is, since that small
14    batch you sent to Mexico 10 to 15 years ago, has
15    S.C. Continent specifically ever sent any further
16    products to Mexico?
17        A     No, it did not.
18        Q     What you've testified, though, is that you're
19    aware of other companies that have sent Sam Yang
20    products to Mexico, correct?
21        A     Correct.
22        Q     When did you first learn that?
23        A     Well, my recollection is that at the time,
24    those companies did not only export ramen, but there
25    were many other products they were exporting as

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1              During the time you've been at either Sam
2     Yang (U.S.A.) or at S.C. Continent, are you aware of
3     any employees of those companies traveling to Mexico
4     for business related to Sam Yang ramen?
5         A    I don't really recall.
6         Q    You mentioned, I believe -- and at this point
7     if I heard it wrong, that would not be surprising,
8     but -- that you're aware of efforts since that small
9     batch was sent 10 to 15 years ago to increase sales
10    in Mexico.      What were those efforts?
11        A    Well, we looked into whether or not there
12    would be companies that can be in business with us
13    in Mexico.
14        Q    When did you look?
15        A    About ten years ago, at that time.
16        Q    Other than that effort ten years ago, what
17    other efforts do you recall?
18        A    Thereafter there were issues relating to
19    products from Samyang Foods.               Therefore, we could
20    not make more efforts.
21        Q    So regardless of the reasons why, you did not
22    take further efforts in Mexico, based on what you're
23    saying, since that effort ten years ago, Sam Yang
24    (U.S.A.) and S.C. Continent have not made further
25    efforts to increase sales in Mexico, correct?

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1         A     Correct.     Well, a reason being we could not
2     sell Sam Yang products.            Therefore, we made no
3     effort.
4         Q     The issue with the Sam Yang products, when
5     did that first arise?
6         A     That commenced from year 2008.
7         Q     Has -- did those issues prevent you from
8     selling in L.A.?
9         A     Correct.
10        Q     You didn't sell any Sam Yang ramen products
11    in L.A. in 2008?
12              MR. MCDONOUGH:       Misstates testimony.
13    Argumentative.
14              You may answer.
15              THE WITNESS:      We sold it.
16    BY MR. RHOW:
17        Q     And you sold Sam Yang products in 2009,
18    right?
19        A     Correct.
20        Q     In fact, up until the time that Samyang Korea
21    terminated the distributorship, Sam Yang (U.S.A.)
22    and S.C. Continent was selling ramen all the way
23    through?
24        A     Correct.
25        Q     Let's talk a little bit about Canada.               Did

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1     Sam Yang (U.S.A.) or S.C. Continent ever make any
2     efforts to sell in Canada?
3         A    Yes.
4         Q    When?
5         A    We made efforts until year 2000, 2001.
6         Q    What were those efforts?
7         A    We had agents located in Canada and we
8     exported.
9         Q    Since 2001, Sam Yang (U.S.A.) and S.C.
10    Continent have not undertaken any efforts to sell
11    Sam Yang product in Canada, correct?
12        A    It's not that -- well, it's not that we did
13    not make efforts, but rather under our
14    authorization, Samyang Foods sold product directly
15    in Canada.
16        Q    What do you mean by "authorization"?
17        A    Well, we had to provide authorization since
18    we had the sales right of Canada region.                 Sam Yang
19    (U.S.A.) had that sales authorization.
20        Q    So what happened to the authorization in
21    2001?
22        A    We authorized sales of the product throughout
23    Canada for the term that is limited not to exceed
24    one year to Samyang Foods.
25        Q    I'm a little confused again.               What would not

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1     exceed one year?
2         A    We authorized for the period of one year so
3     that Samyang Foods can distribute in Canada.
4         Q    Has Sam Yang (U.S.A.) or S.C. Continent sold
5     any Sam Yang product in Canada since 2001?
6         A    No.    Because we thought sales in the Canada
7     area would end after -- strike that.
8              No.    Because we thought the sales in the
9     Canada area would end up with Sam Yang (U.S.A.) from
10    Samyang Foods after one year.                However, we were
11    pressured through some person in between.
12        Q    All right.      Let me try to break this down.             I
13    still don't have the story.
14             In 2001, I think what you're telling me is
15    Sam Yang (U.S.A.) gave a one-year right to Samyang
16    Korea to distribute directly to Canada, right?
17        A    We did not provide sales right to them, but
18    we allowed the company to sell for one year.
19        Q    And after the one year, Samyang Korea was
20    still selling in Canada?
21        A    Yes.
22        Q    And --
23        A    Well, that is because we were pressured
24    through an individual connection.
25        Q    What did Sam Yang (U.S.A.) do to stop Samyang

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1     Korea from selling in Canada after that one year?
2         A    We made many efforts by asserting our rights.
3     However, it was difficult to stop them.
4         Q    Did Sam Yang (U.S.A.) attempt to simply --
5     strike that.
6              Did Sam Yang (U.S.A.) make independent
7     efforts to sell in Canada despite the fact that
8     Samyang Korea was selling in Canada?
9         A    At the time, since Sam Yang (U.S.A.) allowed
10    the sales of Samyang Foods in Canada and that rights
11    were going to come back to Sam Yang (U.S.A.) after
12    one year, so we were gearing up to start after the
13    first year.
14        Q    After the first year, did you start?               Just
15    give me a yes or no first.
16        A    No, we did not.
17        Q    After that one year, regardless of the reason
18    why, Sam Yang (U.S.A.) and S.C. Continent never
19    undertook any efforts to sell in Canada, correct?
20             MR. MCDONOUGH:        Vague and ambiguous.
21    Overbroad.      Argumentative as to "any efforts."
22             You may answer.
23             THE WITNESS:       Correct.
24    BY MR. RHOW:
25        Q    Who is the individual you've been mentioning

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1     a couple of times that put the pressure on?
2         A    It's the chairman.           Chairman and the father.
3         Q    Did you believe that Sam Yang (U.S.A.) could
4     disobey an instruction from the chairman of Samyang
5     Korea at the time?
6         A    Well, I thought that.             However, since he is
7     the father, we had no choice.                Since he was the
8     father, we could not lodge a lawsuit against him.
9         Q    Why was the fact that he is the father --
10    first of all, father of who?
11        A    Well, he is the father of our president,
12    Mun-Kyung Chun.
13        Q    And so why is the fact that he is the father
14    of Sam Yang (U.S.A.)'s president a reason why you
15    could not disobey him?
16        A    Well, if a lawsuit is to be lodged against
17    the father, that will end the relationship of father
18    and daughter.       That's why we couldn't.
19        Q    Did M.K. Chun want to sue?
20             MR. MCDONOUGH:        Calls for speculation.
21    Potentially implicates attorney-client privilege.
22             You may answer.
23             THE WITNESS:       I don't know exactly.
24    BY MR. RHOW:
25        Q    Did you want to sue?

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1         A    Yes.
2         Q    Did M.K. Chun tell you that Sam Yang (U.S.A.)
3     was not going to pursue a lawsuit on this issue?
4         A    No.
5         Q    Did she have any opinion or -- strike that.
6              Did you hear any opinion from her as to what
7     should be done with regard to Samyang Korea's direct
8     sales into Canada?
9         A    Since she was getting a lot of pressure from
10    her father, she worried a lot about her relationship
11    with her father, and she had a lot of worries and
12    concerns.
13        Q    And so because of those worries, she chose
14    not to do anything about Samyang Korea's direct
15    sales into Canada?
16        A    Well, we had the rights.               However, since she
17    was continuously receiving pressure, you know,
18    she -- we really did not know what to do.
19        Q    And so as a result of that pressure, Sam Yang
20    (U.S.A.) never took any formal actions to stop
21    Samyang Korea's direct sales into Canada?
22        A    Correct.
23        Q    I'm going to go back -- sorry -- to one
24    issue.     On Union Foods, why didn't Sam Yang (U.S.A.)
25    simply import ramen from Samyang Korea as opposed to

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1         Q    Was it a report on the types of activities
2     that Sam Yang (U.S.A.) was doing to increase the
3     brand awareness of Sam Yang in the United States?
4         A    As to the content, I don't really recall
5     right now.
6         Q    In 2000 when you returned, and given the fact
7     that Sam Yang (U.S.A.) is now a separate company,
8     did you believe that Sam Yang (U.S.A.) was
9     responsible for doing its own marketing at that
10    point?
11        A    Yes.
12        Q    After 2000 did you believe Sam Yang (U.S.A.)
13    was responsible for its own efforts to increase
14    brand awareness of Sam Yang in the United States?
15        A    Yes.
16        Q    After 2000 did you believe that Sam Yang
17    (U.S.A.) was responsible for increasing sales of Sam
18    Yang products in the United States?
19        A    No matter what company you are, there is
20    usually support as to advertisement and whatnot when
21    you enter into business with them.                    But as far as
22    Samyang Foods Korea is concerned, there were no
23    support after 2002.
24        Q    And you're aware of that?                  You knew that,
25    right?

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1              MR. MCDONOUGH:        Misstates testimony.
2     Argumentative.       Asked and answered.
3              THE WITNESS:       I don't recall for certain.
4     BY MR. RHOW:
5         Q    Let's go back to the question or the line of
6     questioning I was on.
7              Since you came back to Sam Yang (U.S.A.), did
8     you believe Sam Yang (U.S.A.) was supposed to do
9     whatever it could to increase sales of Sam Yang
10    branded product in the U.S.?
11             MR. MCDONOUGH:        Asked and answered.
12             You may answer again.
13             THE WITNESS:       Correct.         Well, however, when
14    Samyang Foods deals with -- whether it be their own
15    branch offices or agents or companies that they deal
16    with, they generally support in regards to
17    advertising.       But Samyang Foods did not support us.
18    BY MR. RHOW:
19        Q    That's coming across loud and clear.
20    Regardless of the amount of support you were getting
21    from Samyang Korea, you still believed at all times
22    that Sam Yang (U.S.A.) should undertake its best
23    efforts to increase sales of Sam Yang branded
24    products in the U.S., right?
25        A    Correct.

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1         Q    And Michael, does Michael speak Korean?
2         A    He speaks English better than Korean.
3         Q    All right.      Let's go to the next person, who
4     I think is Gary.        What territories or markets was
5     Gary responsible for, if you recall?
6         A    He was mainly in charge of Chinese ethnic
7     markets in Garden Grove and Torrance -- no.                 Mostly
8     Gardena also.
9         Q    Any other markets?
10        A    No.
11        Q    Mr. Yeo, what markets or territories has he
12    been responsible for?
13        A    He was mainly in charge of Los Angeles area
14    and Irvine, and in charge of wholesalers, both East
15    Coast and West Coast.
16        Q    For Mr. Yeo, in terms of the L.A. market and
17    what he is responsible for, are you saying he was
18    responsible for selling directly to specific stores
19    in L.A.?
20        A    Correct.
21        Q    But he was also responsible for wholesalers
22    and relationships with those folks?
23        A    Correct.
24        Q    And can you explain generally when you say
25    wholesaler, what do you mean in the context of ramen

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1     and Sam Yang products?
2         A     The wholesalers do not carry Sam Yang
3     products only.       They carry many other products as
4     well as Sam Yang products.
5         Q     And is it your understanding that those
6     wholesalers then sell to individual stores or
7     chains?
8         A     Correct.
9         Q     And Mr. Yeo is -- I'm sorry -- is Korean his
10    first language?
11        A     Yes.
12        Q     Does he speak English?
13        A     A little bit.
14        Q     Let's move to the last person.            This was the
15    unknown individual who worked from 1997 to 2007.                    Do
16    you recall what territories or market that person
17    was supposed to be covering?
18        A     I don't recall for sure because that person
19    was charged in one area and then switched to another
20    area, and then since that person quit, so I don't
21    know.
22        Q     What areas were you in charge of?
23        A     I'm more like a controlling person of
24    overall, and in order for me to do market research,
25    I personally go to one market.

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1         Q     So you will travel to a market to do
2     research?
3         A     Correct.
4         Q     And why is it important to go to a market to
5     do research?
6         A     I'm not just going there for research, but by
7     being in charge of that one market as far as
8     ordering and whatnot, I can get a firsthand
9     experience as to what is actually going on in the
10    market.
11        Q     So to increase sales at a market, one of the
12    things that you think is important is to physically
13    travel to the market to see what is going on
14    firsthand, right?
15              MR. MCDONOUGH:       Misstates testimony.
16              THE WITNESS:      Correct.
17    BY MR. RHOW:
18        Q     And it's important for you to develop a
19    relationship with the individuals at the market who
20    may be responsible for buying ramen, right?
21        A     Correct.     That is the most important thing.
22        Q     That, amongst all things, the most important
23    thing you could do to increase your sales is develop
24    that personal relationship with that person
25    responsible for buying ramen, right?

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1         A    Correct.
2         Q    It's also important to go to the market to
3     see where the Sam Yang product is being placed on
4     the shelves; is that true?
5         A    Correct.
6         Q    And, by the way, having your office in Santa
7     Fe Springs is helpful because that means you can
8     drive to the various markets that are reasonably
9     close to your office, right?
10        A    Correct.
11        Q    You did not develop those kind of
12    relationships with stores on the East Coast, right?
13        A    Correct.
14        Q    You didn't have an office on the East Coast?
15        A    Are you referring to Sam Yang S.C. Continent?
16        Q    Yes.
17        A    Correct, we don't have any.
18        Q    And you didn't hire any employees on the East
19    Coast to visit markets and develop those
20    relationships, correct?
21        A    Correct.
22        Q    How often do you visit markets in a given
23    week?
24             MR. MCDONOUGH:        Vague and ambiguous.
25    Overbroad as to locations, time, et cetera.

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1              You may answer.
2              THE WITNESS:       Are you referring to me or
3     other salespersons?
4     BY MR. RHOW:
5         Q    Fair question.
6              So in terms of the sales force that you had,
7     let's say, in 2010 to whenever the distribution
8     agreement was terminated, on average how often
9     during the week would one of the sales team be
10    visiting a market or a store?
11        A    Well, they will be going out to their own
12    territories every day, daily.                Whether they could
13    yield a purchase order or not, they go out to
14    locations every single day in order to foster the
15    relationship.
16        Q    Do you believe that those daily visits are
17    important to increasing sales in a territory?
18        A    Yes.
19        Q    Why?
20        A    Maintaining and fostering relationships is
21    the most important thing.             That is why.
22             MR. MCDONOUGH:        It's been about 45 minutes.
23    Can we take a quick one?
24             MR. RHOW:      Yes, let's take it.
25             THE VIDEOGRAPHER:          Off the record at 2:25.

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1              (Recess.)
2              THE VIDEOGRAPHER:          On the record at 2:49.
3     BY MR. RHOW:
4         Q    I wanted to talk a little bit about Sam
5     Yang -- I'm sorry, S.C. Continent's relationship
6     with wholesalers.        Okay?
7         A    Okay.
8         Q    I think you said a wholesaler is an entity
9     that is selling both Sam Yang products and other
10    products?
11        A    Correct.
12        Q    And were the wholesalers that Sam Yang
13    (U.S.A.) -- strike that.
14             Were the wholesalers that S.C. Continent had
15    relationships with also selling ramen from
16    competitors?
17        A    Correct.
18        Q    What would S.C. Continent do to increase
19    sales of Sam Yang ramen by wholesalers versus
20    competitor ramen?
21        A    Those that are located far away, for those
22    distributors we would deal over the phone.                 And
23    since they have their own salespeople and managers
24    for different areas and markets, we cannot control
25    them going out to markets in their own area.                  So we

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1     will call often to maintain and foster
2     relationships.
3         Q     With who?
4         A     When we made the telephone call, that would
5     be with a manager of their company or a person who
6     is in charge, and through this telephone call we
7     would obtain market information.
8         Q     The person that S.C. Continent was calling
9     was an employee of the wholesaler or of the market
10    buying from the wholesaler?
11        A     No, we would place calls to the wholesaler.
12        Q     Did S.C. Continent ever place calls to the
13    stores or markets buying from the wholesaler?
14              MR. MCDONOUGH:         Vague and ambiguous.
15    Overbroad.
16              And I'm a little unclear.                 Are we talking
17    about any particular region or anywhere in the
18    United States?
19    BY MR. RHOW:
20        Q     You can answer that one.
21        A     What was your question?
22        Q     Okay.    Let me -- I'm purposely starting off
23    broad, but I'll try to break it down as much as I
24    can.
25              In connection with the wholesale

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1     relationships that S.C. Continent had, did S.C.
2     Continent ever contact the stores or the markets
3     that S.C. Continent believed was buying from those
4     wholesalers?
5                 MR. MCDONOUGH:     To be clear, he is referring
6     to anywhere in the United States.                    He is starting
7     broad and then he will narrow if he chooses to do
8     so.       Anywhere in the United States.
9                 THE WITNESS:     No, we did not go there because
10    we do not do our business that way.                    Because if we
11    were to go out to the market where the salesmen are
12    from the wholesale distributor is in charge of and
13    say this and that, that would impact the wholesale
14    distributors whom we deal with.                 So we do not deal
15    that way.
16    BY MR. RHOW:
17          Q     In what territories did Sam Yang -- strike
18    that.
19                In what territories did S.C. Continent rely
20    on wholesalers to increase its sales?
21          A     Mainly East Coast.
22          Q     Anywhere else?
23          A     As far as L.A. area is concerned, we rarely
24    go to the wholesale distributor.                    It's just a matter
25    of stopping by when we pass by the wholesale

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1     distributor or when we need to collect payment, to
2     that extent.
3              However, for those that are located in the
4     East Coast, we make daily phone calls in the morning
5     to various locations in order to obtain information
6     and e-mail exchanges are going on and whatnot.                  And
7     that's how we foster and maintain that relationship.
8         Q    So as to the East Coast market, S.C.
9     Continent relies on wholesalers to increase sales of
10    Sam Yang products, right?
11        A    Correct.
12        Q    Those wholesalers are not required to favor
13    Sam Yang ramen over ramen sold by competitors?
14        A    Correct.
15        Q    Those wholesalers sell a range of ramen
16    competitor products?
17        A    Correct.
18        Q    In fact, by using a wholesale relationship on
19    the East Coast, based on what you told me, S.C.
20    Continent should not be trying to sell directly to
21    markets that have relationships with those same
22    wholesalers?
23             MR. MCDONOUGH:        Misstates testimony.
24    Argumentative.       Lacks foundation.
25             You may answer.

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1              THE WITNESS:       Correct.
2     BY MR. RHOW:
3         Q    Does S.C. Continent have any wholesaling
4     relationships in the Midwest?
5         A    There is a company called Wang Global located
6     in Texas.      W-A-N-G.
7         Q    And what areas does Wang Global cover?
8         A    Centered around Texas and areas nearby.
9         Q    How long has S.C. Continent had a
10    relationship with Wang Global?
11        A    I think it's been more than 15 years.
12        Q    Other than Wang Global, other than the
13    wholesalers on the East Coast, does S.C. Continent
14    have any other wholesaling relationships?
15             Let me withdraw.
16             Other than the wholesale relationships in
17    Southern California, East Coast, and Wang Global,
18    did S.C. Continent have any other wholesaling
19    relationships?
20             MR. MCDONOUGH:        I'll object.         In this context
21    only, I'll object to the use of "East Coast" as
22    vague and ambiguous and overbroad, and I would ask
23    that you guys identify what cities you're talking
24    about on the East Coast at some point in this Q
25    and A.

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1     stopped.
2              MR. MCDONOUGH:         Go ahead.
3              THE WITNESS:        That is because Sam Yang ramen
4     had stale smell.          That's why they quit business.
5     BY MR. RHOW:
6         Q    Okay.     We'll get to that, I promise you.
7     You'll get a chance to talk all you want about that.
8              MR. MCDONOUGH:         Probably not today.
9     BY MR. RHOW:
10        Q    My question really had nothing to do with
11    that, but it's on the record.
12             But what you said confuses me further because
13    the 25 companies you're talking about that are now
14    15 companies, are those wholesalers?                 Are those
15    markets?       Or both?
16        A    I'm only referring to wholesale distributors.
17        Q    Because you listed for me about four or five
18    names.     And now you're saying -- were there 15
19    names?
20        A    25?     No.   It is correct, it's 15.
21        Q    I heard Wang Global, Lee Brothers, Grand
22    Center, Haitai, that's four, maybe five if you break
23    Wang Global and Soul Foods down too.                 What are the
24    other nine or ten or eleven, whatever it is?
25             MR. MCDONOUGH:         Argumentative.        Harassing.

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1              THE WITNESS:       Well, I'm actually talking
2     about total of ten, but in Baltimore there was Lee
3     Brothers, as well as DY Imports.
4     BY MR. RHOW:
5         Q    To save time, I'm going to -- we'll handle
6     this later, but in terms of the territories that the
7     wholesalers covered, have you told me all the
8     territories that might potentially be covered by the
9     wholesalers?
10        A    Yes, I have told you everything in regards to
11    the East Coast.
12        Q    Okay.     And, trust me, this is not going to
13    change the case, but in terms of, for example,
14    Washington state, was there a wholesaler covering
15    Washington or were you directly selling into
16    Washington?
17        A    We went through a wholesale distributor for
18    that state.
19        Q    So, again, I had asked you before, are all --
20    have you listed for me all the territories covered
21    by a wholesaler, and Washington wasn't one of them.
22    I had a feeling that maybe it was incomplete.
23             MR. RHOW:      Maybe we'll just wait on this one,
24    Eric.    In terms of what I really want, rather than
25    catalog it through this gentleman's memory, is

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1     Northern California, what was the strategy in
2     Northern California?
3              MR. MCDONOUGH:        Vague as to time.
4              You may answer.
5              THE WITNESS:       Well, as far as San Francisco
6     area is concerned, there will be Haitai L.A. that
7     would distribute.        And also Korean Farms.           However,
8     there are other numerous companies as well.                 As far
9     as ramen products are concerned, we distributed
10    through two companies.
11    BY MR. RHOW:
12        Q    And were those two companies wholesalers?
13        A    Correct.
14        Q    What are the names of those two companies?
15        A    It is those two companies which I mentioned
16    earlier, Haitai and Korean Farms.
17        Q    Do you know what a -- or ever heard of a
18    concept of a business plan?
19        A    Yes.
20        Q    Did S.C. Continent ever prepare a regular or
21    annual business plan that would lay out a strategy
22    for increasing sales in North America?
23             MR. MCDONOUGH:        Vague.        Ambiguous.
24    Overbroad.
25             You may answer.

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1              THE WITNESS:       Well, even though we did not
2     generate business plan, sales representatives will
3     hold meetings and come up with strategy and planning
4     and whatnot.
5              I'm sure you will comment on what I'm about
6     to say, but you know it was useless to come up with
7     a plan since the payment term was LC at site.                  We
8     were heavily pressured to come up with the funds to
9     pay for the goods.         And even if we placed order on
10    certain volume, we would not get the shipment.                   So
11    it was useless to come up with planning because we
12    never got the volume that we requested.
13             To give you an example, there's a new product
14    called Pul Daek, P-U-L, D-A-E-K, meaning fire
15    chicken.     So this product was launched last year,
16    but we finally got the product recently.                That's
17    just one of the reasons as to why it was useless to
18    come up with a plan.          And, for example, we had
19    orders from U.S. trading in Chinese market, but we
20    cannot fulfill those orders.
21    BY MR. RHOW:
22        Q    I am going to comment.              So just to parse out
23    your answer, during the time period that you've been
24    at S.C. Continent, you have not seen or prepared
25    written business plans that would lay out a strategy

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1     for increasing sales?          I just need a yes or no
2     first.
3         A    It's ambiguous for me to say the answer one
4     way or another.
5         Q    Have you ever seen a written business plan?
6         A    We cannot actually prepare such document, but
7     there are documents in some brief summary form which
8     we generated and instructed based on.
9         Q    Do you still have those?
10        A    I don't think we do.
11        Q    Let's talk a little bit about this LC at
12    site.    Is that the phrase you used?
13        A    Yes.
14        Q    Is it your testimony that S.C. Continent has
15    always operated under an LC at site protocol with
16    Samyang Korea?
17        A    As of March 14, 2012.
18        Q    Meaning prior to March 14, 2012, you were on
19    a credit protocol with Samyang Korea?
20        A    Originally the term of the payment was DA 90
21    days.    And from 2001 rather than DA 90 days, they
22    wanted to change the term to DA at site or DA TT.
23    And we were getting a lot of pressure for these
24    payment terms.       We were paying DA 90 regularly, but
25    we were getting pressure that there were too much of

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1     accounts receivable amount.
2         Q    So whatever the terminology, whatever the
3     payment protocol, it wasn't until March, 2012 that
4     it switched to an LC at site, right?
5         A    Correct.
6         Q    Do you know if it's common in the industry
7     for ramen manufacturers -- strike that.
8              Do you know if it's common in the industry
9     for ramen importers to operate on an LC basis?
10             MR. MCDONOUGH:        Vague.        Ambiguous.   Lacks
11    foundation.
12             You may answer.
13             THE WITNESS:       In general, if one has credit,
14    it's usually pay in DA terms.                However, we were told
15    by Sam Yang headquarters that they're doing everyone
16    with LC at site.        So we were being pressured to go
17    with that.
18    BY MR. RHOW:
19        Q    When you say "everyone," are you talking
20    about other distributors in the Sam Yang
21    distribution network?
22        A    That's what they say.             But when I was located
23    in Korea and worked at the company, the term was
24    mostly DA.
25        Q    You mean back in 1985?

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1         Q     And did you believe advertising was important
2     to increase sales of Sam Yang products in the United
3     States?
4         A     Yes, it is important.
5         Q     Why?
6         A     That is to inform the consumer of the
7     product.     That is why advertising is important.
8         Q     Did you believe that, based on the
9     advertising you saw, that Sam Yang was not doing
10    sufficient advertising in the United States?
11        A     Correct.
12        Q     How much did S.C. Continent or Sam Yang
13    (U.S.A.) invest in advertising in the United States?
14              MR. MCDONOUGH:       Vague and ambiguous.
15    Overbroad, particularly as to time.
16              You may answer.
17              THE WITNESS:      I concur with my attorney.
18              MR. MCDONOUGH:       Unfortunately, you and I are
19    not making rulings right now.                You may answer to the
20    extent you can.
21    BY MR. RHOW:
22        Q     Let me clarify.        At any time, really from --
23    I'll just say from 2000 to the present, do you know
24    if Sam Yang (U.S.A.) or S.C. Continent have invested
25    any monies into advertising in the United States?

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1         A    We did a little bit in the newspapers as well
2     as magazines.       However, we did not have a budget to
3     advertise via television or radio.
4         Q    If you can give me an average per year, how
5     much magazine and newspaper advertising did Sam Yang
6     and S.C. Continent spend on?
7         A    I don't really recall.              Since we didn't
8     really have the budget, it wasn't a big amount.
9         Q    Less than $1,000 a year?
10        A    Well, sometimes it could be more than 1,000.
11    So I'm not sure about that.
12             MR. MCDONOUGH:        He is just looking for
13    averages over time to the extent you can do that.
14             THE WITNESS:       I don't really recall.
15    BY MR. RHOW:
16        Q    Do you recall if in any year it was more than
17    2000?
18        A    A particular year?           I don't really recall.
19        Q    Do you recall that in some years since 2000,
20    Sam Yang and S.C. Continent have spent zero monies
21    on advertising?
22        A    I think we spent a small amount every year.
23        Q    And I'm trying to get a range on "small."                  Is
24    small less than $2,500?            Is it less than $5,000?          Is
25    it less than $1,000?          What does "small" mean?

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1              I, the undersigned, a Certified Shorthand
2     Reporter of the State of California, do hereby
3     certify:
4                 That the foregoing proceedings were taken
5     before me at the time and place herein set forth;
6     that any witnesses in the foregoing proceedings,
7     prior to testifying, were placed under oath; that a
8     record of the proceedings was made by me using
9     machine shorthand which was thereafter transcribed
10    under my direction; further, that the foregoing is
11    an accurate transcription thereof.
12                I further certify that I am neither
13    financially interested in the action nor a relative
14    or employee of any attorney of any of the parties.
15                IN WITNESS WHEREOF, I have this date
16    subscribed my name.
17                Dated: 1/10/2017
18
19
20                 <%signature%>
21                 KATHLEEN E. BARNEY
22                 CSR No. 5698
23
24
25

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                         EXHIBIT 13
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1                   UNITED STATES DISTRICT COURT
2                  CENTRAL DISTRICT OF CALIFORNIA
3                            WEST DIVISION
       _________________________
4      SAM YANG (USA), Inc.,      )
5      ROYPAC, INC., dba SC       )
6      CONTINENT CORPORATION,     )
7                 Plaintiff,      )
          vs.                     ) Case No.
 8     SAMYANG FOODS CO., LTD, ) 2:15-cv-07697 AB
 9     and Does 1 through 20,     ) (KSx)
10     inclusive,                 )
11                Defendants.     )
       ________________________ )
12     SAMYANG FOODS CO., LTD     )
13        Counter-Claimant        )
              Vs.                 )
14     SAM YANG (USA), Inc.,      )
15     ROYPAC, INC., dba SC       )
       CONTINENT CORPORATION,     )
16     MUN-K YUNG CHEN and Does )
17     1 through 20, inclusive, )
18        Counter-Defendants.     )
       _________________________)
19          Continued Videotaped Deposition of SEE-YOUNG
20     LEE, Volume II, taken on behalf of Defendants, at
       1875 Century Park East, Suite 2300, Los Angeles,
21     California, beginning at 9:39 a.m., and ending at
22     4:20 p.m., on Monday, June 12, 2017, before Lori M.
       Barkley, CSR No. 6426.
23
24     Job No. 2621945
25     PAGES 128 - 232

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 1     don't know if we received objections to this                 09:47:58

 2     particular notice, so I'll confirm that, but if not I        09:48:01

 3     hope that we can confer about these additional               09:48:11

 4     document requests off the record.                            09:48:13

 5          Q.   Okay, Mr. Lee, I believe you previously            09:48:31

 6     testified that you began working for Sam Yang USA in         09:48:33

 7     1985; is that correct?                                       09:48:37

 8               THE INTERPRETER:      Excuse me, was there a       09:48:54

 9     month there?                                                 09:48:56

10               MS. BOWMAN:    No.                                 09:48:56

11               THE WITNESS:    Correct.                           09:48:59

12     BY MS. BOWMAN:                                               09:49:00

13          Q.   And it was a subsidiary of Sam Yang Korea at       09:49:00

14     that time?                                                   09:49:12

15          A.   Yes.                                               09:49:12

16          Q.   And you left Sam Yang USA for a period in          09:49:13

17     the 1990s, correct?                                          09:49:16

18          A.   Correct.                                           09:49:24

19          Q.   So you don't have personal knowledge of what       09:49:24

20     was -- what was happening at Sam Yang USA during that        09:49:26

21     period that you weren't there, but as the person most        09:49:31

22     knowledgeable, you do have information on behalf of          09:49:33

23     the company about that period, correct?                      09:49:35

24          A.   Correct.                                           09:49:59

25          Q.   Can you tell me your title in the company          09:49:59

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 1     that you work for?                                              09:50:01

 2          A.   As a director.                                        09:50:02

 3               THE INTERPRETER:      Excuse me, strike that.         09:50:16

 4     I'm not sure whether the witness' answer is a board             09:50:27

 5     of director or some other title.         So may I inquire?      09:50:30

 6               Okay, answer stands.                                  09:50:42

 7     BY MS. BOWMAN:                                                  09:50:43

 8          Q.   And for what company do you work, Mr. Lee?            09:50:43

 9          A.   Are you asking me when I had discontinued             09:50:51

10     working for Sam Yang USA?                                       09:50:55

11          Q.   I'm asking right now, as we sit here.                 09:51:00

12               THE INTERPRETER:      Excuse me.                      09:51:11

13               THE WITNESS:     Managing director.                   09:51:19

14     BY MS. BOWMAN:                                                  09:51:20

15          Q.   Of which company?                                     09:51:20

16          A.   SC Continent Corporation.                             09:51:27

17          Q.   And that's the dba for Roypac?                        09:51:28

18          A.   Correct.                                              09:51:35

19          Q.   And what are your primary job                         09:51:35

20     responsibilities in your role as managing director              09:51:40

21     for SCC or Roypac?                                              09:51:44

22          A.   Well, that would entail overall control of            09:52:06

23     the company, but with main focus in sales.                      09:52:08

24          Q.   And so do you oversee other sales employees,          09:52:13

25     other Roypac sales employees?                                   09:52:16

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 1          A.   Yes.                                               09:52:27

 2          Q.   And those are Michael Gin and -- or is there       09:52:28

 3     anyone else?                                                 09:52:31

 4          A.   There's Mr. Yeo.                                   09:52:40

 5               THE INTERPRETER:        Interpreter spelling:      09:52:44

 6     Y-E-O, confirmed by the witness.                             09:52:47

 7               MS. BOWMAN:    Thank you.      I'm going to        09:52:53

 8     introduce Exhibit 1009.                                      09:52:59

 9          Q.   And, Mr. Lee, do you recognize the document        09:53:01

10     that's in front of you right now?                            09:53:35

11               (Exhibit 1009 was marked for identification

12          by the court reporter and is attached hereto.)

13               THE WITNESS:     Yes.                              09:53:43

14     BY MS. BOWMAN:                                               09:53:43

15          Q.   And I believe you testified previously that        09:53:43

16     you'd seen the Korean version of this document some          09:53:45

17     years ago; is that correct?                                  09:53:47

18          A.   Yes.                                               09:53:58

19          Q.   Okay, and what is this document?                   09:53:58

20               MR. MCDONOUGH:     Document speaks for itself.     09:54:02

21               You may answer.                                    09:54:09

22               THE WITNESS:     My understanding is that this     09:54:15

23     is an exclusive contract.                                    09:54:17

24     BY MS. BOWMAN:                                               09:54:21

25          Q.   And is it also your understanding that             09:54:21

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 1               THE WITNESS:     Can you repeat that once more?       10:05:27

 2     BY MS. BOWMAN:                                                  10:05:30

 3          Q.   Sure.   Would you agree that this                     10:05:30

 4     communication does not say that any rights are being            10:05:31

 5     transferred from Sam Yang USA to SCC?                           10:05:33

 6               MR. MCDONOUGH:     Same objections.                   10:05:36

 7               THE WITNESS:     My understanding is that the         10:06:34

 8     separation between Sam Yang USA and SC Continent took           10:06:35

 9     place in order for SC Continent to handle all the               10:06:42

10     products that were being imported from Korea and Sam            10:06:46

11     Yang USA handle all the products that was being                 10:06:52

12     manufactured in USA for Sam Yang USA, so I believe              10:06:57

13     that is the reason why Sam Yang USA established SC              10:07:03

14     Continent.                                                      10:07:09

15     BY MS. BOWMAN:                                                  10:07:10

16          Q.   And that's what Mr. Chun is informing Sam             10:07:10

17     Yang Korea of in this document?                                 10:07:14

18               MR. MCDONOUGH:     Argumentative --                   10:07:25

19     argumentative, misstates testimony.           Document speaks   10:07:30

20     for itself.    Also legal conclusion.                           10:07:33

21               You may answer.                                       10:07:42

22               THE WITNESS:     It looks like, in order to           10:07:56

23     notify, this itself was being faxed.                            10:08:01

24               MS. BOWMAN:    Move to strike as                      10:08:08

25     nonresponsive.                                                  10:08:09

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 1     is Sam Yang USA.                                             11:04:51

 2          Q.     Okay, and those two places of business for       11:04:53

 3     Sam Yang USA and Roypac are the same property?               11:04:55

 4          A.     Yes.                                             11:05:05

 5          Q.     Okay.   Mr. Lee, do you know what Sam Yang       11:05:05

 6     USA's profits were for the year 2016, if there were          11:05:15

 7     profits?                                                     11:05:31

 8          A.     I don't remember.                                11:05:36

 9          Q.     What about 2015?                                 11:05:38

10          A.     I don't really recall, because I did not pay     11:05:50

11     particular attention to profits.                             11:05:53

12          Q.     Do you know how much Sam Yang USA's profits      11:05:57

13     were for any year from 1997 until 2016?                      11:06:03

14          A.     No, I don't really know about that.              11:06:28

15          Q.     Because you didn't pay attention to profits?     11:06:29

16          A.     Correct.                                         11:06:36

17          Q.     And you were the managing director focused       11:06:36

18     on sales during that entire period from 1997 to 2016;        11:06:40

19     is that correct?                                             11:06:56

20                 MR. MCDONOUGH:     Misstates testimony           11:06:56

21     slightly.                                                    11:06:57

22                 You may answer.                                  11:06:57

23                 THE WITNESS:     Since I returned to the         11:07:15

24     company in -- on April 1st, 2000, I was not in charge        11:07:16

25     of sales from 1997 to March year 2000.                       11:07:23

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 1     BY MS. BOWMAN:

 2          Q.   I'm sorry, just to clarify, are you saying         11:07:32

 3     that you were not in charge of sales from 1997 to            11:07:35

 4     2000 or -- is that correct?                                  11:07:40

 5          A.   Yes.                                               11:07:53

 6          Q.   Okay, and during the time that you were in         11:07:54

 7     charge of sales from, I believe it was 2000 until            11:07:56

 8     present, or for the purposes of this question, 2000          11:08:01

 9     to 2016, you were not concerned with profits?                11:08:08

10               MR. MCDONOUGH:     Misstates testimony.            11:08:33

11               You may answer.                                    11:08:34

12               THE WITNESS:     Correct.                          11:08:38

13     BY MS. BOWMAN:

14          Q.   Okay.     As the person most knowledgeable         11:08:40

15     about Sam Yang testifying today, did you review any          11:08:43

16     documents regarding Sam Yang USA's profits during the        11:08:48

17     period from 1997 to 2016?                                    11:08:51

18          A.   What documents are you referring to?               11:09:22

19          Q.   Well --                                            11:09:23

20               MR. MCDONOUGH:     She asked -- Mr. Lee, she       11:09:24

21     asked if you reviewed any documents.                         11:09:26

22               THE WITNESS:     What type of documents are you    11:09:35

23     talking about?                                               11:09:36

24     BY MS. BOWMAN:                                               11:09:37

25          Q.   Any documents that you reviewed in                 11:09:37

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 1     preparation for your testimony today regarding Sam              11:09:39

 2     Yang USA's profits, specifically regarding or                   11:09:42

 3     reflecting Sam Yang USA's profits from 1997 to 2016.            11:09:45

 4           A.   No, I did not review.                                11:10:15

 5           Q.   Are you aware of any documents that Sam Yang         11:10:16

 6     USA keeps in its records that reflect its profits,              11:10:19

 7     its annual profits from 1997 to 2016?                           11:10:24

 8           A.   I know about it; however, I have not seen            11:10:49

 9     it.                                                             11:10:51

10           Q.   What are the documents that you know about           11:10:52

11     but have not seen?                                              11:10:53

12           A.   Well, what type of document?        Well, as to      11:11:26

13     that, I did not pay much attention, so I cannot say             11:11:28

14     one way or the other.                                           11:11:32

15           Q.   Okay, so as the person most knowledgeable            11:11:34

16     appearing here on behalf of Sam Yang USA, are you               11:11:36

17     aware of whether Sam Yang USA creates profit and loss           11:11:39

18     statements?                                                     11:11:42

19           A.   I believe the company creates them.                  11:12:11

20           Q.   And is it your -- rather, are you aware if           11:12:13

21     Sam Yang USA created these documents from 1997 to               11:12:19

22     2016?                                                           11:12:22

23           A.   I believe those were prepared in order to do         11:12:46

24     tax returns.                                                    11:12:48

25           Q.   But you've never seen them personally?               11:12:49

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 1     USA's president?                                                    11:23:25

 2          A.     I think, first of all, you have to ask for              11:23:34

 3     them.                                                               11:23:41

 4          Q.     My understanding is that we have asked for              11:23:41

 5     them.     So I'm trying to understand if there's a                  11:23:46

 6     particular person who would have access to them, to                 11:23:50

 7     your knowledge.                                                     11:23:54

 8          A.     I think most ideal thing is, first of all,              11:24:27

 9     you have to ask the President.                                      11:24:30

10          Q.     Okay.   But you haven't seen these documents,           11:24:33

11     so you're not aware of what Sam Yang USA's profits                  11:24:40

12     were for any year from 1997 to 2016, correct?                       11:24:42

13          A.     Correct.                                                11:25:03

14          Q.     So if you're not aware of what the profits              11:25:03

15     are from year to year, from 1997 to 2016, how do you                11:25:12

16     determine whether or not the company is doing well in               11:25:17

17     terms of its sales and distribution?                                11:25:20

18          A.     Well, I have heard about it.          I don't know      11:25:53

19     in depth, but I heard about it somewhat.                            11:26:02

20          Q.     From whom did you hear about it?                        11:26:08

21          A.     I heard it from the president.                          11:26:18

22          Q.     Anyone else?                                            11:26:19

23          A.     No.                                                     11:26:22

24          Q.     And what did you hear from the president                11:26:24

25     regarding profits during this period from 1997 to                   11:26:26

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 1                    You may answer.                                      11:44:17

 2                    THE WITNESS:     Can you repeat your question,       11:44:50

 3     please?                                                             11:44:51

 4                    MS. BOWMAN:     Yes.                                 11:44:52

 5                    MR. MCDONOUGH:     I want to just -- I'll have       11:44:54

 6     the same objections.           I won't say it after a question      11:44:55

 7     so.                                                                 11:44:58

 8                    MS. BOWMAN:     I understand.                        11:44:58

 9                    MR. MCDONOUGH:     All right.                        11:44:59

10                    MS. BOWMAN:     Okay.                                11:44:59

11            Q.      So my question, Mr. Lee, was about the DA 90         11:45:00

12     term, and what I'm asking you is, you understood in                 11:45:05

13     November 1997 that the payment term was DA 90 because               11:45:08

14     it was your understanding that the parties had agreed               11:45:12

15     to conduct business that way, correct?                              11:45:14

16                    MR. MCDONOUGH:     Same objections.                  11:45:16

17                    THE WITNESS:     I believe that to be correct.       11:45:45

18     BY MS. BOWMAN:

19            Q.      Okay.                                                11:45:48

20                    Can I please have exhibit 1034(e).        Thank      11:45:55

21     you.        This is 1034(e).                                        11:45:58

22                    (Exhibit 1034(e) was marked for                      11:46:14

23            identification by the court reporter and is

24            attached hereto.)                                            11:46:33

25     BY MS. BOWMAN:

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 1          Q.     And you can take a moment to look at that            11:46:33

 2     document.     And just let me know when you've had a             11:46:35

 3     chance to review it.                                             11:48:45

 4                 MR. MCDONOUGH:     Take as much time as you          11:48:50

 5     need.                                                            11:48:51

 6                 THE WITNESS:     Yes.                                11:48:56

 7     BY MS. BOWMAN:

 8          Q.     Okay, and this document dated June 10th,             11:48:57

 9     2001, do you understand this document to show that --            11:49:00

10     that in exchange for allowing Sam Yang Korea to ship             11:49:08

11     to Canada, in return for that, Sam Yang Korea is                 11:49:13

12     permitting a payment term of 90 days post shipment?              11:49:17

13                 MR. MCDONOUGH:     Lacks foundation.      Document   11:49:53

14     speaks for itself.                                               11:49:55

15                 You may answer.                                      11:49:59

16                 THE WITNESS:     Are you asking me about Canada      11:50:09

17     or the payment term of 90 days?                                  11:50:12

18     By MS. BOWMAN:                                                   11:50:17

19          Q.     I'm asking you about both, actually, so if           11:50:17

20     you look near the bottom of the document, number 2               11:50:20

21     appears to say that, for this shipment, Sam Yang                 11:50:24

22     Korea is allowing a payment, a 90 day payment term?              11:50:28

23          A.     Yes.                                                 11:50:54

24          Q.     And you see here that M.K. Chun says in June         11:50:55

25     2001 or after, the term shall be 90 days from the                11:51:00

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 1     shipping date, correct?                                          11:51:03

 2                 THE INTERPRETER:      I'm sorry, I didn't catch      11:51:09

 3     the name.     Interpreter speaking.        Who's that name?      11:51:11

 4                 MS. BOWMAN:    I referred to M.K. Chun, Moon         11:51:13

 5     Kyung Chun.                                                      11:51:21

 6                 THE INTERPRETER:      Oh, M.K. Chun, thank you.      11:51:21

 7                 THE WITNESS:     Well, in regards to this, in        11:52:18

 8     1998, Samyang Foods actually defaulted as a company              11:52:20

 9     and they lacked operating funds, so we temporarily               11:52:27

10     enter into agreement to provide payment terms in CAD,            11:52:36

11     so we were making payments in the term of CAD.                   11:52:44

12     BY MS. BOWMAN:

13          Q.     Okay, and so from 1998, you were making              11:52:53

14     payments in CAD, and that lasted until 2001 when this            11:52:56

15     document was written by Moon Kyung Chun; is that                 11:53:03

16     correct?                                                         11:53:27

17                 MR. MCDONOUGH:     I think it misstates              11:53:27

18     testimony and evidence.        I could be wrong.                 11:53:29

19                 You may answer.                                      11:53:31

20                 THE WITNESS:     Well, as to the CAD payment         11:53:54

21     terms is concerned, we accommodated them because they            11:53:56

22     pleaded with us, "them" meaning Samyang Foods, since             11:54:01

23     they lacked operating funds.                                     11:54:09

24     BY MS. BOWMAN:

25          Q.     I understand that.      I'm just trying to           11:54:11

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 1     confirm when that happened.      So when was -- when was     11:54:13

 2     the date that Sam Yang USA agreed that it would pay          11:54:15

 3     on a CAD term based on Sam Yang Korea's issue with           11:54:21

 4     operating funds?     So in other words, when did the CAD     11:54:25

 5     term start?                                                  11:54:50

 6          A.   I think it was after the company had               11:54:50

 7     defaulted, and I think the default date was January          11:55:13

 8     26, 1998, and it was after that.                             11:55:17

 9          Q.   That's a very precise memory of the date.          11:55:22

10               MR. MCDONOUGH:    There's no question --           11:55:28

11     there's no question pending.                                 11:55:29

12     BY MS. BOWMAN:                                               11:55:34

13          Q.   Okay, and so is it your understanding that         11:55:34

14     in this document when Moon Kyung Chun says that              11:55:36

15     payment term for the shipping in June 2001 or after          11:55:41

16     shall be 90 days, she means that it's changing from          11:55:46

17     CAD to DA 90 days?                                           11:55:51

18          A.   Correct.                                           11:56:27

19          Q.   Okay.    And is it your understanding that the     11:56:28

20     payment term remained at DA 90 days until                    11:56:33

21     approximately 2012?                                          11:56:37

22          A.   Correct.                                           11:56:52

23          Q.   Okay, and just to confirm the terms, CAD is        11:56:53

24     cash on delivery?                                            11:56:55

25          A.   Cash against delivery.                             11:57:17

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 1          Q.     Okay, so does that mean that when an item is      11:57:18

 2     delivered, the cash has to be paid for it at that             11:57:21

 3     time?                                                         11:57:34

 4          A.     Correct.                                          11:57:34

 5          Q.     Okay.   And also while we're going through        11:57:35

 6     terms, DA 90 days, does that mean that payment is due         11:57:40

 7     after -- 90 days after the delivery, within 90 days           11:57:43

 8     after?                                                        11:57:47

 9          A.     Actually, it's the 90 days from shipment          11:58:09

10     date in Korea.                                                11:58:16

11          Q.     I understand, thank you.                          11:58:19

12                 So Sam Yang Korea gets paid faster with CAD       11:58:28

13     than with -- than with DA 90 days, correct?                   11:58:31

14          A.     We had financial issues as well, so we could      11:58:54

15     not continue on those terms.                                  11:58:56

16          Q.     My question was a little different; I'm just      11:58:58

17     asking about how the terms would generally work.         So   11:59:03

18     generally speaking, under a CAD payment term, Sam             11:59:14

19     Yang Korea would receive payment faster than it would         11:59:19

20     under DA 90 days, correct?                                    11:59:22

21          A.     Yes.                                              11:59:35

22          Q.     Okay.   And I believe you previously stated       11:59:35

23     that until November 1997, the payment term was DA 120         11:59:39

24     days.     So why did Sam Yang USA agree to compromise         11:59:45

25     and change to DA 90 days in November 1997?                    11:59:50

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 1     payment term was DA 120 days, correct?                         12:02:44

 2          A.    Correct.                                            12:02:57

 3          Q.    And then from November 1997 until about             12:02:58

 4     January 1998, the payment term was DA 90 days,                 12:03:03

 5     correct?                                                       12:03:08

 6                MR. MCDONOUGH:     Lacks foundation, calls for      12:03:21

 7     speculation.                                                   12:03:29

 8                I'm sorry, you may answer.                          12:03:30

 9                THE WITNESS:     I don't know for certain.   The    12:03:48

10     financial situation still was difficult, so I'm not            12:03:53

11     sure if CAD started as of November '97.                        12:03:58

12     BY MS. BOWMAN:

13          Q.    Okay, fair enough.      So from either 1997 or      12:04:02

14     early 1998 until 2001, the payment term was CAD,               12:04:09

15     correct?                                                       12:04:14

16          A.    Correct.                                            12:04:29

17          Q.    And then from 2001 until 2012, the payment          12:04:30

18     term was DA 90 days?                                           12:04:33

19          A.    Correct.   I think maybe from July 2001.            12:04:50

20          Q.    Okay.                                               12:04:53

21          A.    Anyway, it's correct.                               12:04:55

22          Q.    And then starting in 2012, the payment term         12:04:56

23     was LC, correct?                                               12:04:59

24          A.    Correct.                                            12:05:10

25          Q.    Okay.                                               12:05:10

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 1     Korea wasn't allowed to sort of arbitrarily or for no        12:25:30

 2     reason decide to increase prices for the products it         12:25:34

 3     sold to Sam Yang USA, correct?                               12:25:37

 4          A.   They would arbitrarily increase the price          12:26:26

 5     and will present it to us.       Then after our company      12:26:30

 6     reviewing such prices, we raised objections and we           12:26:36

 7     were able to adjust those prices somewhat.                   12:26:44

 8          Q.   Okay, and then is it your contention that,         12:26:55

 9     by raising those prices arbitrarily, Sam Yang Korea          12:26:59

10     was violating the distribution agreement?                    12:27:02

11               MR. MCDONOUGH:     Objection, calls for a legal    12:27:27

12     conclusion.                                                  12:27:28

13               You may answer.                                    12:27:29

14               THE WITNESS:     As far as price increases are     12:27:33

15     concerned, those prices were somewhat negotiated.            12:28:05

16     Even though agreement is done that way there were            12:28:12

17     some increases as to raw materials, so taking those          12:28:19

18     into consideration, price increase happened.                 12:28:24

19     BY MS. BOWMAN:

20          Q.   Okay, so if I'm understanding you, you're          12:28:29

21     saying that the price increases that happened over           12:28:32

22     the years under the distribution agreement were the          12:28:34

23     result of negotiations between Sam Yang Korea and Sam        12:28:36

24     Yang USA; is that correct?                                   12:28:40

25          A.   Correct.                                           12:29:03

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 1           Q.   Okay, and so you agreed to these increases        12:29:04

 2     as a result of those negotiations with Sam Yang              12:29:09

 3     Korea, correct?                                              12:29:12

 4           A.   Correct.                                          12:29:26

 5           Q.   Do you recall when the first price increases      12:29:26

 6     occurred, roughly?                                           12:29:31

 7                MR. MCDONOUGH:     Subsequent to the execution    12:29:41

 8     of the distribution agreement?                               12:29:43

 9                MS. BOWMAN:    Correct.                           12:29:44

10                THE WITNESS:     I don't remember.                12:30:00

11     BY MS. BOWMAN:

12           Q.   Okay.   Can I have exhibit 1036, please.          12:30:01

13                (Exhibit 1036 was marked for identification       12:30:05

14           by the court reporter and is attached hereto.)         12:30:33

15     BY MS. BOWMAN:

16           Q.   Mr. Lee, could you just review this document      12:30:34

17     and let me know when you've had a chance to review           12:30:36

18     it.    Okay, have you had a chance to review?                12:30:39

19           A.   Yes.                                              12:31:42

20           Q.   Okay, and this is a document from Samyang         12:31:43

21     Foods Co., to SC Continent Corporation, dated July           12:31:49

22     16th, 2003, and based on this document, do you               12:31:50

23     recollect that Sam Yang Korea informed Sam Yang USA          12:32:05

24     that it would be increasing prices starting September        12:32:08

25     1st, 2003?                                                   12:32:12

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 1          A.   Yes.                                                 12:32:32

 2          Q.   And do you recall any other occasions before         12:32:34

 3     this communication on July 16th, 2003, at which Sam            12:32:37

 4     Yang Korea increased the prices?                               12:32:45

 5          A.   I don't recall.                                      12:33:11

 6               MS. BOWMAN:    Okay, I'm going to introduce          12:33:17

 7     Exhibit 1156.                                                  12:33:19

 8               (Exhibit 1156 was marked for identification          12:33:20

 9          by the court reporter and is attached hereto.)            12:33:39

10               MS. BOWMAN:    And I'm looking at page 14 of         12:33:39

11     this exhibit.                                                  12:33:41

12          Q.   And this document -- this document is the            12:33:46

13     First Amended Complaint for Damages and Injunctive             12:33:51

14     Relief in this matter, and paragraph 64 on this page           12:33:54

15     at the top lists seven different dates on which Sam            12:34:16

16     Yang Korea raised the prices.       Those are:     September   12:34:21

17     1st, 2003, February 1st, 2005, July 1st, 2006,                 12:34:24

18     November 1st, 2006, July 1st, 2008, April 1st, 2001,           12:34:33

19     and October 1st, 2012.                                         12:34:39

20               Now, did those accurately reflect the dates          12:34:42

21     that you recall Sam Yang Korea raising prices of               12:34:45

22     its -- of its products pursuant to negotiations with           12:34:50

23     Sam Yang USA?                                                  12:34:54

24          A.   Correct.                                             12:35:43

25               MR. MCDONOUGH:    And, Counsel, just for the         12:35:44

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 1     BY MS. BOWMAN:

 2          Q.   Mr. Lee, you stated a moment ago that the          12:37:36

 3     price increases were the result of negotiations              12:37:38

 4     between Sam Yang Korea and Sam Yang USA about those          12:37:41

 5     increases, correct?                                          12:37:43

 6          A.   Yes.

 7          Q.   So they weren't arbitrary, because there           12:38:05

 8     were all those negotiations about the prices between         12:38:10

 9     those parties, correct?                                      12:38:12

10               MR. MCDONOUGH:     Argumentative, misstates        12:38:22

11     testimony, harassing.                                        12:38:25

12               You may answer.                                    12:38:27

13               THE WITNESS:     Correct.                          12:38:35

14     BY MS. BOWMAN:

15          Q.   Okay, and so the statement in paragraph 66,        12:38:36

16     which I'm going to read into the record so it can be         12:38:40

17     translated if there's no objection from counsel.             12:38:43

18               MR. MCDONOUGH:     There isn't.                    12:38:46

19               MS. BOWMAN:    Okay.    So the statement that      12:38:47

20     (as read):

21               Upon information and belief, Sam Yang Korea        12:38:49

22     arbitrarily increased the prices of its products it          12:38:51

23     charged the plaintiffs in direct breach of the               12:38:55

24     distribution agreement.                                      12:38:57

25          Q.   That paragraph is incorrect in light of the        12:39:00

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 1     some instances through the negotiations, you were             12:51:05

 2     able to obtain a lower price, and in those instances          12:51:08

 3     you agreed to the pricing, correct?                           12:51:12

 4                 MR. MCDONOUGH:     And this -- I'd object to      12:51:35

 5     "negotiations" and "negotiate," etc., in this context         12:51:36

 6     as vague and ambiguous.                                       12:51:38

 7                 THE WITNESS:     Well, even though the            12:52:08

 8     discussions were held, since we are the weaker party,         12:52:09

 9     at the end, we must abide by Sam Yang Korea's                 12:52:13

10     requests.                                                     12:52:18

11     BY MS. BOWMAN:

12          Q.     Okay, I understand that, but I was trying to      12:52:23

13     ask about the two different situations that you               12:52:29

14     mentioned a moment ago in your previous answer, and           12:52:32

15     if I understand correctly, you testified that there           12:52:34

16     were some times when you would suggest a different            12:52:38

17     price and Sam Yang Korea who lower the price, and you         12:52:42

18     would come to an agreement about what that price              12:52:46

19     should be; is that correct?                                   12:52:49

20          A.     Yeah.                                             12:53:24

21                 MR. MCDONOUGH:     Now, hold on, I would object   12:53:25

22     to "suggest" and "agree" in this particular context           12:53:27

23     as vague and ambiguous.                                       12:53:29

24                 MS. BOWMAN:    And I'm just using the terms       12:53:30

25     that were just used.                                          12:53:31

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 1                  You may answer.                                   12:53:43

 2                  MS. SHIN:   He may answer.                        12:53:45

 3                  THE INTERPRETER:        I'm getting there.

 4                  THE WITNESS:     Yes.                             12:53:46

 5     BY MS. BOWMAN:

 6           Q.     Okay, and there were other situations where       12:53:47

 7     you proposed a lower price and Sam Yang Korea refused          12:53:49

 8     the lower price but in those instances you ultimately          12:53:52

 9     accepted the price they proposed because you felt              12:53:57

10     like you didn't have a choice, correct?                        12:54:00

11           A.     Correct.                                          12:54:27

12           Q.     Even though you felt it was unfair because        12:54:28

13     you were the weaker party?                                     12:54:30

14           A.     Correct.                                          12:54:40

15           Q.     And even though you thought that it breached      12:54:40

16     the terms of the distribution agreement, correct?              12:54:43

17                  MR. MCDONOUGH:     Misstates testimony.           12:54:54

18     Evidence, the amended complaint and theories there             12:54:55

19     in.                                                            12:54:59

20                  You may answer.     Are.                          12:54:59

21                  THE WITNESS:     Well, what should I answer?      12:55:12

22                  MR. MCDONOUGH:     Good question.                 12:55:14

23     BY MS. BOWMAN:                                                 12:55:15

24           Q.     Well, the question I asked was, just to read      12:55:15

25     back:      So there were other situations where you            12:55:22

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 1     can get it over with.                                        13:00:59

 2               MR. MCDONOUGH:     Okay.                           13:00:59

 3     BY MS. BOWMAN:                                               13:01:00

 4          Q.   So, Mr. Lee, you just testified that there         13:01:01

 5     were other situations where you proposed a lower             13:01:04

 6     price to Sam Yang Korea but they refused it, and             13:01:06

 7     you -- you accepted their price proposal anyway, even        13:01:11

 8     though you thought it was unfair because they were           13:01:14

 9     the weaker party, and my question is, you accepted it        13:01:18

10     even though you thought it breached the terms of the         13:01:22

11     distribution agreement, correct?                             13:01:26

12               MR. MCDONOUGH:     It's asked and answered,        13:02:02

13     it's overbroad, vague and ambiguous, and the                 13:02:03

14     incorporation of the term "breached" misstates prior         13:02:05

15     testimony, evidence, and facts and theories and              13:02:09

16     allegations in the Complaint.                                13:02:10

17               You may answer.                                    13:02:11

18               THE WITNESS:     Yes.                              13:02:37

19               MS. BOWMAN:    Okay, and Counsel, for the          13:02:39

20     record, I'm not referring to your theories of the            13:02:41

21     case, and it's not my job to present them, so to the         13:02:43

22     extent you think they're misrepresented, that's not a        13:02:47

23     relevant objection.                                          13:02:50

24               MR. MCDONOUGH:     May the record reflect that     13:03:06

25     I disagree.                                                  13:03:07

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 1               MS. BOWMAN:   Okay, just a couple more              13:03:11

 2     questions.   Or do you want to take a break?       Okay,      13:03:12

 3     you know what, let's break for lunch.                         13:03:15

 4               VIDEO OPERATOR:    We're now going off camera,      13:03:19

 5     the time is 1:03 p.m.                                         13:03:21

 6

 7               (Whereupon at the hour of 1:03,

 8               P.M., a luncheon recess was taken.

 9               The deposition was resumed at 2:15

10               P.M., the same persons being

11               present.)                                           14:15:24

12                                                                   14:15:24

13               VIDEO OPERATOR:    We are now back on camera.       14:15:40

14     The time is 2:15 p.m.                                         14:15:42

15     BY MS. BOWMAN:

16          Q.   Mr. Lee, are you ready to proceed?                  14:15:47

17          A.   Yes, I am.                                          14:15:48

18          Q.   Okay, so I'm going to switch topics a little        14:15:49

19     from where we left off before lunch.                          14:15:52

20          A.   Okay.                                               14:15:59

21          Q.   Okay, and it is your understanding that Sam         14:16:00

22     Yang USA had exclusive rights to distribute in Mexico         14:16:03

23     under the distribution agreement, correct?                    14:16:06

24          A.   Correct.                                            14:16:27

25          Q.   But the last time that Sam Yang USA actually        14:16:27

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 1     shipped to Mexico was, I believe you said                    14:16:31

 2     approximately ten years ago; is that correct?                14:16:32

 3          A.   Correct.                                           14:16:49

 4          Q.   Okay, and since that time, you haven't             14:16:51

 5     actively sought to develop any new accounts in               14:16:53

 6     Mexico, correct?                                             14:16:56

 7               MR. MCDONOUGH:     Vague, ambiguous, overbroad.    14:17:06

 8               You may answer.                                    14:17:12

 9               THE WITNESS:     We made efforts, and we have      14:17:16

10     continued to made efforts.                                   14:17:18

11     BY MS. BOWMAN:

12          Q.   What kind of efforts did you make?                 14:17:21

13          A.   Well, in order to assess the situation, we         14:17:40

14     continue to send samples to those who we were doing          14:17:45

15     business and with those who we weren't doing business        14:17:51

16     with.                                                        14:17:55

17          Q.   And when you say those you were doing              14:17:56

18     business with or those you weren't, are you referring        14:18:00

19     to wholesalers or other distributors or some other           14:18:02

20     kind of entity?                                              14:18:07

21               THE INTERPRETER:      Okay, I'd like to clarify    14:18:47

22     one thing.                                                   14:18:49

23               THE WITNESS:     I've sent samples through         14:19:03

24     wholesalers located in Mexico, as well as sent small         14:19:05

25     amounts of shipments to those small businesses that          14:19:12

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 1                MR. MCDONOUGH:     Vague, ambiguous as to            14:29:59

 2     "permitted."                                                    14:30:01

 3                You may answer.                                      14:30:02

 4                THE WITNESS:     Are you referring to the            14:30:15

 5     matter that we exported goods to Guatemala?                     14:30:17

 6     BY MS. BOWMAN:                                                  14:30:21

 7          Q.    Yes.                                                 14:30:21

 8          A.    My understanding of that, as to that is              14:30:28

 9     there had been discussions with Sam Yang in regards             14:30:31

10     to that.                                                        14:30:35

11          Q.    But it's not written into the distribution           14:30:35

12     agreement, correct?                                             14:30:37

13          A.    My understanding is that, in order to cover          14:31:05

14     North America and all the way to Guatemala, I believe           14:31:10

15     that discussion had been held with Sam Yang in                  14:31:18

16     regards to Guatemala regarding, for now, starting               14:31:25

17     from there.                                                     14:31:36

18          Q.    Okay, I'm -- I'm not quite sure I understood         14:31:38

19     your response, so I'm going to try to confirm.         You      14:31:43

20     agree that the distribution and sales agreement does            14:31:51

21     not say that Sam Yang USA is authorized to sell in              14:31:53

22     Guatemala, correct?                                             14:32:00

23                MR. MCDONOUGH:     Document speaks for itself,       14:32:27

24     calls for a legal conclusion.                                   14:32:31

25                You may answer.                                      14:32:32

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 1                 THE WITNESS:     As to the legal aspects I do            14:32:58

 2     not know, but apart from the agreement, it is true                   14:33:01

 3     that discussion was held in regards to that with Sam                 14:33:09

 4     Yang before it was exported.                                         14:33:14

 5     BY MS. BOWMAN:

 6          Q.     Okay, so you believe that you had a right to             14:33:18

 7     export to Panama based on discussions that you had                   14:33:20

 8     with Sam Yang Korea outside of the written                           14:33:24

 9     distribution agreement, correct?                                     14:33:27

10                 MS. BOWMAN:    Did I say Panama?          I'm sorry, I   14:33:35

11     meant Guatemala.                                                     14:33:38

12                 THE INTERPRETER:      Should I replace that and          14:33:41

13     re-ask or --                                                         14:33:44

14                 MS. BOWMAN:    Yes, please, if there's no                14:33:45

15     objection from counsel.                                              14:33:46

16                 MR. MCDONOUGH:     No, no objection.                     14:33:47

17                 THE WITNESS:     That is my -- that is my                14:34:21

18     understanding.      However, I was not in charge at the              14:34:24

19     time.     It was another department who took care of                 14:34:32

20     that.                                                                14:34:36

21     BY MS. BOWMAN:

22          Q.     Okay.                                                    14:34:38

23                 MR. MCDONOUGH:     Were you finished?                    14:34:39

24                 THE WITNESS:     Well, thereafter year 2003,             14:35:29

25     our manufacturing plant closed down, so we tried to                  14:35:33

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 1     get products from Sam Yang to export to Guatemala, so        14:35:40

 2     we got pricing from them.      However, the price did not    14:35:45

 3     meet our requirement; therefore, we got the product          14:36:19

 4     from union as an OEM product, and we exported those          14:36:24

 5     product to Guatemala until 2008.                             14:36:32

 6     BY MS. BOWMAN:

 7          Q.   Okay, and when did you first begin exporting       14:36:37

 8     products to Guatemala?                                       14:36:39

 9          A.   I believe that was in 19194.                       14:36:51

10          Q.   So from 1994 to 2008, Sam Yang USA was             14:37:00

11     exporting products to Guatemala; is that correct?            14:37:05

12          A.   Correct.                                           14:37:21

13          Q.   Okay, so other than Guatemala, United              14:37:22

14     States, Mexico, and Canada, from 1997 to 2016, were          14:37:27

15     there any other countries to which Sam Yang USA              14:37:34

16     exported Sam Yang products?                                  14:37:39

17          A.   Three countries:     Mexico, Canada, and           14:37:48

18     Guatemala.                                                   14:38:10

19          Q.   And the United States?                             14:38:11

20          A.   Well, here we have -- we -- manufacturing          14:38:19

21     plant.                                                       14:38:25

22          Q.   Until 2003, correct?                               14:38:25

23          A.   Correct.                                           14:38:30

24          Q.   Okay.   And regarding the samples that you         14:38:31

25     sent to Mexico do you have any documents or                  14:39:04

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 1     correspondence reflecting those samples that you sent          14:39:08

 2     to wholesalers in Mexico?                                      14:39:11

 3          A.   I don't have anything like that.         It was      14:39:28

 4     sent through a small company -- sent to a small                14:39:57

 5     company through a wholesaler located in L.A.                   14:40:02

 6     However, we were told that the taste was not                   14:40:07

 7     appropriate, and therefore, they did not show much             14:40:15

 8     interest in products from Korea.                               14:40:21

 9          Q.   Okay, so other than the one shipment of              14:40:24

10     approximately ten years ago, Sam Yang USA or Roypac            14:40:27

11     didn't directly have any contact with any wholesalers          14:40:32

12     or distributors in Mexico, correct?                            14:40:35

13          A.   Correct, not directly.                               14:40:54

14          Q.   Okay, and you stated that you didn't visit           14:41:04

15     Mexico between 1997 and 2016, but did anyone else at           14:41:07

16     Roypac or Sam Yang USA go to Mexico on behalf of Sam           14:41:14

17     Yang USA or Roypac during that period?                         14:41:18

18          A.   I'm not sure whether anyone from Sam Yang            14:42:05

19     USA's production part had visited, but as to SC                14:42:10

20     Continent, we did not visit.                                   14:42:18

21          Q.   SC Continent was only responsible for the            14:42:28

22     import business, correct, and Sam Yang USA for the --          14:42:31

23     for the domestic business?                                     14:42:35

24          A.   Correct.                                             14:42:58

25          Q.   So Sam Yang USA didn't have say reason to go         14:42:59

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 1     from the prior one, which was not limited in time.           14:48:39

 2               THE INTERPRETER:      I'd like to clarify one      14:49:31

 3     thing.                                                       14:49:33

 4               THE WITNESS:    My understanding -- my             14:49:36

 5     understanding is that we did business with a company         14:49:49

 6     called Averaterra, located in Mexico from, '94 to            14:49:54

 7     2006, and that business had been done continuously in        14:50:03

 8     that period, and then I believe there would have been        14:50:12

 9     business plan as well as someone had visited.                14:50:15

10     However, it was -- that was taken care of by another         14:50:18

11     party so I don't know for sure.                              14:50:27

12     BY MS. BOWMAN:

13          Q.   Okay, is it fair to say that you've never          14:50:29

14     seen a written business plan for sales and                   14:50:32

15     distribution in Mexico from Roypac or Sam Yang USA?          14:50:34

16          A.   Correct.                                           14:51:02

17                                                                  14:51:10

18               (Whereupon a discussion was held off

19               the record.)

20     BY MS. BOWMAN:                                               14:51:25

21          Q.   Mr. Lee, is it also fair to say that you've        14:51:25

22     never written or seen a written business plan for            14:51:27

23     Canada from Roypac or Sam Yang USA?                          14:51:30

24          A.   Correct.                                           14:51:59

25          Q.   Okay.   And is it also the case that Sam Yang      14:52:00

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 1     USA did not ship to Mexico after 2001 -- I'm sorry,             14:52:05

 2     strike that.                                                    14:52:16

 3               Is it also true that Sam Yang USA did not             14:52:17

 4     ship to Canada after 2001?                                      14:52:21

 5          A.   We had been continuing to export our                  14:53:28

 6     products to Toronto from mid 1980s.          Products came --   14:53:30

 7     that came from Korea went to Torrance and products              14:53:38

 8     that were manufactured by Sam Yang USA factory were             14:53:42

 9     exported through safe way to Canada from 1996 to                14:53:51

10     2002.                                                           14:53:57

11          Q.   Okay, so is it correct that after 2002, Sam           14:54:01

12     Yang USA did not ship any products to Canada?                   14:54:04

13          A.   Well, until 2001, through Roypac of Sam               14:54:55

14     Yang, we exported, and then from 1995 through a                 14:55:03

15     company named BY, located in Vancouver, we were                 14:55:11

16     exporting.     However, we didn't have enough product to        14:55:16

17     fill the container; nor new products came, and also,            14:55:21

18     the products did not taste good, so we discontinued.            14:55:27

19               And after 2001, I think midst of that year,           14:55:43

20     maybe from July, Sam Yang Korea started to export               14:55:51

21     directly, so we took our hands off of it.                       14:55:56

22          Q.   Okay, so you stopped exporting in 2001,               14:56:01

23     correct, to Canada?                                             14:56:04

24          A.   Correct.                                              14:56:09

25          Q.   Okay.    And that was because you found out in        14:56:09

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 1     2001 that Sam Yang Korea was exporting to Canada?                 14:56:14

 2               MR. MCDONOUGH:     Misstates testimony.       It's      14:56:29

 3     also argumentative as phrased, insofar as the witness             14:56:30

 4     identified other factors.                                         14:56:33

 5               You may answer.                                         14:56:34

 6               MS. BOWMAN:    That is not an appropriate               14:56:35

 7     objection.                                                        14:56:36

 8               You may answer.                                         14:56:54

 9               THE WITNESS:     Well, in year 2001, we got             14:57:09

10     pressured from Korea about Canada, so we had no                   14:57:13

11     choice but permitted exporting to Canada.                         14:57:22

12     BY MS. BOWMAN:

13          Q.   Okay.   So in 2001, when you found out that             14:57:32

14     Sam Yang Korea was exporting Canada, did you believe              14:57:47

15     that that was a violation of Sam Yang USA's rights                14:57:49

16     under the distribution agreement?                                 14:57:53

17               MR. MCDONOUGH:     Vague, ambiguous, overbroad,         14:58:18

18     particularly as to time.      Also calls for a legal              14:58:21

19     conclusion.                                                       14:58:24

20               You may answer.                                         14:58:24

21               THE WITNESS:     We were pressured from Korea           14:59:09

22     in year 2001, so we had permitted Korea to export to              14:59:10

23     Canada for one year, and had thought that that supply             14:59:18

24     will come back to us after one year.           However, we        14:59:24

25     continued to be pressured, so we really did not know              14:59:29

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 1     what to do after that.                                        14:59:36

 2     BY MS. BOWMAN:

 3          Q.    So Sam Yang Korea continued to export to           14:59:40

 4     Canada after the one year that you permitted?                 14:59:43

 5                MR. MCDONOUGH:     Misstates testimony.            14:59:56

 6                You may answer.                                    14:59:57

 7                THE WITNESS:     Sam Yang Korea continued to       15:00:31

 8     pressure ignoring the agreement, and they continued           15:00:33

 9     to export the product and they pressured us, so.              15:00:46

10                THE INTERPRETER:      Let me clarify.              15:00:53

11                THE WITNESS:     So the situation was that we      15:00:59

12     could not get into it again.                                  15:01:02

13     BY MS. BOWMAN:

14          Q.    So -- okay, so Sam Yang Korea continued            15:01:11

15     exporting after 2002, and you were -- I'm sorry,              15:01:14

16     strike that.                                                  15:01:23

17                So you were aware that Sam Yang Korea was          15:01:24

18     continuing to export after 2002, but you felt                 15:01:26

19     pressure not to do anything about it; is that                 15:01:30

20     correct?                                                      15:01:59

21                MR. MCDONOUGH:     Misstates and                   15:01:59

22     mischaracterizes testimony.                                   15:02:00

23                You may answer.                                    15:02:01

24                THE WITNESS:     The person who applied the        15:02:31

25     pressure was the chairman who was the father of the           15:02:34

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 1     president, so due to the personal relationship,              15:02:40

 2     although I just said we should sue, since she was the        15:02:48

 3     daughter, she did not lodge -- lodge a lawsuit.              15:02:54

 4     BY MS. BOWMAN:

 5          Q.   And when was that?                                 15:03:04

 6          A.   That continued from 2001 on wards.                 15:03:06

 7          Q.   But you didn't sue until 2015, correct?            15:03:13

 8          A.   Correct.                                           15:03:23

 9               MS. BOWMAN:   Sorry, can we go off the record      15:03:59

10     for one minute.                                              15:04:01

11               VIDEO OPERATOR:    We're now going off camera.     15:04:02

12     The time is 3:04 p.m.                                        15:04:05

13                                                                  15:06:06

14               (Recess taken.)

15                                                                  15:25:40

16               VIDEO OPERATOR:    We're now back on camera.       15:25:50

17     The time is 3:26 p.m.                                        15:25:51

18     BY MS. BOWMAN:                                               15:25:57

19          Q.   Mr. Lee, do you contend that Sam Yang Korea        15:26:02

20     engaged in parallel exporting of Sam Yang products to        15:26:06

21     the east coast in violation of distribution and sales        15:26:10

22     agreement?                                                   15:26:27

23               MR. MCDONOUGH:    Vague, ambiguous, overbroad,     15:26:35

24     potentially beyond the scope of the PMK designation          15:26:38

25     of this witness.                                             15:26:44

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 1               MR. MCDONOUGH:     Just so the witness             15:35:17

 2     understands, I recognize that "a second" is a figure         15:35:18

 3     of speech.                                                   15:35:21

 4               But please don't feel rushed in reviewing          15:35:22

 5     this document.    There is no question pending, sir.         15:35:24

 6     There's no question pending.                                 15:35:41

 7               THE WITNESS:     As to this it's not regarding     15:35:44

 8     Nagasaki Champong but some other hot --                      15:35:46

 9     BY MS. BOWMAN:                                               15:35:49

10          Q.   Okay, well, so this item does mention              15:35:49

11     Nagasaki Champong in number 3 but that -- my question        15:35:53

12     was a little bit different.                                  15:35:55

13               Under number 3, which says (as read):              15:35:57

14               Matters related to import of products for          15:35:59

15     domestic use into the US.                                    15:36:01

16               The first sentence says (as read):                 15:36:03

17               Products for Korean consumption have been          15:36:06

18     imported and sold in a large volume in the middle and        15:36:10

19     eastern regions of the US since about ten years ago.         15:36:13

20     We have asked your company to stop your import tens          15:36:16

21     of times but it hasn't been corrected up to now.             15:36:19

22               So this letter would suggest that since at         15:36:23

23     least the mid 2000s, SC Continent Corp., or Sam Yang         15:36:27

24     USA was aware of products of Sam Yang being sold on          15:36:35

25     the east coast, correct?                                     15:36:38

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 1               MR. MCDONOUGH:     Lacks foundation so far as            15:37:32

 2     the witness did not author the document.            Calls for      15:37:33

 3     speculation.     Misstates the document.                           15:37:35

 4               You may answer if you're able to.                        15:37:39

 5               THE INTERPRETER:      I will complete my                 15:37:42

 6     questioning 'cause I wasn't done yet, so.                          15:37:44

 7               THE WITNESS:     No one knew where the products          15:38:37

 8     were being imported from, because Korea repeatedly                 15:38:39

 9     told us that they did not know who the source were.                15:38:44

10     BY MS. BOWMAN:

11          Q.   Okay, but you did know that products were                15:38:50

12     coming in and being sold on the east coast of the                  15:38:52

13     United States that you did not export, correct?                    15:38:57

14               MR. MCDONOUGH:     Vague as to "export," the             15:39:13

15     context here.                                                      15:39:16

16               THE WITNESS:     Correct.                                15:39:22

17     BY MS. BOWMAN:

18          Q.   And as of 2014, you'd known about it for                 15:39:23

19     approximately ten years, if Mr. Woon-bae Yeo's letter              15:39:25

20     is correct, right?                                                 15:39:30

21               MR. MCDONOUGH:     Vague and ambiguous as to             15:39:51

22     "it."                                                              15:39:52

23               THE WITNESS:     We knew about it, but it had a          15:40:22

24     sticker on the domestic consumption products, so no                15:40:25

25     one knew who was bringing these in.                                15:40:32

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 1     to him, "That wasn't my question," I believe it              15:52:58

 2     confuses the witness.                                        15:52:59

 3                MS. BOWMAN:   So I actually wasn't finished       15:53:37

 4     before Counsel's objection.                                  15:53:39

 5          Q.    And just to simplify this, is it correct          15:53:41

 6     that it was around 2003 or 2004 when you first               15:53:44

 7     learned from wholesalers on the east coast that there        15:53:47

 8     were products appearing with the domestic consumption        15:53:50

 9     sticker?                                                     15:53:53

10          A.    Correct.                                          15:54:12

11          Q.    Okay.   And you mentioned that there were two     15:54:13

12     companies, two companies I believe that were selling         15:54:22

13     products with these domestic consumption stickers;           15:54:25

14     what were those two companies, if you recall?                15:54:30

15          A.    At the time Lee Brothers and Wang Global New      15:55:01

16     York, and salespeople from that company called us.           15:55:07

17                MS. BOWMAN:   Okay, can we take a short           15:55:32

18     break?                                                       15:55:34

19                VIDEO OPERATOR:    We're now going off camera.    15:55:38

20     The time is 3:55 p.m.                                        15:55:39

21

22                (Recess taken.)

23                                                                  16:19:08

24                VIDEO OPERATOR:    We're now back on camera.      16:19:16

25     The time is 4:19 p.m.                                        16:19:17

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1      STATE OF CALIFORNIA               ) ss.
2      COUNTY OF LOS ANGELES             )
3
4                  I, Lori M. Barkley, CSR No. 6426, do hereby
5      certify:
6                  That the foregoing deposition testimony
7      taken before me at the time and place therein set
8      forth and at which time the witness was administered
9      the oath;
10                 That the testimony of the witness and all
11     objections made by counsel at the time of the
12     examination were recorded stenographically by me, and
13     were thereafter transcribed under my direction and
14     supervision, and that the foregoing pages contain a
15     full, true and accurate record of all proceedings and
16     testimony to the best of my skill and ability.
17                 I further certify that I am neither counsel
18     for any party to said action, nor am I related to any
19     party to said action, nor am I in any way interested
20     in the outcome thereof.
21                 IN WITNESS WHEREOF, I have subscribed my
22     name this June day of 28th, 2017.
23
24
                   <%signature%>
25                 LORI M. BARKLEY, CSR No. 6426

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                          EXHIBIT 14
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                I       ROYPAC,INC. dba S.C. CONTINENT
               10       CORPORATION

            ll                             UNITED STATES DISTRICT COURT
            12                            CENTRAL DISTRICT OF CALIFORNIA
           l3                                         WESTERN DIVISION

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                                                       Ro YP A c'
 ty        I5           f'+y Jrf
                              È'g J 8doft    ìi#*tt                      Case      No. 2:I5-cv-07697
                        CORPORATION;
           l6
                                                                         E&ST AÀ4ENDED COMPLAINT
                                                                         FOR DAMAGES AND
                                   PIaintiffs,                           INJTINCTIVE RELTEF FOR:
           l7
                                                                            r) BREACH OF WRTTTEN
           l8                vs.                                               -   CONTRACT;
           t9           SAMYANG FOODS CO., LTD.; and                        2) ÞBEACH OF COVENANT OF
                                                                               gooD FArrH         --
                        Does I through 20, inclusive                                                    AND FArR
           20                                                                      DEAIING;
          2t                                                               3   ) A¡ITTCTPATORY BREACH
                                   Defendants.
                                                                                 OF WRiTTEN CONTRAET;
          )")
                                                                           4) PRELTMINARY
          )1                                                                  TNJIINCTION;
          24                                                               5) TRADEMARK
                                                                                   TNFRINGEMENT;
          25
                                                                           6) VI-OIATTON OF LANHAM
          26                                                                       ACT $ll14, t5 u.s.c. $il           14
          2l                                                               7) Vr_o_LATrON OF LANHAM
\-                                                                            ACT ga3(a), i5 U.S.C. grrzS¡a)
          28


                                                                      AMENDED          PLAINT            NO. 2: t5-CV-07697



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       1                                  I.     INTRODgCTTOÐI

C      1          l.     PlaintifÏs SAM YANG (U.S.A.), [NC' ("SYUSA") and ROYPAC'
       3    INC. dba S.C. CONTINENT CORPORATION ("Roypac") (collectively,
       4    "Plaintiffs") bring this action against Defendant SAN{YANG FOODS CO., LTD.
       5    ("Defendant" or "samyang Korea") for damages and injunctive relief arising out of
       6    Defendant's continued breach of a distribution and sales agreernent between
       7    Plaintiffs and Defendant.
       I          2,     The distribution and sales agreement was entered into as of November

       I    29,1997 between SYUSA and Samyang Korea, and granted, among other rights,
      10    SYUSA an exclusive distributorship to sell all of Samyang Korea's products
      ll    within North America, including the United States, Canada, and Mexico (the
      l't   "Distribution Agreement"). Samyang Korea was specifically prohibited from
      l3    manufacturing or selling any of Samyang Korea's products directly or indirectly
      l4    into North America" but Samyang Korea has breached the Distribution Agreement.
c     t5    Samyang Korea's breach has caused significant damage to Plaintiffs. A true and

      l6    correct copy of the Distribution Agreement is attached hereto as Exhibit        A'
      t7          3,     The Distribution Agreement does not have a termination clause and
      r8    does not allow the parties to unilaterally-terminate the agreement for any reason.

       r9   However, on April 21,2016, Samyang Korea sent to SYUSA a termination notice
      20    by e-mail stating that Samyang Korea would be terminating the Distribution
      zl    Agreement effective August 1,2016. Such actions would irreparably injure
      )')   Plaintiffs since it would permanently damage or destroy the distribution channels
      23    established by Plaintiffs and would cost numerous employees their jobs and

      24    paychecks.

      25          4.     SYUSA is the sole and rightful owner of all "Samyang" trademarks
      26    and relared intellectual property in the United States. SYUSA has been using these

      2l    trademarks continuously during its regular course of business. However, Samyang
C     28    Korea has illegally registered a "Samyang Foods" trademark without SYUSA's


                                                   htRS t'   MbNDED COMPLAIN I, CASE NO.2:15 -Çv -tJ7b9't
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                     I     authorization or consent, and has used such trademarks to
                                                                                     conduct business in the
     F
     L-             )      united states also without the consent of syusA, which owns the exclusive
                    J      distribution rights to all of samyang Korea's products in the
                                                                                          united states. An
                    4      immediate preliminary and permanent injunction is needed
                                                                                        to prevent            the
                    5      continuing infringement of   syusA's        trademarks by samyang Korea, and             SyusA
                 6         also seeks monetary relief including attorneys' fees.

                 7                  5.Plaintiffs seek the recovery of damages and injunctive relief
                                                                                                    to
                 8        prevent Samyang Korea from continued breach of the
                                                                               Distribution Agreement, and
                 9        an immediate injunctive relief preventing samyang Korea
                                                                                    from unilaterally
               l0         terminating the Distribution Agreement and causing irreparable
                                                                                         injury to plaintiffs.
               ll                                 il.    JURISDICTION AND VENUE
             l2                  6.    venue is proper in this court because Defendant is an arien
            l3            corporation and thus may be sued in any judicial disrrict as provided
                                                                                                in 2g u.s.c.             g
                          l39l(c)(3); Brunette Machine worla, Ltd. v. Kockum Industries, Inc. (lg7z)
 c          l4
            15            us 706, 714,92 S.Ct. 1936, 1940.
                                                                                                        406


            t6                  7   '  Venue is also proper in this Court as a substantial part
                                                                                                of the events or
           17            omissions that directly give rise to the claims contained
                                                                                   herein occurred in this
           18            District. 28 u.s.c. 91391(bX2);Jenkins Brick co. v. Bremer(l
                                                                                            tú cir. 2003) 3zt
           l9            F3d 136ó, 1372; Bates v. C&s Adjusters, Inc. (Znd cir. lgg2) gg0
                                                                                              Fzd g65, gó7;
           20            Myers v. Bennett Law Afices    (g',h   cir.200l)   23g F3d r06g, 1076. The
           /.1           Distribution Agreement was signed by       syusA in califomia, syuSA      was located
          22              in Califomia during negotiations of the terms of the Distribution
                                                                                            Agreement, and
          23             performance of the terms of the Ðistribution Agreement
                                                                                    was to be completed in
          4l             california. Each and every breach of the Distribution Agreement
                                                                                             affected
          25             commerce in califomia because the goods were to
                                                                              be shipped to syusA, located
          26             in Los Angeles county in the State of Califomia.
ê         27                   8'     Venue is also proper in this Court because the Distribution
\-                                                                                                 Agreement
          28             contains a choice of law provision that sets the gover.ning
                                                                                     law to the laws of the

                                                                        I

                                                                   R
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                       state of califomia. Jacksonv. payday Fin'|, LLC q7,r,cir. z0l4)764F3d76s,77s
                 2                                          ilI.      PARTIES
                 3              L  Plaintiff sYUSA is a corporation organized, existing, and doing
                 4     business under the laws of Califomia with its principal place of business
                                                                                                 located in
                 5     santa Fe Springs, california. syusA holds the rights to an exclusive

                6     distributorship rights agreement to distribute Samyang Korea's products
                                                                                                in North
                a
                      America, has not assigned the distribution rights, and continues to hold
                                                                                               such rights
                I     to this day.

                I               10.Plaintiff Roypac is a corporation organized, existing, and doing
            l0        business under the laws of Califomia with its principal place of
                                                                                       business located in
            II        santa Fe springs, califomia. Roypac is a wholly-owned subsidiary of
                                                                                              syusA
            t2        which exercises the exclusive distributions rights on behalf of SyuSA
                                                                                            as
            l3        SYUSA's agent and which purchased and imported Defendant's products to North

 F         l4         America' Roypac operates under a DBA registered as S.C. Continent Corporation,
 r¡,       l5               I   1.    Defendant samyang Korea is a company headquartered in seongbuk_
           lfi        Gu, seoul, Korea, and is a manufacturer of a variety of food products, with
                                                                                                  a
           l7        significant portion of the procluct being instant noodles, also known as
                                                                                              ramen,
           18        Samyang Korea manuåctured and sold its producrs to Plaintiffs for
                                                                                           distribution
           l9        within North America, including the United States.
           20                                       ry.   GENERAL FACTS
           2t               12,  samyang Korea manufactures a large variety of food products
           ¿¿        including numerous variations of instant râmen for sale in Korea
                                                                                      and overseas.
           23        Pursuant to the terms of the Distribution Agreernenr, SYUSA
                                                                                   holds the rights to be
          24         the sole and exclusive distributor of ali of Samyang Korea's products
                                                                                                   in North
          25         America, including the United States, Canacla, and Mexico. SYUSA,
                                                                                           through its
          26         agent Roypac, imports samyang Korea's prorducts for sale
                                                                                 in North America
          27         pursuant to a price sheet that is provided for sarnyang Korea's
\-                                                                                   products. when
          28         SYUSA places an order for goods, Samyang Korea must use best efforts
                                                                                               to fulfill

                                                                     3-
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                    the orders for impor-t and distribution by SYUSA in its North America district.
 l\-
 ^            2    Furthermore, any goods that samyang Korea develops in Korea must be
              3    conformed to meet the strict health standards established by the United States Food
              4    and Drug Administration      ("FDA")       so that   syusA   may import and sell those
              5    products within the United States.

             ó              13.    Samyang Korea is contractually prohibited from selling its product
             1
                   into the North American market, either directly or indirectly, other than through
             I     SYUSA. SYUSA has never waived this right.
             I        A. Salçs of Products to Third Parties
         10                 14.    Starting in or around July 2014,      sìfusA became aware of samyang
         ll        Korea's breach of the Distribution Agreement over a series of transactions
         t2        whereby Samyang Korea had exported samyang Korea's products to a third party
         l3        çompany named ENI DIST, Inc. in Baltimore, Maryland without SyusA's
         t4       knowledge or approval. SYUSA thereafter discovered that samyang Korea had
tt-
        15        started exporting goods to ENI DIST, Inc., previously known as Seohae Fishery
        16        usA, Inc., beginning     as early as   November 10, 2a07, and possibly even earlier.
        L7        ENI DIST, Inc. and seohae Fishery usA, Inc. are collectively refered to as ENI
        l8        herein.

        l9                  15.   SYUSA never waived any rights held by           syusA   under the
        20        Distribution Agreement. In par-ticular, SYUSA has never waived its rights to be
       )t         the exclusive distributor of Samyang Korea's products in all of North America.
       22                l6'    The Distribution Agreement specifically states that "samyang Korea
       23         shall not directly or indirectly manufacture or sell any of the products into
                                                                                                the
       ¿+         Territories except through [SYUSA]" with the Territories being defined as
                                                                                            United
       25         States, Canada, and Mexico.

       26               17   .    on November 10, 20a7, a shipment of samyang Korea,s products
                  arrived in Baltimore, specifically containing2,560 cartons of instant ramen.
t-     27

       2,9        SYUSA did not authorize this imporr and distribution.

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                                                               IRST
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                 I           18.     starting from November 10, 2007 through at least Jury 12,               z}ls,
  c              2    Samyang Korea exported goods to ENI for sale and distribution in the United

                 3    States without SYUSA's knowledge or authorization.             ENI received at least 72
                 4    individual and unique shipments/orders for sale within the United States in direct
                 5    breach of the Distribution Agreement.

                 6          19.      On or about June 2012 SYUSA discovered that Samyang Korea had
                 7    breached the Distribution Agreement over a series of transactions by exporting

                 8    products into the united States by way of another company based in the New

                 I    York/New Jersey area. T.up Trading, Inc. (and possibly a related company
            l0       Express2l, Inc,) started importing sarnyang Korea's products into the New
            il       York/New Jersey area starting in November 2009 and continued through at least
            t2       January    3,2015. These two companies received approximately 2g separate
            t3       shipments starting from November 2009 through January 2015.

 t;         t4              2a.     SYUSA has also discovered recently that samyang Korea sold its
 \-         t5       products in the United Srates through two other companies. Starting on January
            l6       24,2012, and possibly earlier, A2M u.s.A., Inc. and pioneer Logistics, Inc.
            t7       imported samyang Korea's products into the New yorvNewJersey area. It is
            l8       believed that these two companies received at least 21 separate shipments starting
            r9       from January 2012 through February 2013,
            20             2l   -   On information and belief, Samyang Korea has distributed for sale its
            21       products to other companies through other ports in the United States, including
           22        Washington,
           23              22.      None of the sale of product directly and./or indirectly by Samyang
           24        Korea into the united States was aurhorized or consented to by               syusA,
           25              23.      SYUSA has also just discovered that Samyang Korea has distributed
           26        product to Mexico in 2008, in direct breach of the Distribution Agreement and

I\-        27        which SYUSA never authorized or consented to. SYUSA is the sole and exclusive
           28        distributor of all products in North America, including Mexico.

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                                                                 I   AMI,NDþL¡ COM      lN   I.   UASU N(). 2:15-CV-07697
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                 I            24.   samyang Korea has also distributed product for sale in canada
     F
     (.-         ¿     through various other companies, all without SYUSA's authorization or
                                                                                                              consent.
                 3     The Distribution Agreement grants SYUSA sole and exclusive distribution
                 4     privileges through all of North America, including Canada.
                 5           25'    SYUSA recently discovered that Samyang Korea also distributed
                 6    significant amounts of its product to Canada through various companies,
                                                                                              including
                 7    as an example only and with no limitations Ho-won Trading
                                                                                   canada, pan Asia
                 I    Food Co., Ltd., Total Express He, and Suhkyong Canada Ltd.
                 9           26.samyang Korea began shipping its products into canada srarting on
            l0        December 26,2006 to Suhkyong canada Ltd., and possibly even
                                                                                  earlier.                    slfusA
            ll        did not have know or authorize any of samyang Korea's shipments
                                                                                      of products
            t2        into Canada for the companies listed above.
            l3           B. FQA Rçgulations

 l^
            l4              27.     when samyang Korea releases              a new product in Korea, the news          of
 \.         l5        the new product travels very fast to North America, whether by word
                                                                                          of mouth,
            16       social media, or the viewing of advertisements in TV spots by the
                                                                                       Korean
            t7       population residing in North America who subscribe to cable
                                                                                   channels with Korean
           t8        tv broadcasts. As such, there is a short period of time when SyUSA would
                                                                                                 be able
            l9       to capitalize on the exóitement surrounding a new product. However,
                                                                                           samyang
           2A        Korea has made it extremery difficult for          syusA to profit     from new products.
           11               28.  Due to strict food regulations in the United States, SYUSA has
                                                                                                  always
           22        requested and required that any products imported into the
                                                                                Unitecl States meet all
           23        FDA regulations and requirements. To tl¡at end, whenever samyang
                                                                                           Korea
           24        releases a new product, particularly instant ramen, in Korea,
                                                                                             syusA    has always
           25        irad to request that the ingredients meet the FDA regulations prior
                                                                                         to the importing
           26        of such products to the United States.
           27              29.    Samyang Korea is obligated to ensure that its products are
                                                                                             timely
\-
           28        conformed to FDA requirements so that           syusA      may import and seil products in

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                                                              F I   I(ST           COMPLA      CASE NO. 2:   I S-CY -0't 6s"t
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                        the North America market. SYLISA is aware that samyang Korea makes

      C           2     modifrcations necessary on a timely basis to expedite the import of its products
                                                                                                                      to
                        its distributors in other areas of the world,
                 4            30.    Despite Samyang Korea's obligations to manufacture FDA compliant
                 5     products for import by SYUSA into North America, Samyang Korea continues
                                                                                                     to
                       frusffate SYUSA by either falsely claiming that modifications cannot be
                                                                                               made, or
                 7     making modifications many years after a new product has been released and
                                                                                                 well
                 I     after any hype and excitement surrounding a new product has vanished.
                 I            31.    Some of the products that samyang Korea has either refused or
             l0        significantly delayed in meeting FDA regulations are: l) Nagasaki champong,
             ll        which was released in July 20ll;2) Nagasaki champong Big cup, released
                                                                                                in
             t2        september 201 1 ; 3) Nagasaki champong cup, released in November 201 l;
             l3        Nagasaki Hong champong, released in June 2013;4) Fire chicken
                                                                                     stir Fried
            l4         Noodles, released in April z0l2;5) Fire Chicken Stir Fried Noodles Big
 c          l5         released in June 2aQ;6) Fire chicken stir Fried Noodles cup, released
                                                                                               Cup,
                                                                                              in
            l6        November 2013 7) Gan champong, released in Jury 2007; g) Gan
                                                                                     champong Big
            l7        cup, released in september 2008; 9) Hanoo Teuk pool Myun, released December
            l8        2013; and 10) Youboo Udon, released November 2013.
            19               32.    on information    and   beliet Samyang Korea, despite refusing
            2A        sYUSA's requests for changes to the ingredients in products to meet FDA
            2l        regulations and thus deliberately blocking SYUSA's attempts ro import
                                                                                                certain
            11        product to the United States, has distributed many of these products
                                                                                           in the United
            ¿J        States through other companies that may or may not meet FDA
                                                                                      regulations.               If the
           24         products do meet FDA regulations, samyang Korea has deliberately
                                                                                         misled and
           25         lied to SYUSA about the availability of such products and has wrongly
                                                                                            refused                 to
           26         allow SYUSA ro import such products for sare in North America.

r\-        a1
                            33.  samyang Korea's refusar to use its best efforts to timely provide
           28         SYUSA u'ith new and popular products for sale has hindered SyUSA's
                                                                                                        business

                                                                      1

                                                                 i.IRST    DED COMP LAINT         NO.   2:   l5-CV-0769?
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                         and prevented       sYUSA from growing its business and gaining market share in
         t
     f             )     North Ameì-ica.
     \-
                   3            C. Changing of Payment Terms
                   4                 34.   At the time of execution of the Distribution Agreement, syusA was
                         able to purchase Samyang Korea's products pursuant to
                                                                               a credit arrangement.
                   6     sYUsA would generally incur a charge for accounts payable upon ordering
                   7    product from Sarnyang Korea, which would then be paid in accordance
                                                                                            with
                   8    standard payment terms, usually in 90 days.

                  9               35,      Pursuant to the Distribution Agreement, samyang Korea was
                                                                                                     not
                  10    permitted to change the payment terms, but on August 3a,2007
                                                                                        Samyang Korea
              l1        informed SYUSA that samyang Korea would no longer sell product
                                                                                             to syusA on
              t2        a credit basis. Instead, samyang Korea would only sell product
                                                                                        to syuSA on a
              l3        line of credit basis that wourd have to be paid by syusA prior ro
                                                                                          the shipment              of
              l4        products from samyang Korea to        syusA.       Samyang Korea then further made
 F
 fL'          t5        changes to payment terrns in December        2aú without SyusA's approval or
              l6       consent' These unilateral changes in paymentterms is also a
                                                                                   direct breach of the
              l7       Distribution Agreement which states that samyang Korea ,,shall not...
                                                                                             change the
              i8       payment terms."

              l9                 36' Furthermore, SYUSA alleges on information and belief that
                                                                                                   Samyang
             2A        Korea does not require immediate payment frorn its other distributors
                                                                                               in other
             2l        areas of the world, but instead has placed such onerous
                                                                               restrictions only on
             22        SYUSA' such actions are designed to prace a heavy burden on syusA
                                                                                         in bad
             23        faith.

             24                 37   '   Pursuant to the Distribution Agreement Samyang Korea
                                                                                              is required to
             25        sell its products to SYUSA at the price and on terms and
                                                                                  conditions mosr favorable
             26        to the largest distributor, Furthermore, price adjustments
                                                                                  are onry alrowed to
             zt        reflect the fluctuations of the costs of manufacturing or purchasing
                                                                                            by Samyang
\-           28        Korea.

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              I           38.      Samyang Korea's bad faith actions have hindered SYUSA's business

  c           ¿


              3
                   and prevented SYUSA from growing its business and gaining rnarket share in

                   North America.
              4       D. Intellectual Propegy
              5          39.       SYUSA is the sole and rightful owner of all of the.,samyang',
              6    trademarks in the United States, including the "samyang Foods" trademark that
              7    had been registered by Samyang Korea without SYUSA's authorization or consent,

              I          40.    On or about January 26,1998, Samyang Korea fully assigned all
              I   rights and interest in all'oSamyang" trademarks, including the goodwill of the
         l0       business in which the mark is used.

         ll              41.    Pursuant to the Distribution Agreement, Samyang Korea is required to
         t2       assign to SYUSA "any and all Intellectual Property Rights registered in the United

         l3       States or any states authorities in the U.S. including, but not limited to, trademark

         l4       registration for the name and logo of *'Samyang." Samyang Korea surreptitiously

C        15       registered a "Samyang Foods'ltradernark without SYUSA's authorization or

         r6       consent in 2005, and has failed to assign the rights to that trademark to SYUSA in

         17       direct breach of the Distribution Agreement,
         l8              42.    Furthermore, the Distribution Agreement grants from samyang Korea
         l9       to SYUSA "the rights to use all of Samyang Korea's trademarks, trade names,
        2A        brand names, trade dresses, logos, designs, packaging and copyrights." This right
        21        is inevocable.
        22               43.    In accordance with sYUSA's ownership rights to the,.samyang',
        ¿.)       trademarks, SYUSA recently registered two trademarks, which Samyang Korea

        24        intends to oppose. SYUSA now seeks declaratory relief that SYUSA owns all

        25        rights to the "samyang" trademarks and an injunction preventing Samyang Korea
        26        from inappropriately oppos ing the trademark registrati ons.
        )'7          E. Artificial Inflation of Prices
r^
\,.     28              44.    on or about August 2013, syusA discovered when served with                   a

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                                                          FIRS   I'AML,NDBI)         N    L CASE NO. 2:15-CV-07697
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               I        summons and complaint alleging anti-trust violations against Samyang Korea
                                                                                                   and
  F            2        SYUSA that Samyang Korea allegedly colluded with other manufacturers
                                                                                                      of
  L-
              3         instant ramen in Korea and thus artificially raised the prices of instant ramen.

              4         Since SYUSA is a direct purchaser of the instant ramen manufactu¡ed by Samyang
              5         Korea, SYUSA was a direct victim of such price collusion engaged in by samyang
              6        Korea' Such artificial inflation of prices is a direct breach of the Distribution
              4
                       Agreement, which specifies that prices of products sold by samyang Korea
                                                                                                       to
              I        SYUSA can only be increased for an increase in the cost of manufacturing.
              I            45. The Korean Federal rrade commission (the ,.KFTC,')                    released a
          10           report (the "KFTC Report") alleging that the four companies that manufacture
          ll           instant ramen in Korea colluded to artificially raise prices by communicating
                                                                                                        non-
          l2           public details of price increases to each other. As alleged in a case filed by
                                                                                                      direct
         l3            and indirect purchasers of Defendant's product in the united Statesr, this

         l4            conspiracy was confirmed by Defendant's president,           oo Kim2, who affrrmed
r\,      t5            details of the conspiracy to the KFTC, such as "[flrom price increâse in 2001,
         t6            when I [ed] the price increase of fsamyang Korea] for the first time,
                                                                                             to price
         17            increase in 2008, [the] ramen market [] exercised price information exchange,
                                                                                                     real
         l8            price increase work, etc... systematically and repeatedly."
         19                  46. OO Kim also stated that ùe process would work as follows: ,,[b]efore
        20         the price increase, employees from each company in charge of
                                                                                market
        21         researchL,/extemal business exchanged         information, After the price increase,       sales
        22         team of each company checked on price situation at distribution
                                                                                   channels including
        23         chain stores' In addition, for the great matters which might jeopardize
                                                                                           price system
        a,l        of the business, such as price dumping, the companies maneuvered through,,
                                                                                                               the
       25
                   I
                     See.In Re Korean Ramen Antitrust Litigation, Case No. 3: l3-cv_041
       26
                                                                                          l5 -WHO, N.D. Cal. The
                   court ruled in response to Motions to Dismiss filed by defendants
                                                                                     in thal case that a conspiracy to
                   raise prices in Korea which raised the prices of impofed noodles
                                                                                     was plausibly pted (Dki. No:
       27          I l5)
                   z

C      28
                     The KFTC order identified witnesses by their last name only,
                   .¡oo" presumablv
                                      ro mask the identity ofcertain orti,è
                                                                                  and includecl   the designation
                                                                              in¿iuiá;iì*ii;*uñr'ñ rù;;ùi;;;
                                                                                                                    of


                                                                     t0-
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                    Ramen Conference, discussed below.

  -\,          2           47. oo choi, the chairman of samyang Korea's office of Business,
              3     reported to     oo   Chon, Samyang Korea's CEo, about the discussions at this
              4     meeting.      oo choi told oo     chon that "[*]e talked this and that . . . then someone
              5     brought up the topic, 'shouldn't we increase ¡amen price.' And it seemed that
              ()    everyone agreed that once Nongshim increased the price, everyone would increase

                    this price as   well."
              I            48. oo choi also discussed the meeting with oo Kim, a consultant at
              I     Samyang Korea's head business office, OO Choi told OO Kim thar,,we talked that
          10        it had been 2-3 years since ramen price was increased. If Nongshim increasefd]
          l1        first, others will follow and raise it.',
          t2               49.      on March 28,2a01, representatives from the Korean Noodles
          l3        manufacturers attended the Regular General Assembly of Ramen Conference, held
         l4        at the Capital Hotel in'Seoul. At this conference, the manufacturers, including

 C       l5        Defendant, met and confirmed their agreement to cooperate conceming price
         T6        increases, According to       oo Ahn, vice chair of samyang Korea's                  head business
         11        office, "[o]ne of the board members of either Ottogi or Paldo asked director
                                                                                                []
         l8        Yoon of Nong Shim, [if they could] 'increase the price in consecutive order after
         l9        Nong shim increase[s]        it.
                                              How has the price increase project of your company
                                                                                                 []
         20        proceeded so far?"' Ottogi Co., Ltd. and Korea yakult representatives responded:

         2l        "Yes. We wouldn't         be released from the pressure of production cost, unless there
         22        is a two-digit increase." OO Yoon repiied;             "[w]ouidn't it    be   difficult to have a two
         23        digit increase? I remember that there had not been any two-digit increase in the
         24        past . . ., anyway, the price increase will be implemented soon."

        25                50.      Thus, at the March 28,200l Ramen conference meeting, Defendant
        26         collucled on the subsequent collective price increase.

        27               5l   ,    on or about May 17,2001,          a few days after the other manufacturers
\-,,    28         raised prices of their products, Defendant decided to raise factory prices by
                                                                                                 June                  l,
                                                                      -lt-
                                                                FI    I   A]\4Þ;NDED COMP          CASE NO. 2:1S-CY-07697
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              I     200   I by an average of   I2Yo   for   I7   products, which included raising prices of its
  t¡          2     Korean Noodles by the sarne amount as Nongshim.
  \-
              3             52.   subsequently, on or about october 2r,z})2,Nongshim decided to
              4     raise factory prices, and provided details and dates conceming
                                                                                   these prices to
              5     samyang Korea. on or about october 25, zllz,Samyang Korea
                                                                                     decided to
              6     increase factory prices effective November              r,   2a02. The .factory price increase
              7    averages 9.SYo for 28 products, which included raising the price
                                                                                    of its Korean
             I     Noodles by the same amount as Nongshim. such increases were
                                                                               then
             I     communicated by Samyang Korea to other manufacturers, who
                                                                             followed suit.
         l0            53. on or about December zz,za04, samyang Korea was informed about
         ll        Nongshim's price increases prior to the effective date of those increases.
                                                                                                  On or
         l2        about February 24,2005, Sarnyang Korea decided to follow suit
                                                                                      and raised prices
         l3        fot 32 items by ân average of 7 ,2o/0, which included raising the price
                                                                                            of its Korean
         t4        Noodles by the sâme amount as Nongshim. These increases were
                                                                                         then
 t;
 \-      15        commùnicated to other manufacturers.
         l6                54.    on or about March 22,2007, and again on February l g, 200g
         t7       Samyang Korea again decided to increase factory prices based
                                                                                  on information
         l8       received as a participant in the conspiracy, whire arso funhering
                                                                                    the conspiracy by
         t9       sending non-public information to other manufacturers.
        20                .55.   Each price increase made by Defendant was then reflected
                                                                                          in the
        2l        prices at which Defendant sold its Korean Noodles
                                                                    to Plaintiffs for export to the
        22        United Srates.
        23                56.  on March 26,z}}g,the Generar Assembry of Ramen conference
                                                                                                was
        24        held at Capital Hotel in seoul. At this conference, the
                                                                          Korean Defendants agreed
        )\        that they would postpone price increases or lower prices
                                                                           after an increase.
        26                57. oo Lee, Board Director of samyang Korea,s Head Business offrce,
        27        stated to the KFTC that: "since the new administration
                                                                         [of the south Korean
'L-     28        government], inaugurated on February zs, za}g,played
                                                                       an emphasis of price

                                                                     -12,
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                I     stabilization, it was difficult decision to make a price increase, and because
 f
 t\.-           2     custorners' response was also negative about the increase, ramen manufaoturing

                3     companies worried much about the increase. Nevertheless, because the price

                4     decision had already made based on the exchange of information and date about

                5    price increase, each company emphasized (agreed) that any company could
                                                                                                 not
                6    postpone the price increase or that increased price could not be lowered again.',

                7           58.  similarly, oo Kim, chair of samyang Korea's Business Management
                I    Team, noted to the KFTC that due to the change in south Korean govemment,

              9      South Korea "was experiencing the feeling of renewal. As the new administration

          l0         suggested price stabilization as a major policy as soon as the president's

          t1         inauguration, companies including Nongshim discussed about ramen price which
          tz         would be increased. While worrying about criticism or implications that would
         l3          cause by price increase, we discussed the prospect   ofthe process and strategic
         t4          responses about the criticism."
r\,      l5                59.    Accordingly, the March 200s Ramen conference ensured that the
         16         collusively-raised prices for Korean Noodles remained inflated.
         1',l              60.    on July 12,2012,     the K-FTC issued the KFTC order, concluding that
         l8         Samyang Korea conspired with the other main Korean Noodles manufacturers
                                                                                             to
         l9         fix prices of Korean Noodles.
         20                61.   The KFTC imposed monetary and injunctive relief, including r36
         2t         billion won (approximarely $r20 miilion) in fines. It also ordered the
        '))         manufacturers to stop sharing pricing information.
        23                 62.   samyang Korea was excused by the KFTC from paying its fine and
        24          received leniency from the Krrc because it provided information
                                                                                    about            the
        25          conspiracy to the   KITC.
        26                 63.   As a result of samyang Korea's participation in the price conspiracy
        27          to fix Korean Noodles prices, Plaintifß were forced to purchase
                                                                                    Korean       Noodles
        28          from Defendant at artificially inflated prices.

                                                                -   t3-
                                                                                                 ?
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                          64.    Samyang Korea raised the prices of products sold to Plaintiffs on
             )    seven different occasions: 1) September     1,2003;2) February 1,2005; 3) July l,
\-
             3    2006;4) November 1,2006;5) July 1,2008; 6) April         l,   2001; and 7) ootober   l,
             4    2012.
             5            65.    Piaintiffs did not have actual or constructive knowledge that the price
            6     increases from 2003 to 2012 were a result of a secret conspiracy to artificially raise
            1     prices until on or about August 2013.
            8             66'   Upon information and belief, Samyang Korea arbitrarily increased the
            9     prices of the products it charged to Plaintiffs in direct breach of the Distribution
        l0        Agreement.
        ll                67.    Prior to this time, Defendant engaged in a secret conspiracy to
        12        collusively raise the prices of the Korean Noodles it was setling to plaintiffs for
        l3        export to the United States. Plaintiffs were unaware of Defendant's treacherous
        11        acts during the entire time that the conspiracy was continuing.
!^
\/      15              68.     Defendant never represented to Plaintiffs the true reason, namely the
       l6        conspiracy to fix prices, as the reason that prices for Korean Noodles increased.
       t7        Instead, Defendant always represented that any price increases were due to the

       18        increase in cost of raw materials.

       19               69.     The KFTC determined, however, that the Korean Noodles price
       20        increases had little correlation with input costs, and often substantially excêeded
       )1        increased input costs.
       22              70'    The affirmative acts of Defendant alleged herein, including acts in
       23        furtherance of the conspiracy, were wrongfully concealed and canied
                                                                                        out in a
       24        manner that precluded detection. By its very nature, Defendant,s price_fìxing

       25        conspiracy was inherently self-concealing.
       26              71.   The combination and conspiracy alleged herein was concealed by
      27         Defendant by various means and methods, including, but not limited
                                                                                    to secret
      28         meetings, suneptitious communications between Defendant and its
                                                                                 co-conspirators
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             1     by the use of the telephone or in-person meetings, the use of non-public emails,

             2     and concealing the existence and nature of their competitor pricing discussions
 i¡*
             3     from non-conspirators (including plainti fß).
             4              72'The conspiracy among the ramen manufacturers in Korea to raise
             5    prices of goods for arbitrary reasons directly led to Samyang Korea
                                                                                      arbitrarily
             o    in*easing the prices of the products it charged to plaintiffs,
             7            73.     The afificial raising of prices of the products purchased by plaintiffs
             8    is in direct breach of the Distribution Agreement, which provides that samyang
            9     Korea may only "adjust the price to reflect the fluctuations of the costs of
        l0        manufacfuring or purchasing" and that Samyang Korea ,.shall not arbitrarily
        lt        increase the prices of the Products it charges     to" plaintiffs.
        t2           F. Intentionêl Obstructiqn of Business
        1J              74,   SYUSA is the sole and exclusive distributor of all of samyang
        14        Korea's products in North America, including United States, Canadd, and
                                                                                          Mexico.
?                           5.
\-      l5              7         samyang Korea is required to act in good iaith and help promote
        16       SYUSA's business, including providing all resources available to SyUSA, helping
        17       SYUSA with marketing, helping SYUSA establish distribution channels as needed,
        18       and providing for terms and conditions favorable        for syuSA's business. -
        l9              76.       Samyang Korea deliberately acted in bad faith ro intentionally disrupt
       20        sYUSA's business. samyang Korea blocked the growth of syusA's business
                                                                                                 by
       2T        selling, directly and/or indirectly, products into North America outside of
                                                                                             SyUSA.
       22        samyang Korea also changed payment terms ro           syusA, making it very difficult
       23        for SYUSA to order sufficient product to increase distribution in North
                                                                                         America.
       24        Samyang Korea also artificiaily raised prices so as to cut into
                                                                                 syusA's profìt
       25        margins and further hinder SyUSA's business growth.

       26           G.T                 Notice
       27              77   .    on April 2r,2016, samyang Korea sent a retter by email to syuSA
       28        stating its intention to terminate the Distribution Agreement effective
                                                                                         August             i,
                                                              -t5-
                                                          I.IRST A                           NO.   2:   l5-CV-07697
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                       2016.
     t^
     b,          2               78'The Distribution Agreement does not provide for its termination other
                 J     than the eventual expiration of the agreement term.

                 4               79. The Distribution Agreement was entered into on November 29,lgg7.
                 5     The initial term of the Distribution Agreement is for fifty (50) years,
                                                                                               and the term
                 6     was to automatically renew for another fifty (50) years thereafter.

                 7              80.  The Distribution Agreement thus has approximately another eighty-
                I     one (8 I ) years remaining on its term.

                I               81.    on April 27,20l6,counsel for syusA             senr a letter to counsel for
               l0     Sarnyang Korea demanding that the termination notice be retracted.
                                                                                         On                 April   29,
            il        2016, counsel for samyang Korea informed counsel for               syuSA that samyang
            t2        Korea refused to retract the termination notice.
            13                  82'    Samyang Korea by way of its termination notice has expressly
                                                                                                    stated

 r\-        14        that it   will not perform the terms of the Distfibution Agreement         as   required
            t5        effective August     l,   2016.
            l6                  83.Plaintifß are stili willing and have the ability to perform all of its
            17        obligations pursuant to the Distribution Agreement.
           18                   84'
                                  The value of the Distribution Agreement for the remãining eighty-one
           19        (81) years of its term is believed to be in excess of one
                                                                               billion dollars
           20        ($1,000,000,000). The exact amount of damages will
                                                                        be proven at trial.
           2t

           22                                           V.    CLAIMS FOR RELIEF
           zt                                                BREACH OF CONTRACT
           24               85.    Plaintiffs refer to, reallege, and incorporate by reference every
           25        allegation fiom each and every paragraph before and after
                                                                                    this paragraph,         as
          26         though said paragraphs were set forth in         full herein.

\-
          21                86.    The Distribution Agreement grants to plaintiffs exclusive
          28         distributorship rights to any and all of samyang Korea's products
                                                                                        to be sold in

                                                                       - 16-
                                                                  I.IRST                              NO. 2:15-CV-07697
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              I     North America, including the united states, canada, and Mexico. samyang
 (^                                                                                              Korea
 v            2     was expressly disallowed from directly or indirectly manufacturing or
                                                                                          selling any
              J    of Samyang Korea's products into.North America.
             4            87.       samyang Korea failed to abide by the terms of the Distribution
             5     Agreement as discovered by plaintiffs recently.
             6            88.      Samyang Korea instead sold, directly or indirectly, its products into
             1     North America. These actions were done without plaintiffs' knowledge or
             a     approval.

             I            89.      Each individual sale or other action by Samyang Korea to import its
         l0        products into North America is a breach of the Distribution Agreement.
         l1              90,    As a direct and proximate result of sarnyang Korea's breach of the
        11         Distribution Agreement by selling, directly or indirectly, its products to other
        l3         companies for distribution in North America, Plaintiffs have lost significant
                                                                                                 profits
        l4        it would have otherwise gained from the sale of such products in North America.
f-
bt
        l5        Plaintiffs profìt on each sale of products to a market or otler retailer after import.
        r6        Samyang Korea's act of selling independently of Plaintiffs has deprived plaintiffs
        II        of potential profit, and Samyang Korea should reirnburse Plaintiffs for
                                                                                          such lost
        l8        profit, in an amount to be proven at trial.
        19               9l   '   Samyang Korea was expressly disallowed from changing the credit
       20         terms upon which Samyang Korea's products were sold to      plaintiffs. samyang
       21         Korea still changed the terms of the agreement and threatened to
                                                                                    not sell plaintiffs
       22         any product if Plaintiffs did not comply. Since Plaintifß
                                                                            need to be able to imporr
       )1         Samyang Korea's products for sale in North America as its business, plaintiffs

       24         were forced to comply under duress.

       25               92.       The Distribution Agreement specifically prohibits the changing
                                                                                                     of
       26         payment terms. Each of Samyang Korea's unilateral changes
                                                                            of the payment terms
       27         constitutes a br.each of the Distribution Agreement.

       28               93.       By changing payment terms, samyang Korea limited the amount
                                                                                              of
                                                              -t7 -
                                                               'AMENDED
                                                                              LAINT. CA SE N() 2:15-CV-07697
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                                products that Plaintifß could import for
      r
      L-
                         I
                                                                          distribution into North America, since
                     2          Plaintiffs were limited by the line of credit it could
                                                                                       obtain from a separare bank.
                     J                 94'   As a direct and proximate resurt of samyang
                                                                                              Korea,s breach of the
                     +         Distribution Agreem.ent by unilaterally changing the
                                                                                        credit terms, plaintifß lost
                     5         signifrcant potential profit it could have made from
                                                                                      the increased sale of products
                     6         in North America, in an amount to be proven at
                                                                                 trial.
                     7                95.   sarnyang Korea must make its products compriant
                                                                                                with alr food
                  I            regulations for sale in North America prior to the
                                                                                  sare and shipment of those
                 I             products to sYUSA for import and distribution.
                                                                                 However, samyang Korea,s
                10             repeated failures or untimely delays in making
                                                                              its product compliant constitute
                1l            breaches of the Distribution Agreement.

                t2                   96.   As a direct and proximatê result of samyang
                                                                                           Korea,s breach of the
                l3            Distribution Agreement by failing to make products
                                                                                     complìant for import and sale
 f^             t4            in North America, praintiffs rost significant profrts
                                                                                    by being unable to se¡ such
 \r
             t5               products in North America, in an amount to
                                                                            be proven at triar.
            l6                       97.   samyang Korea was required to assign ail intelrectuar
                                                                                                  property and
            l7               trademark rights to syuSA, but failed to do
                                                                             so. In fact, samyang Korea even
            l8               failed to properly register several trademarks,
                                                                              ùhich forced syusA to file
            19               trademark applications in an attempt to protect
                                                                               syusA,s varuabre inteilectuar
            20               property rights.
            21                      98'    As a result of samyang Korea's failures,     s\.usA still     has not been
           22                assigned the valuable intellectual property
                                                                         rights as required under the Distribution
           23                Agreement, and   praintifß have had to rake sreps in filing for trademark
           24                applications in an effort to protect its legal
                                                                            rights.
           25                       99'   As a direct and proximate resurt of Defendant,s
                                                                                            unrawfur conduct,
           26                Plaintifß have been injured in that they currently
                                                                                still have not been assigned       and
           27            do not hold the valuable intellectual property
\-                                                                      rights to be used in operating its
           28            business. Furthermore, plaintiffs have had
                                                                      to spend attomeys, fees and costs in

                                                                          -18-
                                                                                                              l5
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 r\/          1
                    filing for several trademarks in an attempt to protect its rights.
                          100. samyang Korea        was also expressly disailowed from changing the
             3     pricing of its products for any reason other than the increase in cost of
             4     manufacturing' However, Samyang Korea engaged in a conspiracy to artificially
             5     raise prices.

             6            l0l.     As a result of samyang Korea's actions, plaintiffs have suffered
                   signifrcant damages due to lost revenue and market share in the areas and cities
             I     that samyang Korea improperly sold its products for distribution.

             9            102. As a direct    and proximate resurt of Defendant's unlawful conduct,
         10        Plaintiffs have been injured in their business and property in that they paid more
         lt        for Samyang Korea's products than they otherwise would have paid in the absence
         I2        of Defendant's unlawful conduct.
         13               i03.     The Distribution Agreement provides for the awarding of costs and
         t4        expenses, including reasonable attomeys' fees, incurred by the prevailing parfy
f\r                                                                                                in
        l5        the event of any controversy, claim, or dispute between the parties related to the

        16        Distribution Agreement, Plaintiffs seek an award of such costs and attomeys' fees
        t7        incurred to enforce the rights of plaintifß
        18            BREACH OF COVENANT OF-GOOD FAITH A¡{D FAIR DEALING
        19              104. Plaintifß refer to, reallege, and incorporate by reference every
        20        allegation from each and every paragraph before and after this paragraph, as
        21        though said paragraphs were set forth in full herein.
        22               105' In every agreernent there is an implied promise of good faith       and fair
        23        dealing that requires a party to not do anything to unfairly interfere with
                                                                                              the rights
        24        of the other party to receive the benefits of the agreement.
        25               106' Pursuant to the Distribution Agreement, Defendant owed plaintiffs a
        26        duty to act in good faith in executing the terms of the Distribution Agreement,
        27              107, specifically, Defendant was not allowed to act in ways that would
       28         deprive Plaintiffs of the rights bargained for in enrering into the Distribution

                                                                -t9-
                                                          f.lKS I'       COMPLAINT uAsE No. 2: | 5-Ct¿   -0'l   69'l
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                   Agreement.
I\¡t
               2          108. Plaintiffs complied with every term in the Dist¡ibution Agreement or
               3   was excused from having to perform.

               4          109. Accordingly, Defendant         was required to perform according to the

               5   terms of the Distribution Agreement.

               6          110. Defendant's actions of deliberately selling its products to third parties
               7   unassociated with Plaintiffs caused Plaintifß significant harm and directly and

               I   unfairly interfered with the rights of Plaintiffs to receive the benefits of the
           9       Distributi on Agreement.
          IO              II   l.   Defendant's actions of unilaterally changing the payment terms
          11       unfairly interfered with Plaintiffs' right to receive the benefits of the Distribution
          l2       Agreement.
          13              l12.      Defendant's actions of refusing or significantly delaying any

(^        14       modifications to the ingredients list of many products in compliance with FDA
þ         t5       regulations caused Plaintiffs significant harm since Plaintiffs were unable to import
          l6       and sell those goods, and thus Defendant's actions directly and unfairly interfered

          17       with Plaintiffs' rights to receive the benefits of the Distribution Agreement.
          18              113. Defendant's      act-ions of colluding with other manufacturers in order to
          t9       artificially raise the prices of products it sold to SYUSA caused plaintiffs
          20       significant harm since Plaintiffs were forced to pay artificially inflated prices that
          2l       had no correlation to any increases in manufacturing costs, and thus Defendant's
          22       actions directly and unfairly interfered with Plaintiffs' rights to receive the benefits

          23       of the Distribution Agreement.
          24              I14.      The Distribution Agreement provides for the awarding of costs and
          25       expenses, including reasonable attomeys' fees, incurred by the prevailing parly in

          26       the event of any controversy, claim, or dispute between the parties related to the

          27       Distribution Agreement. Plaintiffs seek an award of such costs and attorneys' fees
ç
          28       incurred to enforce the rights of Plaintifß.

                                                                   ,20-
                                                             FIRST A N{HNDET) UUMI'LAIN   I. U A 5r: NO.2:l )-u   v -u /o9   /
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            I                  ANTICIPATORY BREACH OF WRITTEN CONTRACT
r^
\-          2              I 15. Plaintifß refer to, reailege, and incorporate by reference every

            3     allegation from each and every paragraph before and after this paragraph, as
            4     though said paragraphs were set forth in full herein.
            5              lL6.   On   April 21,2016,    Samyang Korea expressly stated its intention to
           6     breach the Distribution Agreement effective August 1,2016. Despite              syuSA's
           7     demands, Samyang Korea on            April 29,2016    expressly refused to retract the notice
           I               117. The Distribution Agreemenr will havc in excess of eight-one (gl)
           9     years left on its term as of August        l, 2016. The anticipatory breach will cause
       l0        Plaintifß to suffer damages estimated to be in ekcess of one billion dollars
       il        ($1,000,000,000), to be proven at trial.
       l2              118. Plaintiffs      are   willing and able to comply with all of its obligations
       l3        pursuant to the Distribution Agreement for its remaining term.

                           19.
c      t4

      15
                       I          As a direct and proximate result of samyang Korea,s actions,
                Plaintifß will have suffered damages in losing the valuable rights and business
      16        granted to it by the Distribution Agreement.

      t7                                 TEMPORARY INJUNCTIVE RELIEF
      l8               120. Plaintl'ffs refer to, reallege,     and incorporate by reference every
      19        allegation from each and every paragraph before and after this paragraph,
                                                                                          as
      20        though said paragraphs were set fonh in full herein.
      21               l2l   .
                           Plaintiffs are entitled to receive the benefit of the Distribution
      11        Agreement as detailed herein.
      ¿J               122. In reliance of the Distribution Agreement, Plaintiffs
                                                                               have established              a
      24        business, hired numerous emproyees, and created and maintain
                                                                             numerous
      25        distribution channels for the distributio¡l of product received from
                                                                                       Samyang Korea.
     26                123 ' Plaintiffs by this action seek permanent injunctive
                                                                                   relief prohibiting
     27         Samyang Ko¡ea from continued breach of the Distribution Agreement,
                                                                                   the merits
     28         of which clearly favor Plaintifß. However, a more imrnediate concern
                                                                                     is that

                                                                 -2t
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                      samyang Korea has sent a notice establishing samyang Korea,s
                                                                                    intent to
 \-             ?     wrongfully terminate the Distribution Agreement effective
                                                                                August r,2016.
                                124. A preliminary injunction     is needed to prevent samyang Korea from
                4     wrongfully terminating the Distribution Agreement effective
                                                                                       August l, 2016 as it
             5        would cause great and irreparable injury to Plaintiffs. Plaintifß
                                                                                          would be forced to
             6        lose all of its employees and lose alÍ of the distribution
                                                                                 chan¡els that have been
             7        established, the effects of which  plaintifß would be unable to recover
                                                                                              from.
             I                                    TR,A,DEMARK INFRINGEMENT
             9                 125. Plaintifß refer to, reailege,   and incorporate by reference every
           10        allegation from each and every paragraph before and
                                                                           after this paragraph, as
           1l        though said paragraphs were set forth in full herein.
           l2                 126.      The Distribution Agreement requires that samyang Korea
                                                                                               assign any
        13           and all intellectual properry rights registered in the
                                                                               u.s. to syusA. By agreement,
F       t4           SYUSA rightfully owns all trademarks related to ,,samyang,'including,,samyang
¡b
        I5           Foods." Indeed, on or about January 26,lggg,the ,,samyang
                                                                                 Foods,, mark that
        l6           had been previousry registered was fulry assigned to
                                                                          syuSA, including the
        17           goodwill of the business in which the mark is used.
       18                      SYUSA did not request or authorize Samyang Korea to
                              127
                                    '                                                register with
       l9           the usPTo any trademarks related to the "samyang,,
                                                                       name, including,.samyang
       20           Foods'" However, samyang Korea registered the,,samyang
                                                                           Foods,,trademark in
       21           the U.S. on or around August 9,2005.
       )')                   128. samyang Korea's registration         and use of the ,,Samyang Foods,,mark
       23           is directly infringing on    SyusA's valuable right. samyang Korea,s
                                                                                       use of the
       24           "samyang Foods" mark for the sale of goods in the
                                                                      u.s. through other distribution
      25            channels was unaurhorized by SyusA and is
                                                               directly infringing on SyusA,s
      26            business.

      27                     129. samyang Korea's continued use of the trademarks owned
                                                                                        by syuSA
      28            will   cause confusion among consumers as to the
                                                                     source of the goods.         syusA
                                                                    -22-
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                    I     owns the trademarks and holds the exclusive distribution rights
                                                                                          to product in North
 \.              )        America. samyang Korea',s sale of goods in simitar markets to syusA will
                                                                                                   likely
                 3        confuse both consumers and retailers as to the source of the goods.
                 4              130. As a direct   and proximate result of Samyang Korea's infringement              of
                 5       sYUSA's rights to the "Samyang" trademark, syusA has suffered and will
                6        continue to suffer substantial damages in an amount to be proven
                                                                                          at trial.
                7               131. samyang Korea knew that syusA              was the right owner of the
                I        "Samyang" trademarks because Samyang Korea fully assigned all
                                                                                       such ownership
                I        rights to the "samyang" tradernarks to syusA. However,
                                                                                samyang                Korea
               l0        surreptitiously registered another "samyang,'trademark and has
                                                                                         been selling
            11           products using the "samyang" trademark in the u.s. in direct
                                                                                      breach of the
            t2           Distribution Agreement and infringing on SyuSA,s trademarks.
                                                                                          These actions
            l3           were willful, oppressive, malicious, and in wanton and conscious
                                                                                          disregard of
            14           sYUSA's rights. Therefore, punitive damages should be assessed against
\.         15            Samyang Korea in an amount that will be sufÍicient to discourage
                                                                                          it and others
           l6            from such conduct in the future,
           t7                            oF LANHAM ACT $1114, t5 u.s.c. $rlr4 - TRADEMARK
           l8            _vIoLATIoN                        INFRINGEMENT
           19                  132. Plaintifß refer to, realrege,     and incorporate by reference every
           20           allegation from each and every paragraph before and after
                                                                                  this paragraph, as
           21           though said paragraphs were set forth in full herein.
           22                  133. SYIJSA    is the rìghtful owner of the .,samyang" and ,.gar¡¡y¿¡g
           ¿5           Foods" trademarks in the U.S.
          24                  134. samyang Korea      has surreptitiousry registered the,,samyang Foods,,
          25            trademark in direct vioration of   SyusA's ownership rights,      and has used these
          26            marks in commerce and/or in connection with the sale,
                                                                              distribution, or advertising
          27            of goods. Such use is iikely to cause confusion, mistake,
                                                                                  and/o¡ deception.
          28                  135. SYUSA did not request or authorize samyang Korea to register                the

                                                                       -¿3-
                                                                 f IRS'f      I]ED COM   INT        NO, 2:15-CV-07697
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                   1    "Samyang Foods" trademark, nor has SYUSA authorized Samyang Korea to sell
  t+
  \-               2    goods in the U.S. using the trademarks owned by SyLiSA.

                   3           136,      Samyang Korea's continued use of the "samyang,'trademarks            will
                  4     cause confusion among consumers as to the source of the goods, as SYUSA is the

                  5     owner of the trademarks and the sole ahd exclusive distributor of goods in the U.S.
                  6            137   .   unless restrained, the foregoing wrongful acts of samyang Korea will
                        continue to cause irreparable injury to Plaintifß, both during the pendency of this
                  I     proceeding and thereafter. SYUSA is therefore entitled to an order preliminarily
                  9     and permanently enjoining samyang Korea and its agents, employees, and others

             r0         acting in concert with it, from directly or indirectly: (i) registering or applying to
             il         register any trademark that is confusingly similar to the ,,Samyang" or,,samyang
             12         Foods" name or mark; (ii) manufacturing, producing, distributing, selling, offering
             l3        for sale, advertising, or displaying any "samyang" product in the u.s. that tends to

 ê           T,4       relate or connect to such product in any way to SYUSA or to any goods or services
 L-          15        offered, provided, sold, manufacfured, sponsored or approved by, or otherwise
             l6        connected with SYUSA;        (iii)   using any mark that is confusingly similar to the
             t7        "Samyang" or "samyang Foods" name or mark; and/or (iv) making any false
            l8         description or representation of origin conceming any goods offered for sale by
            l9         Samyang Korea.
            20                138. SYUSA is further entitled to recover its ascertainable           damages
            21         sustained in consequence of samyang Korea's wrongful conduct, in an amount
                                                                                                  to
            22         be determined at trial, along with attorneys' fees and costs incuned.
            ,)2
                        vIoLATIoN oF LANHAM ACT g43(a); ts u.s.c.                       g112s (a)    -   FEDERAL
            24             UNFAIR COMPETITION AND FALSE DESIGNATION OF OzuGIN
           25                139. Plaintiffs refer to, reallege, and incorporate by reference every
           26          allegation from each and every paragraph before and after this paragraph, as
           27          though said paragraphs were set forth in full herein.
\.-
           28                140. SYUSA         is the rightful owner of all ,,samyang" trademarks in the

                                                                         -24-
                                                                    T.]RST        COMPLAINl . CASE NO. 2:15-CY-07697
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                   united states. Any prior rights that were owned by sarnyang Korea were
                                                                                          fully
\-           2     assigned and transfened to SYUSA as of 199g.

             )            l4l.    samyang Korea has registered trademarks not owned by them in
             4     direct violation and infringement on SYUSA's rights, and have
                                                                                    sold product in the
             (     U'S' using these false trademarks, which constitute false designation
                                                                                         of origin,
             6     false or misleading description, and./or false or misleading representation
                                                                                               and
            7     Unfair Competition under 15 U.S.C. $l125. Such conduct causes
                                                                                      and is likely to
            I     cause confusion, mistake, and/or deception as to the affrliation,
                                                                                    connection, or
            9     association of samyang Korea and any product that samyang
                                                                                  Korea produces,
           l0     promotes, sells, or distributes with   syusA       and any and atl of its products, or as to
        1l        the origin, sponsorship, or approval of samyang Korea,s goods,
                                                                                 services or
        t2        commercial activities by SyUSA.
        l3             142' Such infringement of SYUSA's trademark rights constitute unfair
        l4        competition and is ær infringement of syusA's rights in the ,.samyang
¡ç                                                                                      Foods,,
\-      l5        mark in violation of the Lanham Act g43(a), r5         u.s.c. gl r25(a).
       l6               143. sYusA      lacks an adequate remedy at law for the foregoing wrongful
       t7         conduct of samyang Korea, in that: (i) samyang Korea,s
                                                                           actions damage and
       l8        threaten to continue to damage syusA's unique and
                                                                       valuabl.e properry injury
       19        which cannot be adequately compensated by monetary damages;
                                                                                   (ii) the damages
       20        to SYUSA from samyang Korea's wrongful actions are not precisery
                                                                                         and fulry
       2t        ascertainable; (iii) the wrongful acts of Samyang Korea
                                                                         injure and threaten           to
       22        continue to injure sYUSA's reputation and goodwiil;
                                                                     and (iv) the damages
       23        resulting to sYUSA from samyang Korea's conduct, and
                                                                            the conduct itself, are
      24         continuing, and sYUSA wourd be required to bring a
                                                                        multiplicity of suits to
      25         achieve full compensation for the injuries caused
                                                                   thereby.
      26               144. unless restrained,    the foregoing wrongful acts of samyang Korea              will
      2'Ì        continue to cause irreparable   iûury to syusA, both during the pendency of this
      28         proceeding and thereafter' SYUSA is therefore
                                                               entitled to an order preliminarily

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                                                         FiRS TA            COMPL,4I NT. CASE   ().2:15-CV-07697
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             I     and perrnanently enjoining Samyang Korea and its agents, employees, and
                                                                                           others
 L-          ¿    acting in concert with ther¡1, from directly or indirectly: (i) (i) registering or
                  applying to register any trademark that is confusingly similar to the .,samyang,,
                                                                                                     or
             4    "Samyang Foods" name or mark; (ii) manufacturing, producing, distributing,
             5    selling, offering for sale, advertising, or displaying any ..samyang,'product
                                                                                                in the
             6    u.s. that tends to relate or connect to such product in any way to syusA or to any
            7     goods or services offered, provided, sold, manufactured, sponsored
                                                                                     or approved by,
            8     or otherwise connected with    syusA; (iii) using any mark that is confusingly
            9     similar to the "samyang" or "samyang Foods" name or mark; and/or (iv) making
        l0        any false description or representation of origin conceming any goods
                                                                                        offered for
        ll        sale by Samyang Korea.

        t2               145' SYUSA      is frrrther entitled to recover its ascertainable damages
        l3        sustained in consequence of samyang Korea's wrongful conduct, in an
                                                                                      amount to
        14        be determined at trial, and for attorneys' fees and costs incurred.
\¡.     15                             PERMANENT INJUNCTIVE RELIEF
        t6              146, Plaintiffs refer to, reallege,   and incorporate by reference every
       17        allegation from each and every paragraph before and after this paragraph,
                                                                                                      as
       18        though said paragraphs were set forth in full herein.
       l9               147.   There currently exists an immediate and ongoing harm caused by
       20        samyang Korea's continued breach of the Distribution Agreemenr.
       2t               148. The failure to immediately       stop Samyang Korea's actions       of
       22        continuing to sell, directly or indirectly, its products into North
                                                                                     America other than
       23        through Plaintifß will cause a great and irreparable harm to plaintiffs
                                                                                               since
       aÀ
       L1        Plaintiffs will be deprived of its valuable right to exclusive distribution
                                                                                             of allof
       25        Samyang Korea's product in the united states and North America,
                                                                                          samyang
       26        Korea should be stopped from seiling, directly or indirectl   y,   any   of its products
                 into Norlh America unless such distribution occurs through plaintifß.
      28               149. samyang Korea's      repeated failures and delays in modifoing its

                                                            -26-
                                                        FIRST A         COMPLA        cASE NO. 2:tS-CnJi'1697
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              1     products so as to make them compliant with food regulations in North America
L*            2    have made it impossible for Plaintiffs to irnport and distribute those products for

                   consumption, thereby causing it great and irreparable harm. Samyang Korea
              4    should be required to make such changes to its products as needed immediately for
              5    the import and distribution of all of its products in Norrh America.

             6            150' The changed payment        terms have made it more onerous on Plaintifß
            7      to import and distribute products in Nofih America. The payment terms should be
            8      reverted to the original payment terms, as the changed terms has caused plaintiffs

            I      great and immediate harm in that Plaintiffs are unable to place orders past a certain

        l0         bank imposed limit due to limited funds.
        I't               l5l,    Furthermore, the failure to immediatery stop samyang Korea,s
        t2         artificial inflation of prices will continue to have   a negative effect on   plaintiffs'
        13         business finances and the conspiracy must be enjoined immediately. The artificial

        t4        inflation of prices must also be immediately reversed, and Samyarig Korea must
î
\-      l5        show justification for each increase in pricing that is claimed to be due to an

        16        increase in rnanufacturing costs.

        r"l                                     vr.    PBA-YER rOR RELTEI
        l8               WHEREFORE, Plaintifß request rhat rhe court enter judgment on their
       19         behalf, adjudging and decreeing that:
       20                A.    A temporary restraining order preventing Defendant from unilaterally
       1l         terminating the Distribution Agreement until full resolution of this case;
       )1                B.    A preliminary and permanent injunction preventing Defendant from
       23         continuing to infringe on Plaintifß' trademark rights;
       24               c.       Declaratory relief stating that   syusA   is the rightful owner of all
       25         "Samyang" trademarks in the United States, and an injunction preventing
                                                                                          Samyang
       26         Korea from opposing any related trademark registrations fìled by SyusA;
       27               D-       Defendant has breached the Distribution Agreernent and that plaintiffs
       zõ         have been injured in their business and property as a result of Defendant's

                                                               -2'1-
                                                          FIRST                        CASE NO. 2:I5-CY -A769'l
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             I    violations;
r>
tb,         2            E.      Plaintiffs recover damages sustained by them,          as   proven in trial, and
            J    that judgment in favor of Plaintiffs be entered against Defendant;

            4            F"     Plaintiffs recover all lost profits that would have been realized by
            5    them, as proven in trial;

            6            G.     Plaintiffs recover the full value of the Distribution Agreement for the
            7    remaining term based on Defendant's anticipatory breach of the contract;
            8           H.      Defendant, its subsidiaries, affiliates, successors, transferees,
            9    assignees, and its respective officers, directors, partners, agents, and employees

        10       thereof and all other persons acting or claiming to act on its behalf be permanently
        tl       enjoined and restrained from continuing the actions alleged herein, including:
        t2                      a. Continuing to sell and import      its product into North America
        13                          outside of the excìusive distribution arrangement between

                                    Samyang Korea and Plaintiffs;
c       t4

        15                      b. Continuing to make unilateral      changes to the payment terms

        16                         originally agreed upon by the parties;
        t1                      c. Continuing to fail to change or delay in making            changes to the
        l8                         products so as to make them compliant with all applicable food
        19                         regulations in North America; and
       2A                       d. Artificially raising prices of products sold to Plaintiffs        other than
       2t                          for reasons of an increase in the cost of manufacturing.
       )1               L       Plaintiffs be awarded pre-judgment and post-judgment interest, and
       )1        that such interest be awarded at the highest legal rate from and after the clate           of
       AA
       L'        service of the initial complaint in this action;

       25               J.      Plaintiffs be awarded exemplary and/or punitive damages against
       26        Defendant;

       27              K.       Plaintiffs recover their costs of this suit, including reasonabre
       28        attorneys' fees, as provided by the Distribution Agreement and by law; and

                                                                 la
                                                          FIRS   I AMIlNI,ED   COMPLAIN.I., CASh, NO. 2:I5.CY-T7697
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             ¡         L,     Plaintiffs receive such other or further rerief as may be just and
 F
tb'          2   proper.

             J                           wL     ppNf.{Nq
                                                              ForR JUR}{   rRrAI,
             4         Plaintifß dernand a trial by jury as ro all issues so triable.   '



             5   Dated:      May   l2,2AL6                  SUHLAïV GROtIp, ApC
             6

             7

            I
            I                                                                                      ROYPAC,

        10

        ll
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tþ      r5

        t6
        t7

       t8

       l9
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                                                            AMENDED                          NO,   2:1   5-CV-0769f
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                         EXHIBIT 15
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                                   #:2201

 1                  UNITED STATES DISTRICT COURT
 2                 CENTRAL DISTRICT OF CALIFORNIA
 3                           WEST DIVISION
       _________________________
 4     SAM YANG (USA), Inc.,      )
       ROYPAC, INC., dba SC       )
 5     CONTINENT CORPORATION,     )
                                  )
 6                Plaintiff,      )
                                  )
 7        vs.                     )
                                  ) Case No.
 8     SAMYANG FOODS CO., LTD,    ) 2:15-cv-07697 AB
       and DOES 1 through 20,     ) (KSx)
 9     inclusive,                 )
                                  )
10                Defendants.     )
       _________________________)
11                                )
       SAMYANG FOODS CO., LTD     )
12                                )
          Counter-Claimant,       )
13                                )
              Vs.                 )
14                                )
       SAM YANG (USA), Inc.,      )
15     ROYPAC, INC., dba SC       )
       CONTINENT CORPORATION,     )
16     MUN-K YUNG CHEN, and       )
       DOES 1 through 20,         )
17     inclusive,                 )
                                  )
18        Counter-Defendants.     )
       _________________________)
19
20              VIDEOTAPED DEPOSITION OF SEE-YOUNG LEE
                        Los Angeles, California
21                   Wednesday, September 13, 2017
                              Volume III
22
       Reported by:
23     Lori M. Barkley
       CSR No. 6426
24     Job No. 2704164
25     PAGES 233 - 344

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 1     aware that Sam Yang Foods products were being sold on               10:13:18

 2     the East Coast that had not been imported by Sam Yang               10:13:22

 3     USA, correct?                                                       10:13:25

 4          A.    Yes.                                                     10:13:39

 5          Q.    And some of these products were being sold               10:13:39

 6     at stores that were not Sam Yang USA's customers,                   10:13:41

 7     correct?                                                            10:13:52

 8                MR. MCDONOUGH:     Wait, no, no, no.      As             10:13:52

 9     phrased that question is vague and ambiguous.             Also      10:13:54

10     misstates prior testimony.                                          10:13:57

11                You may answer.                                          10:13:59

12                THE WITNESS:     Yes.                                    10:14:06

13     BY MS. BOWMAN:                                                      10:14:07

14          Q.    When did you first become aware that Sam                 10:14:12

15     Yang products not imported by Sam Yang USA were being               10:14:14

16     sold on the East Coast?                                             10:14:17

17                MR. MCDONOUGH:     Just to be -- I understand            10:14:30

18     that you're laying a foundation, but so the record's                10:14:31

19     clear, it's asked and answered from the Volume II of                10:14:33

20     his deposition.                                                     10:14:36

21                You may answer again.                                    10:14:37

22                THE WITNESS:     I returned to the company in            10:15:08

23     year 2000, and maybe three to four years after my                   10:15:10

24     return to the company, I became aware.                              10:15:17

25

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                                   #:2203

 1     BY MS. BOWMAN:                                                   10:15:21

 2           Q.   How did you become aware?                             10:15:21

 3           A.   I was contacted by a business partner.                10:15:34

 4           Q.   Which business partner?                               10:15:36

 5           A.   Those would be wholesalers to whom we                 10:15:45

 6     provided products.                                               10:15:50

 7           Q.   Did these wholesalers tell you how they               10:15:52

 8     learned that Sam Yang products not imported by Sam               10:15:56

 9     Yang USA were being sold on the East Coast?                      10:16:01

10           A.   Well, they saw products that were not                 10:16:37

11     imported by us in the markets, that is why they                  10:16:46

12     contacted us.                                                    10:16:50

13           Q.   Did they tell you which markets they saw the          10:16:51

14     products in?                                                     10:16:53

15           A.   At the time, I probably knew, but it's been           10:17:36

16     a long time, so I don't recall, and furthermore, I               10:17:39

17     really did not pay too much attention to those,                  10:17:43

18     because those were in small quantities.            And from      10:17:46

19     time to time, small quantity of products that were               10:17:51

20     manufactured for domestic use in Korea would be                  10:17:56

21     coming in with stickers on them from time to time in             10:18:01

22     small quantities, and those wholesalers who told us              10:18:06

23     about that did not know who brought those products               10:18:12

24     in.                                                              10:18:16

25           Q.   So at that time, around 2003 or 2004, you             10:18:17

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 1     stores where they saw those Sam Yang products?               10:20:04

 2          A.   I don't recall.                                    10:20:13

 3          Q.   Did you ever contact any of the stores that        10:20:13

 4     you believed were selling Sam Yang products not              10:20:22

 5     imported by Sam Yang USA?                                    10:20:24

 6          A.   At a later date, store such as H Mart              10:20:51

 7     contacted me as well.                                        10:20:56

 8          Q.   So in 2003 -- I'm sorry.                           10:21:21

 9          A.   However, the quantity was so small that I          10:21:24

10     really did not pay that much attention, and I did            10:21:29

11     contact Sam Yang Korea as to let me know which               10:21:34

12     company did packaging for that.                              10:21:43

13          Q.   So in 2003, other than contacting Sam Yang         10:21:46

14     Korea, you did not contact any of the stores who you         10:21:49

15     believe were selling Sam Yang products, correct?             10:21:54

16          A.   We tried to find out around 2007 and 2008          10:22:32

17     timeframe, but we could not find out, because -- we          10:22:38

18     could not find out, and also, Sam Yang Korea could           10:23:03

19     not find out who it was, because the quantity of the         10:23:06

20     product was so small and some small amount will come         10:23:11

21     out -- come in, and then another small quantity will         10:23:17

22     come in, shipped along with other products.                  10:23:24

23          Q.   Mr. Lee, you're still telling me about later       10:23:27

24     dates, 2007 and 2008, and I'm still trying to get an         10:23:30

25     answer to whether in 2003 you ever contacted any             10:23:34

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 1     stores regarding the products on the East Coast.               10:23:38

 2          A.   2003, 2004, at that time, we did not have a          10:24:30

 3     direct business with stores.       Therefore, we could         10:24:38

 4     only find out through wholesalers, and at the time,            10:24:39

 5     we asked those wholesaler, but we were notified by             10:24:44

 6     the wholesalers that they, themselves, did not know.           10:24:48

 7          Q.   If -- so are you telling me that the                 10:24:56

 8     wholesalers did not know where they saw the Sam Yang           10:25:00

 9     products on the East Coast that they told you were             10:25:02

10     being sold in 2003?                                            10:25:05

11          A.   No, that's not what I mean.         I am saying      10:25:39

12     that the wholesalers told me that they did not know            10:25:42

13     who brought in the product to the stores, and I'm              10:25:46

14     talking about those products that were bought in               10:25:54

15     other than my company, with stickers on them, and              10:25:55

16     these are products that were brought in by small               10:26:01

17     businesses.                                                    10:26:04

18          Q.   Okay.   I'm asking you a different question.         10:26:05

19     I'm talking about the stores who were actually                 10:26:07

20     selling the products.                                          10:26:09

21               And my question is:      When you found out who      10:26:10

22     the stores were who were selling Sam Yang products             10:26:13

23     did you ever contact any of those stores in 2003?              10:26:16

24          A.   No, I did not.                                       10:26:51

25          Q.   Okay.                                                10:26:52

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 1            A.   And the reason for that is that the quantity     10:27:03

 2     of the product was very, very small, so I did not pay        10:27:08

 3     that much attention to it.                                   10:27:14

 4            Q.   Okay.   I'd like to look at Exhibit 1051C,       10:27:15

 5     please.                                                      10:27:40

 6                 (Exhibit 1051C was marked for identification

 7            by the court reporter and is attached hereto.)        10:28:12

 8     BY MS. BOWMAN:                                               10:28:12

 9            Q.   And please take a look and let me know when      10:28:12

10     you've had a chance to review the document.                  10:28:15

11            A.   Okay.                                            10:29:33

12            Q.   Okay.   And this is a document, it appears to    10:29:33

13     be a fax dated June 12, 2008, and it is from Senior          10:29:40

14     Manager Woon-bae Yeo.        Now, in number 2 on this        10:29:45

15     document, it refers to large volumes of products for         10:29:53

16     domestic consumption being imported into the eastern         10:29:58

17     region of the U.S.                                           10:30:01

18                 Do you recall what the volume of products        10:30:03

19     was?                                                         10:30:06

20            A.   What do you mean by volume?                      10:30:43

21            Q.   The quantity, where it says that a large         10:30:46

22     quantity of products.                                        10:30:49

23                 MR. MCDONOUGH:     And to be clear, she's        10:30:58

24     referring to this time period as referenced in this          10:30:59

25     document.                                                    10:31:02

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 1          Q.    Did you ask for the names of those stores?        10:43:26

 2          A.    I think I asked but I don't recall what the       10:43:55

 3     circumstances was exactly and at the time we did not         10:43:58

 4     do business directly with those stores and it was            10:44:03

 5     them who had the relationship with those markets.            10:44:07

 6          Q.    When you say "them," do you mean the              10:44:11

 7     wholesale customers of Sam Yang USA and Roypac?              10:44:14

 8          A.    Yes.    I'm referring to these three companies    10:44:28

 9     that's listed here.                                          10:44:32

10          Q.    Okay.    So you did not contact any of the        10:44:33

11     stores that you believed were selling Sam Yang               10:44:36

12     products not imported by Sam Yang USA at that time,          10:44:39

13     correct?                                                     10:44:42

14          A.    Correct.                                          10:44:57

15          Q.    And in 2008 you did not sue any of the            10:44:58

16     stores that you believed were selling Sam Yang               10:45:01

17     products not imported by Sam Yang USA, correct?              10:45:05

18          A.    Correct.                                          10:45:21

19          Q.    And when I say "you" neither Roypac nor Sam       10:45:30

20     Yang USA sold -- I'm sorry, sued any of those stores,        10:45:37

21     correct?                                                     10:45:40

22          A.    Correct.                                          10:45:51

23          Q.    Okay.    Did you speak with Sam Yang Korea        10:45:51

24     about the complaints that you received from the three        10:46:02

25     wholesale customers listed on this document 1051C in         10:46:08

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 1     2008?                                                          10:46:12

 2          A.   Yes.                                                 10:46:32

 3          Q.   And did you ask Sam Yang Korea to take any           10:46:32

 4     action when you informed them of those complaints?             10:46:38

 5          A.   As to action, not really, because of the             10:47:13

 6     quantity was too -- kind of small, but I did ask them          10:47:19

 7     to prevent those product from being shipped into the           10:47:24

 8     U.S. if -- if they could find out who it was.                  10:47:31

 9          Q.   Did you think that Sam Yang Korea had the            10:47:39

10     ability to stop the products from being imported into          10:47:42

11     the U.S. in 2008?                                              10:47:45

12          A.   We couldn't do it and I felt that Sam Yang           10:48:10

13     Korea probably could do it.      That is why I asked           10:48:16

14     them.                                                          10:48:19

15          Q.   Okay.   Other than Sam Yang Korea, did you           10:48:20

16     ask any other stores, entities, or wholesalers to              10:48:30

17     take steps to stop the import of products by entities          10:48:34

18     other than Sam Yang USA in 2008?                               10:48:40

19          A.   Whom are you referring to?         Whom or what      10:49:16

20     entity are you referring to?                                   10:49:19

21          Q.   Well, that's what I'm asking you, but I              10:49:21

22     suppose, did you contact any other stores who were             10:49:24

23     selling Sam Yang products not imported by Sam Yang             10:49:28

24     USA in 2008?                                                   10:49:31

25               MR. MC DONOUGH:    Asked and answered.               10:49:45

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 1     BY MS. BOWMAN:                                                  10:49:46

 2          Q.   To ask them to stop importing Sam Yang -- or          10:49:47

 3     I'm sorry, strike that.                                         10:49:50

 4               To ask them to stop selling Sam Yang                  10:49:51

 5     products not imported by Sam Yang USA?                          10:49:53

 6               MR. MC DONOUGH:     Asked and answered.     It's      10:50:16

 7     also vague and ambiguous now, the way it's phrased.             10:50:17

 8               You may try.                                          10:50:20

 9               THE WITNESS:     That question is kind of             10:50:30

10     strange and ambiguous.                                          10:50:31

11     BY MS. BOWMAN:                                                  10:50:34

12          Q.   Well, it came in a couple of parts, so I'll           10:50:35

13     try to ask a better question.                                   10:50:38

14               In 2008, did you contact any stores that              10:50:39

15     were selling Sam Yang products that weren't imported            10:50:44

16     by Sam Yang USA or Roypac in order to ask those                 10:50:47

17     stores to stop selling Sam Yang products that weren't           10:50:53

18     imported by Sam Yang USA or Roypac?                             10:50:56

19          A.   No, I did not.                                        10:50:58

20               MS. BOWMAN:    Okay.    Can we please look at         10:51:28

21     Exhibit 1051D.                                                  10:51:29

22               (Exhibit 1051D was marked for identification

23          by the court reporter and is attached hereto.)             10:51:53

24     BY MS. BOWMAN:                                                  10:51:54

25          Q.   Mr. Lee, please let me know when you've had           10:51:54

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 1            Q.      So where did you get these two names from:             11:02:36

 2     DY Import and Seohae Fishery?             And by "you," I mean        11:02:38

 3     Roypac or Sam Yang USA?                                               11:02:45

 4                    MR. MC DONOUGH:     Lacks foundation, calls for        11:03:02

 5     speculation.           He's not the author of the document.           11:03:04

 6                    You may answer.                                        11:03:06

 7                    THE WITNESS:     As I told you before, I heard         11:03:22

 8     it from our business partners.                                        11:03:23

 9     BY MS. BOWMAN:                                                        11:03:28

10            Q.      Okay.     So I believe what you told me before         11:03:28

11     was that you heard that the products were being sold                  11:03:30

12     by your business partners.            So just to confirm, did         11:03:33

13     your business partners tell you that DY Import and                    11:03:36

14     Seohae Fishery were importing Sam Yang products into                  11:03:40

15     the United States at this time, 2008?                                 11:03:43

16            A.      I don't know about the quantity.          I know the   11:04:32

17     products were brought in and those products were for                  11:04:35

18     domestic use, so I didn't think that large of a                       11:04:42

19     quantity were -- were brought in.                                     11:04:46

20            Q.      Mr. Lee, you're not answering my question at           11:04:48

21     all.        What I'm specifically asking you is and --                11:04:52

22                    MR. MC DONOUGH:     She's going to try to              11:04:58

23     ask -- she's going to ask a question.                                 11:05:00

24     BY MS. BOWMAN:                                                        11:05:03

25            Q.      What I'm asking you is number 8 of this                11:05:03

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 1     document says that there are domestic use products           11:05:05

 2     for Korea that have been imported by DY Imports and          11:05:07

 3     by Seohae Fishery, and that's in this document that          11:05:12

 4     we're look at, 1051 D.                                       11:05:16

 5               I'm asking you what the basis was for Roypac       11:05:18

 6     or Sam Yang USA's assertion here that the products           11:05:22

 7     are being imported by DY Import and Seohae Fishery.          11:05:25

 8               MR. MC DONOUGH:     And just I'm reasserting       11:05:33

 9     the objection lacks foundation, calls for                    11:05:35

10     speculation, insofar as Mr. Lee did not author this          11:05:36

11     particular document.                                         11:05:39

12               You may answer.                                    11:05:40

13               THE WITNESS:    We were contacted by our           11:06:44

14     business partners in that region such as Rhee                11:06:46

15     Brothers or Hanmi?                                           11:06:54

16     BY MS. BOWMAN:

17          Q.   Did you -- in 2008, did anyone at Roypac or        11:07:03

18     Sam Yang USA ever contact DY Import to ask if they           11:07:07

19     were importing Sam Yang products into the United             11:07:09

20     States?                                                      11:07:26

21               THE INTERPRETER:      Was the contact              11:07:26

22     "DY Import" there in that question?                          11:07:28

23               MS. BOWMAN:    "DY Import."                        11:07:31

24               THE WITNESS:    I don't remember.                  11:07:47

25

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 1     BY MS. BOWMAN:                                                      11:07:48

 2          Q.    But you never sued DY Import for importing               11:07:51

 3     Sam Yang products into the United States in 2008,                   11:07:55

 4     correct?                                                            11:07:58

 5          A.    Correct.                                                 11:08:11

 6          Q.    And you never contacted Seohae Fishery to                11:08:12

 7     ask if they were importing Sam Yang products into the               11:08:14

 8     United States in 2008, correct?                                     11:08:18

 9                MR. MC DONOUGH:     Argumentative.        Misstates      11:08:19

10     testimony.                                                          11:08:21

11                You may answer.                                          11:08:21

12                It's also asked and answered.                            11:08:33

13                THE WITNESS:    Correct.                                 11:08:38

14     BY MS. BOWMAN:                                                      11:08:38

15          Q.    And you never sued Seohae Fishery in 2008                11:08:40

16     for importing Sam Yang products into the United                     11:08:42

17     States, correct?                                                    11:08:45

18          A.    Correct.                                                 11:08:58

19          Q.    You only contacted Sam Yang Korea to ask                 11:08:58

20     them to stop products from being imported in 2008,                  11:09:00

21     correct?                                                            11:09:03

22                MR. MC DONOUGH:     That question totally                11:09:17

23     misstates his testimony as to what he contacted Sam                 11:09:18

24     Yang Korea about and asked them to do.                              11:09:23

25                You may answer.                                          11:09:24

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 1               THE WITNESS:    That's correct.                           11:09:33

 2               MS. BOWMAN:    Okay.    And for the record, I'm           11:09:34

 3     not attempting to restate the witness's testimony.                  11:09:36

 4     I'm merely asking questions that are trying to                      11:09:39

 5     advance the information we're getting.                              11:09:41

 6               MR. MC DONOUGH:     Been an hour if -- looks              11:09:50

 7     like you're transitioning.                                          11:09:52

 8               MS. BOWMAN:    I'm not actually.           I have a       11:09:54

 9     couple more things on --                                            11:09:56

10               MR. MC DONOUGH:     Why don't we take a break             11:09:56

11     anyway, it's been an hour.       All right.         Thanks.         11:09:58

12               MS. BOWMAN:    Sure.                                      11:10:00

13               VIDEO OPERATOR:     Off the record, 11:09.                11:10:03

14

15               (Recess taken.)

16                                                                         11:28:38

17               VIDEO OPERATOR:     Time is 11:30.          We are back   11:30:52

18     on the record.                                                      11:30:55

19     BY MS. BOWMAN:                                                      11:30:56

20          Q.   Okay.   And before we start with questions, I             11:30:56

21     just want to make clear for the record, which counsel               11:30:59

22     mentioned a couple of times, that when I say "you,"                 11:31:02

23     I'm referring to Roypac or Sam Yang USA.                            11:31:07

24               And if I am referring to you personally,                  11:31:10

25     Mr. Lee, I will make that clear in the question so                  11:31:12

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 1     that there's no confusion.                                     11:31:14

 2          A.   Understood.                                          11:31:47

 3               MR. MC DONOUGH:     That is understood.              11:31:47

 4               And if you're ever confused, just ask her,           11:31:48

 5     okay?                                                          11:31:52

 6               THE WITNESS:    Understood.                          11:31:59

 7     BY MS. BOWMAN:                                                 11:32:00

 8          Q.   Thank you.                                           11:32:02

 9               Okay.   Mr. Lee, I believe you testified that        11:32:02

10     you were aware of Sam Yang products not imported by            11:32:07

11     Sam Yang USA being sold on the East Coast around 2003          11:32:10

12     and 2004, and that you also received complaints from           11:32:14

13     customers in 2008, but did you receive any complaints          11:32:18

14     from your customers about imports of Sam Yang                  11:32:22

15     products between 2004 and 2008?                                11:32:27

16          A.   I had been contacted in regards to small             11:33:26

17     quantity of products that were brought in.          However,   11:33:30

18     since the quantity was so small, that I did not make           11:33:36

19     that into a big issue.                                         11:33:42

20          Q.   How many times were you contacted by                 11:33:44

21     customers about imports of Sam Yang products between           11:33:48

22     2004 and 2008?                                                 11:33:52

23          A.   I don't remember.                                    11:34:10

24          Q.   Do you know if it was more than ten times?           11:34:10

25          A.   I would not be -- I would not know that,             11:34:26

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 1          A.    No, that's not what I'm saying.         The           12:26:39

 2     products came into the U.S., so I inquired about that            12:26:48

 3     to Sam Yang Korea, but Sam Yang Korea told me they               12:26:54

 4     did not know about that.                                         12:26:58

 5          Q.    My question is what you were referring to             12:26:59

 6     when you said "after June 2012" in the prior answer.             12:27:03

 7          A.    Well, that's when I became aware of T-Up and          12:27:41

 8     then the products were being brought in in the units             12:27:46

 9     of containers.     So I inquired to Korea as to whether          12:27:51

10     or not they're shipping goods through T-Up because I             12:28:00

11     was suspicious of the Sam Yang Korea.          But Sam Yang      12:28:02

12     Korea denied it and told me that they did not know.              12:28:08

13          Q.    Why were you suspicious of Sam Yang Korea?            12:28:12

14          A.    I was suspicious because of the products              12:28:40

15     were coming in in the unit of container.           So if they    12:28:42

16     were to ship something full of a container, that it              12:28:46

17     may have been Sam Yang Korea.       That is why I asked          12:28:52

18     Sam Yang Korea directly:       Are you shipping these            12:28:58

19     goods.    And I was told that Sam Yang Korea was not.            12:29:02

20          Q.    Okay.   So you believe shipping in a                  12:29:09

21     container was more likely to be a product -- a                   12:29:12

22     product shipped by Sam Yang Korea versus small                   12:29:21

23     quantities were less likely to be shipped by Sam Yang            12:29:24

24     Korea?                                                           12:29:39

25          A.    I was suspicious.                                     12:29:39

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 1                 (Whereupon at the hour of

 2                 12:35 p.m., a luncheon recess was

 3                 taken.    The deposition was resumed

 4                 at 1:49 p.m., the same persons being

 5                 present.)

 6                                                                       13:51:43

 7                 VIDEO OPERATOR:     The time is 1:51.     We are      13:51:56

 8     back on the record.                                               13:52:00

 9                 MS. BOWMAN:    And just a correction:      The        13:52:14

10     document that I circulated is Exhibit 1136.                       13:52:16

11                 (Exhibit 1136 was marked for identification

12          by the court reporter and is attached hereto.)               13:52:54

13     BY MS. BOWMAN:                                                    13:52:54

14          Q.     And please just let me know once you've had           13:52:55

15     a chance to look at the document, Mr. Lee?                        13:52:58

16          A.     Okay.                                                 13:53:23

17          Q.     Mr. Lee, have you seen this kind of document          13:53:23

18     before?                                                           13:53:30

19          A.     Yes.                                                  13:53:31

20          Q.     Okay.    And what kind of document is this?           13:53:33

21          A.     In relating to BL, B/L.                               13:53:44

22          Q.     What is B/L?                                          13:53:50

23          A.     It stands for bill of lading.                         13:53:56

24          Q.     Okay.    And is this a type of shipment               13:53:58

25     document?                                                         13:54:01

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 1          A.   Yes.                                                13:54:02

 2          Q.   Is this type of document publicly available?        13:54:05

 3               MR. MC DONOUGH:     Vague, ambiguous,               13:54:16

 4     overbroad, particularly as to time.                           13:54:19

 5               You may answer.                                     13:54:20

 6               THE WITNESS:    Yes.                                13:54:27

 7     BY MS. BOWMAN:                                                13:54:28

 8          Q.   Okay.   Is there any way, looking at this           13:54:29

 9     document, that you would be able to tell whether --           13:54:35

10     whether it was in any way related to Sam Yang Korea?          13:54:40

11          A.   Just by looking at the document, no, but I          13:55:02

12     have a lot of suspicion about this.                           13:55:07

13          Q.   Okay.                                               13:55:11

14               THE INTERPRETER:       Interpreter correction:      13:55:19

15     Just by looking at the document, no, but we had a lot         13:55:21

16     of suspicion about this.                                      13:55:24

17     BY MS. BOWMAN:                                                13:55:30

18          Q.   What was the basis for your suspicion?              13:55:31

19          A.   Well, where it says instant noodles with            13:55:58

20     soup base, that means it's in regards to Ramen, so if         13:56:04

21     this is about shipping Ramen, that's where our                13:56:10

22     suspicion was.                                                13:56:15

23          Q.   This could be any company shipping Ramen,           13:56:17

24     correct; not necessarily Sam Yang Korea?                      13:56:19

25          A.   We asked Sam Yang Korea whether or not they         13:56:49

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 1     shipped the product, many times, but they denied it.         13:56:54

 2          Q.    My question is, that these products could         13:57:07

 3     have been shipped by any Ramen manufacturer, correct,        13:57:16

 4     not necessarily Sam Yang Korea?                              13:57:19

 5                MR. MC DONOUGH:     Speculation, lacks            13:57:21

 6     foundation.                                                  13:57:22

 7                You may answer.                                   13:57:22

 8                THE WITNESS:    We suspected it was Sam Yang      13:57:55

 9     Korea that shipped Sam Yang Ramen products, because          13:58:00

10     ENI handles Sam Yang Ramen.                                  13:58:07

11     BY MS. BOWMAN:                                               13:58:13

12          Q.    When did you first become aware that ENI was      13:58:13

13     handling Sam Yang Ramen?                                     13:58:17

14          A.    Can you repeat that question once more?           13:58:32

15          Q.    Sure.                                             13:58:34

16                When did you first become aware that ENI was      13:58:35

17     handling Sam Yang Ramen?                                     13:58:38

18          A.    That was January 2017.                            13:58:53

19                MR. MC DONOUGH:     I'd say, retroactively,       13:58:55

20     vague and ambiguous as to handling.                          13:58:59

21                You may answer, you already have.                 13:59:01

22     BY MS. BOWMAN:                                               13:59:07

23          Q.    Okay.   But this document is dated 2015,          13:59:10

24     correct?    And specifically I'm referring to the            13:59:12

25     arrival dates on the first page of the document Bates        13:59:21

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 1     those small bundle merchants, those small quantities            14:02:54

 2     could be bought from Cheongnyangni and Yeongdeungpo             14:02:59

 3     and those products would have stickers on them and              14:03:03

 4     then brought into the U.S.                                      14:03:09

 5               But if we look this document it lists                 14:03:10

 6     different containers like this.         So for shipments        14:03:16

 7     that is shipped in container full, as described here,           14:03:21

 8     could only be from Sam Yang Korea.          That is why I       14:03:26

 9     thought that.                                                   14:03:30

10     BY MS. BOWMAN:                                                  14:03:31

11          Q.   I see.                                                14:03:31

12               Mr. Lee, if you wanted to search for a                14:03:38

13     document like this from Sam Yang Korea, would you               14:03:40

14     know how to search specifically for shipments that              14:03:43

15     were brought in by Sam Yang Korea?                              14:03:47

16               MR. MC DONOUGH:     Vague and ambiguous.              14:04:11

17               You may answer.                                       14:04:12

18               THE WITNESS:    Can you repeat that once more?        14:04:16

19     BY MS. BOWMAN:                                                  14:04:18

20          Q.   Sure.                                                 14:04:18

21               So if you wanted to identify a document like          14:04:19

22     this that contains shipments that were provided by              14:04:22

23     Sam Yang Korea, would you know how to search for a              14:04:27

24     document like this?                                             14:04:29

25               MR. MC DONOUGH:     Same objections.      Vague and   14:04:48

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 1          A.    I don't recall.                                   14:18:25

 2          Q.    Prior to 2013, did you ever attempt to look       14:18:25

 3     for documents showing a relationship between Sam Yang        14:18:30

 4     Korea and T-Up?                                              14:18:33

 5          A.    The products started to come in randomly          14:19:06

 6     from year 2012.       So from that point on, we started to   14:19:13

 7     search as to where these products were coming from.          14:19:21

 8          Q.    Okay.   Prior to 2012, did you search for         14:19:26

 9     documents showing a relationship between Sam Yang            14:19:36

10     Korea and any other distributor or importer?                 14:19:40

11          A.    Prior to that, although I don't recall, I         14:20:17

12     don't think we did, because we started to become             14:20:21

13     suspicious when the products started to come in in           14:20:26

14     the unit of containers.                                      14:20:31

15          Q.    So you never searched for any documents in        14:20:35

16     2008 showing relationship between Sam Yang Korea and         14:20:38

17     Seohae Fishery?                                              14:20:43

18          A.    Correct.                                          14:20:57

19          Q.    Okay.   Mr. Lee, I believe you said earlier       14:20:58

20     that at least prior to Michael Gin working for               14:21:14

21     Roypac, you were the primary person at Roypac who was        14:21:17

22     responsible for handling FDA compliance issues,              14:21:19

23     correct?                                                     14:21:26

24                MR. MC DONOUGH:     Slightly misstates            14:21:42

25     testimony.                                                   14:21:44

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 1     to.    I have one more section left.                           16:28:58

 2                THE INTERPRETER:      The interpreter would like    16:29:01

 3     a break.                                                       16:29:02

 4                MR. MC DONOUGH:     Let's take a break.             16:29:03

 5                THE INTERPRETER:      Thank you.                    16:29:04

 6                MS. BOWMAN:   Okay.                                 16:29:04

 7                VIDEO OPERATOR:     Off the record, 4:28.           16:29:05

 8

 9                (Recess taken.)

10                                                                    16:48:46

11                VIDEO OPERATOR:     Okay.    The time is 4:49.      16:49:55

12     We are back on the record.                                     16:49:57

13     BY MS. BOWMAN:                                                 16:49:59

14           Q.   Mr. Lee, prior to 2015, did Sam Yang USA            16:50:00

15     ever apply to register any Sam Yang trademarks?                16:50:05

16           A.   I don't remember.                                   16:50:28

17           Q.   Was the first trademark application for Sam         16:50:30

18     Yang product that Sam Yang USA filed, the 2015                 16:50:35

19     application filed after this lawsuit was filed?                16:50:39

20           A.   I don't know the date exactly.                      16:51:04

21           Q.   Is it your understanding that Sam Yang USA          16:51:05

22     applied to register a Sam Yang trademark in 2015?              16:51:13

23           A.   Can you repeat that, please.                        16:51:27

24                MS. BOWMAN:   Can I have the question               16:51:29

25     translated back?                                               16:51:30

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 1     States but you're not sure why?                                  17:25:30

 2          A.     I don't know if this is a correct example or         17:26:43

 3     not, but I read it on the newspaper long time ago                17:26:47

 4     that someone or some entity in the U.S. registered               17:26:53

 5     the trademark of a big company in Korea and that                 17:26:59

 6     registration was canceled in the U.S., that's what I             17:27:07

 7     read in the newspaper.                                           17:27:15

 8                 And it is my belief that trademark rights of         17:27:16

 9     Sam Yang in North America lies with Sam Yang USA.           So   17:27:21

10     if some other person or entity had registered, maybe             17:27:29

11     that would become a legal fight.                                 17:27:36

12          Q.     But you didn't think it was necessary to             17:27:39

13     check whether any other entity had registered?                   17:27:43

14          A.     Trademark is currently registered so I do            17:28:08

15     not believe checking is necessary now.                           17:28:10

16          Q.     I'm not talking about now.       I'm talking         17:28:18

17     about in the past at any point between 1998 and 2015.            17:28:20

18          A.     Some other entity registering the trademark,         17:29:40

19     that's really not possible, and I believe we are                 17:29:43

20     continuously checking.     I'm not saying that our               17:29:46

21     company's checking, but our team of attorneys are                17:29:49

22     doing so.                                                        17:29:54

23                 And as to Sam Yang's trademark being                 17:29:55

24     registered, I don't think it is a problem, because               17:30:03

25     trademark rights lies with Sam Yang USA.           And since a   17:30:08

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 1     trademark is already registered, so I don't think             17:30:15

 2     it's a -- I don't think it's worth talking about.             17:30:18

 3          Q.   Okay.   So apparently your continuous               17:30:24

 4     searches did not reveal that Sam Yang Korea had               17:30:27

 5     registered the Sam Yang trademark in 2005, correct,           17:30:31

 6     since you attempted to register the same trademark in         17:30:35

 7     2015?                                                         17:30:38

 8          A.   Sam Yang Korea was supposed to notify Sam           17:31:27

 9     Yang USA if they were going to register the trademark         17:31:31

10     in the U.S.    Since they did not notify Sam Yang USA,        17:31:35

11     I believe that to be breach of agreement.                     17:31:41

12          Q.   So the answer is:      No, your searches did not    17:31:49

13     reveal that Sam Yang had registered the Sam Yang              17:31:56

14     trademark in 2005?                                            17:31:59

15               THE INTERPRETER:      Excuse me, is it 2015 or      17:32:17

16     2005?                                                         17:32:19

17               MS. BOWMAN:    What I just said?                    17:32:20

18               THE INTERPRETER:      Yeah.                         17:32:21

19               MS. BOWMAN:    It's 2005.                           17:32:22

20               THE INTERPRETER:      Okay.                         17:32:23

21               MR. MC DONOUGH:     She said Sam Yang, but I        17:32:23

22     think she's intending to say Sam Yang Korea.                  17:32:25

23               THE WITNESS:    I don't know about that.            17:32:44

24     BY MS. BOWMAN:                                                17:32:47

25          Q.   Okay.   Has Sam Yang USA ever licensed Sam          17:32:47

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1      STATE OF CALIFORNIA               ) ss.
       COUNTY OF LOS ANGELES             )
2                  I, Lori M. Barkley, CSR No. 6426, do hereby
3      certify:
4                  That the foregoing deposition testimony
5      taken before me at the time and place therein set
6      forth and at which time the witness was administered
7      the oath;
8                  That the testimony of the witness and all
9      objections made by counsel at the time of the
10     examination were recorded stenographically by me, and
11     were thereafter transcribed under my direction and
12     supervision, and that the foregoing pages contain a
13     full, true and accurate record of all proceedings and
14     testimony to the best of my skill and ability.
15                 I further certify that I am neither counsel
16     for any party to said action, nor am I related to any
17     party to said action, nor am I in any way interested
18     in the outcome thereof.
19                 IN WITNESS WHEREOF, I have subscribed my
20     name this 2nd day of October, 2017.
21
22
23
24                         <%signature%>
25                         LORI M. BARKLEY, CSR No. 6426

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